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            DECLARATION OF ELIZABETH TUCCI
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                                      #:2118


 1                      DECLARATION OF ELIZABETH TUCCI
 2                              Pursuant to 28 U.S.C. § 1746
 3
 4          I, Elizabeth Tucci, declare and state as follows:
 5
 6 1.       My name is Elizabeth Tucci, I am over 18 years of age, and I am a citizen of
 7          the United States. I am employed by the Federal Trade Commission
 8          (“FTC”) as an attorney in the Enforcement Division of the Bureau of
 9          Consumer Protection. My work address is 600 Pennsylvania Ave. NW,
10          Washington, DC 20580, No. M-8102B. I have worked at the FTC since
11          2005. I have personal knowledge of the facts set forth herein.
12 2.       Following the entry of a final district court order in an FTC case brought by
13          the Bureau of Consumer Protection, the Enforcement Division assigns an
14          attorney to monitor compliance with that order. On March 2, 2008, I was
15          assigned to monitor Defendants’ compliance with the Final Order entered
16          January 22, 2008 (“Final Order”). I have worked on this matter since that
17          time.
18 3.       On November 17, 2009 – during the FTC’s compliance investigation and
19          prior to the FTC’s May 27, 2010 filing of its Application for an Order to
20          Show Cause – I deposed Defendant Dale Paul Cleveland. The entire
21          deposition of Mr. Cleveland took less than 3 hours. The deposition of Mr.
22          Cleveland in his individual capacity (as opposed to a Rule 30(b)(6)
23          deponent) lasted less than one-half hour.
24 4.       That same day, November 17, 2009, I also deposed Defendant William
25          Richard Wilson. Excerpts from Mr. Wilson’s deposition are attached hereto
26          as Attachment 1.
27 5.       Following the filing of the FTC’s Application for an Order to Show Cause
28          against Defendants, the FTC propounded written discovery requests to
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 1          Defendants. Copies of those Interrogatories and Requests for Production are
 2          attached hereto as Attachments 2 and 3, respectively. Defendants, according
 3          to the certificate of service, sent their responses to the FTC’s interrogatories
 4          and requests for production on September 2, 2010 by overnight mail. I was
 5          out of the office on Friday, September 3 and did not receive the responses
 6          until the following week. Copies of Defendants’ responses to the
 7          Interrogatories and Requests for Production are attached as Attachments 4
 8          and 5, respectively.
 9 6.       On September 14, 2010, per agreement of the parties, the FTC received a
10          production of documents from Defendants. Although, in response to both
11          the FTC’s Interrogatories and its Requests for Production, Defendants (a)
12          included in their “General Objections” an objection to the extent that the
13          discovery requested privileged documents; and (b) raised objections based
14          on privilege to certain individual interrogatories and requests for production,
15          Defendants did not provide a privilege log.
16 7.       On August 25, 2010, the FTC served a Notice of Deposition on Paul
17          Cleveland. A true and correct copy is attached hereto as Attachment 6.
18 8.       On September 8, 2010, I received a letter from Michael Mallow, counsel for
19          Defendants, which, among other things, stated that Mr. Cleveland would not
20          be produced for deposition and requested that the parties meet and confer on
21          this issue. A true and correct copy of Mr. Mallow’s letter is attached hereto
22          as Attachment 7. Defendants also served Objections to the Notice of
23          Deposition on September 13, 2010. A true and correct copy of the
24          Objections is attached hereto as Attachment 8.
25 9.       On September 9, 2010, I sent a letter to counsel for Defendants objecting to
26          their refusal to produce Mr. Cleveland for a deposition and stating that the
27          FTC would seek an order for his deposition. My letter also detailed the
28          inadequacies of Defendants’ responses to the FTC’s interrogatories and

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 1          requests for production and requested that they meet and confer regarding
 2          these responses. Appended to the letter was a copy of FTC v. Burnlounge,
 3          Inc., Case 2:07-cv-03654-GW-FMO (C.D. Cal. March 3, 2008), which sets
 4          out the appropriate parameters for a protective order covering financial
 5          information produced in discovery. A true and correct copy of my letter is
 6          attached hereto as Attachment 9.
 7 10.      On September 15, 2010, the parties met and conferred regarding
 8          Defendants’ failure to produce Mr. Cleveland for deposition and their
 9          responses to the FTC’s interrogatories and requests for production. The
10          parties were unable to resolve these issues.
11 11.      During the September 15, 2010, I stated, as I had in my September 9, 2010,
12          letter, that a hyperlink Defendants had provided that linked to certain
13          discovery responses,
14          https://builderimpact.com/FTCProd/century/startercreditdirect/20081015-
15          20080123/index_short.asp, did not work. Defense counsel indicated that
16          they would check and remedy this situation, but as of this date the hyperlink
17          still does not work.
18 12.      On June 25, 2010, counsel for Insite Marketing Group, LLC, supplemented
19          Insite’s earlier response to a Civil Investigative Demand from the FTC. The
20          letter from counsel is attached hereto as Attachment 10.
21
22 I declare under penalty of perjury that the foregoing is true and correct.
23
24 Executed on         September 22            , 2010.       / s/
25                                                         Elizabeth Tucci
26
27
28

                                                3
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                        ATTACHMENT 1
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                                 #:2122
                                                                                 1




      1                     UNITED STATES DISTRICT COURT

      2                    CENTRAL DISTRICT OF CALIFORNIA

      3

      4     Federal Trade Commission,         )
                                              )
      5                    Plaintiff,         )
                                              )
      6              vs.                      )     No. CV-07-4880
                                              )         ODW (AJWx)
      7     EDebitPay, LLC, et al.,           )
                                              )
      8                    Defendants.        )
                                              )
      9

     10

     11

     12                     DEPOSITION OF BILL WILSON

     13

     14

     15              DATE & TIME:    Tuesday, November 17, 2009
                                     9:11 a.m. - 2:25 p.m.
     16

     17              LOCATION:      10877 Wilshire Boulevard
                                    Suite 700
     18                             Los Angeles, California

     19
                     REPORTER:      Christina Kim-Campos, CSR
     20                             Certificate No. 12598

     21

     22

     23

     24

     25




                            For The Record, Inc.
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      1     propriety software.

      2              Can you state -- if you don't agree with

      3     that, can you state it better?

      4        A.    Yes.

      5        Q.    All right.

      6        A.    It's correct.    It's a software, a database,

      7     and we, on behalf of our affiliates, we are tracking

      8     that, meaning we can track visitors.

      9              So we call it a software, as in a -- as the

     10     lingo.   You would call it a software.      You could

     11     also call it a database tracking, that basically

     12     tracks A through E, that we discussed.       It tracks --

     13     it tracks the visitors.     The application is

     14     completed through the system.

     15        Q.    Is it fair to say that the ability of EDP to

     16     monitor this traffic is key to EDebitPay's business?

     17        A.    Can you be more specific?

     18        Q.    Sure.

     19              I mean, it sounds like EDebitPay is working

     20     through all these different entities and websites

     21     and e-mails and links, and the way that EDebitPay

     22     knows what is -- it deserves, right, is -- is by

     23     monitoring these click-throughs, by monitoring

     24     completed applications.     And if EDebitPay didn't

     25     have the ability to track all of those things




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      1     accurately, EDebitPay wouldn't be able to make

      2     money.

      3        A.    Correct.

      4        Q.    Okay.   And what do you think of the quality

      5     of EDebitPay Network's software in terms of its

      6     ability to track performance metrics?       In

      7     particular, user traffic?

      8        A.    It is a market accepted software and

      9     process, meaning people in the online marketing

     10     world, as in -- as described in "A" through "E" --

     11     understand what we do and utilize.       So it's

     12     accepted.    It's an accepted process in -- in the

     13     type of marketing that we do.

     14        Q.    Is -- this document states that it's

     15     propriety.

     16              Is it patented software?

     17        A.    There's two parts.     So we do have a part

     18     that we proprietarily built ourselves to track, and

     19     then there's a part that we licensed, which was

     20     Direct Track.    So there's -- our processes, we

     21     consider sometimes proprietary, as in the nature of

     22     how we do it and how we track it.

     23              So we utilize the word "proprietary," but

     24     there's two types of softwares that we do have to be

     25     clear.




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      1               One is Direct Track, that we license.      It's

      2     an affiliate tracking system, but we also call it

      3     EDP Network.     And then we have another system that

      4     we built, that is more or less database driven, that

      5     is propriety, that we built, that also tracks clicks

      6     and leads.    It's kind of a backup secondary tracking

      7     system.

      8        Q.     It tracks -- are you saying that your

      9     in-house system tracks the same information that

     10     Direct Track monitors?

     11        A.     Similar.   Not all specifically.

     12        Q.     And there's a major difference in what they

     13     track?

     14        A.     Yes.   The non-propriety -- I mean, the

     15     proprietary does not have the billing information of

     16     the marketing partner.     It's just really raw

     17     database tracking; whereas in Direct Track,

     18     specifically has all the billing information on the

     19     publisher and the affiliate marketer, so we know

     20     specifically who we have to pay.

     21        Q.     With Direct Track, does EDP have a contract

     22     with Direct Track?

     23        A.     Yes.

     24        Q.     And what is the form of payment for the

     25     Direct Track contract?




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       1    will do -- describe later.

       2        Q.   And I understand you don't have them now,

       3    but do -- with you, but would EDebitPay have

       4    examples of these pages that would appear in the

       5    case of the -- would you have examples of thank you

       6    pages?

       7        A.   We -- we could provide.

       8        Q.   Okay.

       9        A.   We may have.    That's what I'm thinking.       We

     10     may have provided in the box of information we

     11     provided to you before.      I'm not sure.    I didn't

     12     look at all of it.

     13         Q.   And you're saying may have provided in

     14     response to the July 23rd request; is that correct?

     15         A.   Potentially.

     16         Q.   Is there any other way that -- you've --

     17     you've described one way in which EDebitPay

     18     monetizes the consumer data, and that is via a

     19     banner placed on the thank you page.

     20              Is there any other way that EDebitPay

     21     monetizes that consumer data?

     22         A.   Yes.

     23         Q.   Tell me about that.

     24         A.   We may -- for example, we may pop a website.

     25     For example, a person leaves the website, and we may




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       1    pop auto loan website and say, hey, are you

       2    interested -- not are you interested.        Just pops.

       3    They're called pops, exit pops.       So that's a

       4    methodology.

       5        Q.     So -- so for the consumer, it's almost -- it

       6    will look like they're just jumping to another page?

       7        A.     Yeah.   Totally separate product.

       8        Q.     And again, would the consumer receive a

       9    message saying that the consumer is leaving X

     10     website and going to another website?

     11         A.     Some browsers will have a pop locker and ask

     12     you to allow or not allow for another product to

     13     pop.     So it depends on the customer's computer.

     14         Q.     So -- okay.   So you're saying sometimes it

     15     won't pop at all?

     16         A.     Sometimes they won't -- they won't see it,

     17     or because all -- all people at their web -- at

     18     their computers have different situations, so in

     19     general, we -- if we pop the offer, we don't say

     20     this is a different -- like you said, we're not

     21     saying, hey, this isn't the same offer, but we're

     22     popping an offer, let's say, of an auto loan for a

     23     Paydayloan.     We're popping that offer, that website

     24     URL in front of the customer.

     25                Some customers may have a popup window that




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       1    not be able to see the popup.       They may want to be

       2    asked if they want to view the popup.

       3             What I want to talk about is what EDebitPay

       4    pays does, if anything, to communicate that they're

       5    going from one website to another.       They're going

       6    from the thank you page or -- they're going from the

       7    thank you page to the new popup.

       8             Does EDebitPay tell the computer that?

       9             MS. REILLY:    Objection.    Asked and answered,

     10     but you can answer.

     11              THE WITNESS:    We call something a general

     12     pop, so if he we pop an auto loan off a cash

     13     advance, we -- we don't usually.       It usually pops to

     14     a whole new unique website with a whole new unique

     15     URL.

     16     BY MS. TUCCI:

     17         Q.   And could one of the pops be

     18     startercreditdirect.com?

     19         A.   It could be.

     20         Q.   Is that one that EDebitPay has used as a

     21     pop?

     22              MS. REILLY:    Objection.    Vague.

     23     BY MS. TUCCI:

     24         Q.   Is startercreditdirect a website that

     25     EDebitPay has used as a pop, following a failed




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       1    application?

       2        A.   Startercredit, I'm not sure about

       3    startercredit, if we have.

       4        Q.   And who would have that information?

       5        A.   It -- it would still be me.      It would still

       6    be just a matter of looking in affiliate tracking

       7    software and seeing, potentially, where the offer

       8    was popped from.

       9        Q.   So is it -- is it information that EDebitPay

     10     tracks, even though you don't know off the top of

     11     your head?

     12         A.   We -- we track how many visitors come to the

     13     website and what the conversion rates are, what the

     14     earnings per visitor are.      And at time to time we

     15     pop different offers, third party product offers,

     16     our offers of websites, whichever seem more relevant

     17     to a customer visiting a website, whichever offers

     18     do well.

     19              So it it's always changing.      There's --

     20     there's no consistent pop that we would place on a

     21     website.

     22         Q.   But it sounds -- is it correct that it's

     23     automated; right?     That if the -- if the application

     24     has certain features, it's -- you're going to send

     25     it to one website, one popup, versus, another?




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       1    consumers?

       2        A.    I would say correct.

       3        Q.    And is there -- therefore, are there

       4    computer records at EDebitPay that would indicate,

       5    for example, when startercreditdirect would pop up?

       6        A.    There should be.

       7        Q.    And who would have access to those records?

       8        A.    It would -- it would, again, be me or the

       9    company in general.

     10         Q.    And do I understand you to say that you --

     11     you track the success of the popups, of different

     12     popups?

     13               MS. REILLY:   Objection.    Vague.

     14     BY MS. TUCCI:

     15         Q.    You've indicated that first you -- you have

     16     a certain type of applicant, and you decide you're

     17     going to try three different popups with that type

     18     of rejected applicant; is that correct?

     19         A.    Correct.

     20         Q.    And you essentially program it in, that

     21     applicants with these variables are going to get

     22     these popups.    And it's -- and you've also indicated

     23     that it's not just one popup that you will try on

     24     "X" type of consumer; is that correct?

     25         A.    Correct.




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       1    applicant, for whatever reason, does not complete

       2    the application.

       3             In that scenario, can the applicant then get

       4    a popup from EDebitPay?

       5        A.   If they don't complete the application, it

       6    would mean that they didn't submit it.        They left

       7    their -- meaning they don't submit the application.

       8    So that means that their information hasn't been

       9    obtained by us or we haven't begun the -- the

     10     matching process with third party lenders.

     11              If they leave that web page, yes, it goes

     12     back to exit pops.     We may exit pop them, for

     13     example, on auto loan website.       It goes right back

     14     to exactly what we had discussed earlier on exit

     15     pops and monetization.

     16         Q.   Let me understand what you're saying.

     17     You're saying if the consumer leaves the website,

     18     you mean the consumer leaves the website before

     19     hitting the submit button?

     20         A.   Correct.

     21         Q.   So they filled out the application.       They

     22     don't hit submit.

     23         A.   Okay.

     24         Q.   And then EDP sends that person a popup?

     25         A.   Okay.   Correct.




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       1        Q.    That happens?

       2        A.    Correct.

       3        Q.    Okay.

       4        A.    They didn't submit it.     They left the web

       5    page.    That's called an exit pop.     The consumer

       6    exited the website.     We exit popped an offer, but

       7    they didn't submit the application, so it didn't go.

       8    None of that particular information -- for example,

       9    we had talked about bank account information and

     10     matching processes been started, so we -- we didn't

     11     even collect that information.       The consumer left

     12     the website.

     13               So in general, it's exit pops.      Whenever you

     14     leave the website, we call it an exit pop.

     15         Q.    I'm sorry to be obtuse here, but with an

     16     exit popup -- let me -- let me just try to think

     17     about how it looks to the consumer.

     18               So the consumer goes to the website, fills

     19     out the application on page 1.       That applica- -- and

     20     as I understand it, that application would not

     21     include information such as bank account

     22     information; is that correct?

     23         A.    Correct.

     24         Q.    But it could include the name, address,

     25     e-mail address?




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       1        A.   Correct.

       2        Q.   At that point, the applicant leaves the

       3    website.

       4             When you say leaves the website, do you mean

       5    hits the "X" button to close it out?

       6        A.   Either they hit the "X" button to close out

       7    the browser or they go to the browser and enter a

       8    new domain name.     So they're exiting the website.

       9        Q.   And at the point that they do either of

     10     those acts to exit the website, either by closing it

     11     out or by putting in a new browser -- name of the

     12     browser, that's the point at which the popup comes?

     13         A.   It -- it may.    Not all of our websites have

     14     exit pops, but based on the examples and the

     15     description, yes, that's when the exit pop would --

     16     would pop.

     17         Q.   Okay.

     18         A.   It's called the exit pop because -- it's a

     19     general term that we use because when people are

     20     exiting a website, we call it an exit pop.

     21         Q.   And which EDP websites use exit pops?

     22         A.   Most websites that EDP develops has exit

     23     pops.

     24         Q.   And again, in this scenario of an exit pop,

     25     the consumer -- the EDP does not send that consumer




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       1    a message saying, "You are being directed to another

       2    website"?

       3        A.    On an exit pop, a general exit pop, no.

       4        Q.    I'm going to stick with the same paragraph,

       5    the business model paragraph on Exhibit 4, and back

       6    up a couple of sentences to the one that starts with

       7    "Targeted consumers."     And this sentence:

       8                           "Targeted consumers are directed

       9              to one of the Company's card websites

     10               (landing pages) to complete an

     11               application and purchase a card."

     12               In this context, what is a card?

     13         A.    A debit card.

     14               This was written, I think, three years ago.

     15         Q.    Is it still accurate today?

     16         A.    I can't -- I can't say in detail 'cause I

     17     haven't read all of it.

     18         Q.    You can -- you can take a minute to read the

     19     paragraph.

     20         A.    Yeah, I can't say for sure.

     21         Q.    Well, are targeted consumers still directed

     22     to first -- let me strike that.

     23               Does the company still have card websites?

     24         A.    We have what we call catalog card websites,

     25     mostly.




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                         ATTACHMENT 2
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14   FEDERAL TRADE COMMISSION
15
                         UNITED STATES DISTRICT COURT
16                      CENTRAL DISTRICT OF CALIFORNIA
17
18    FEDERAL TRADE                           CV-07-4880 ODW (AJWx)
      COMMISSION,
19                                            FEDERAL TRADE
20                             Plaintiff,     COMMISSION’S
                                              INTERROGATORIES TO
21                      v.                    DEFENDANTS
22
      EDEBITPAY, LLC, et al.,                 July 30, 2010
23
                                              Judge: Hon. Otis D. Wright II
24                             Defendants.
25
           Plaintiff, Federal Trade Commission (“FTC”) submits the following
26
27   Interrogatories to Defendants EDebitPay, LLC, (“EDP”); Dale Paul Cleveland
28
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 1   (“Cleveland”); and William Richard Wilson (“Wilson”), pursuant to Section
 2
     V.B.1 of the January 22, 2008 Stipulated Final Order for Permanent Injunction
 3
 4   and Monetary Relief (“Order”) and Rules 26 and 33 of the Federal Rules of Civil
 5   Procedure.
 6
                                      DEFINITIONS
 7
 8   A.    “Complaint” means the Complaint filed by the FTC in the instant matter on
 9
           July 30, 2007.
10
11   B.    “Communication(s)” includes, but is not limited to, any and all

12         conversations, meetings, discussions and any other exchange, whether in
13
           person, by telephone, or electronically, as well as all letters, memoranda,
14
15         telegrams, cables, and other writings or documents.
16   C.    “Contempt Proceeding” means the legal proceedings resulting from the
17
           FTC’s Application for an Order to Show Cause Why Defendants Should
18
19         Not Be Held in Contempt, filed on May 27, 2010.
20
     D.    “Concerning” means relating to, referring to, describing, evidencing or
21
           constituting.
22
23   E.    “Creative” means email content, banner ads, Internet websites and other
24
           forms of created advertising, whether HTML, text, or images, used in
25
26         marketing.

27
28                                           2
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 1   F.   “Document” means the complete original and any non-identical copy
 2
          (whether different from the original because of notations on the copy or
 3
 4        otherwise), regardless of origin or location, of any written, typed, printed,
 5        transcribed, taped, recorded, filmed, punched, computer-stored, or graphic
 6
          matter of every type and description, however and by whomever prepared,
 7
 8        produced, disseminated or made, including but not limited to any
 9
          advertisement, book, pamphlet, periodical, contract, file, invoice,
10
11        memorandum, note, telegram, report, record, handwritten note, working

12        paper, routing slip, package insert, sticker, web page, chart, graph, paper,
13
          index, map, tabulation, manual, guide, outline, script, abstract, history,
14
15        calendar, diary, agenda, minute, code book, data compilation, tests, reports,
16        clinical studies, test reports, scientific literature, articles, expert opinions,
17
          handwritten notes, correspondence, communications, electronic mail,
18
19        electronically stored data, computer (including handheld computer)
20
          material (including print-outs, cards, magnetic or electronic tapes, discs
21
          and such codes or instructions as will transform such computer materials
22
23        into easily understandable form), and video and audio recordings.
24
     G.   “Identify,” “identifying,” and “identification” mean:
25
26               (a)    when referring to a natural person, state the full name,

27
28                                             3
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 1              present business address and telephone number, or if a present
 2
                business affiliation or business address is not known, by the
 3
 4              last known business and home addresses and business and
 5              home telephone numbers;
 6
                (b)   when referring to any other entity, such as a business or
 7
 8              organization, state the legal name as well as any other names
 9
                under which the entity has done business, as well as the
10
11              address, telephone number and contact person; and

12              (c)   when referring to a document or communication, state
13
                the full name(s) of the author(s) or preparer(s), the full name
14
15              of the recipient(s), addressee(s), and/or person(s) designated
16              to receive copies, the title or subject line of the document or
17
                communication, a brief description of the subject matter of the
18
19              document or communication, the date it was prepared, its
20
                present location, and its present custodian.
21
     H.   “Include(s)” and “including” mean “without limitation,” or “including but
22
23        not limited to,” so as to avoid excluding any information that might
24
          otherwise be construed to be within the scope of any interrogatory.
25
26   I.   “Receiver” refers to Howard Camhi, the receiver appointed by the Court in

27
28                                          4
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 1        the instant matter, and his agents, accountants, representatives, and
 2
          attorneys.
 3
 4   J.   The singular shall be construed to include the plural, and the plural shall be
 5        construed to include the singular.
 6
     K.   The word “and” shall be construed to include the word “or,” and the word
 7
 8        “or” shall be construed to include the word “and.”
 9
     L.   The word “each” shall be construed to include the word “every,” and the
10
11        word “every” shall be construed to include the word “each.”

12   M.   The word “any” shall be construed to include the word “all,” and the word
13
          “all” shall be construed to include the word “any.”
14
15   N.   The use of a verb in any tense shall be construed as the use of the verb in
16        all other tenses, whenever necessary, to bring within the scope of these
17
          Interrogatories all responses that might otherwise be construed to be
18
19        outside their scope.
20
21
                                   INSTRUCTIONS
22
23   A.   Defendants should answer each interrogatory separately and fully in
24
          writing under oath and sign the answer.
25
26   B.   The time period covered by these interrogatories is January 22, 2008

27
28                                             5
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 1        through the conclusion of the Contempt Hearing in this case, unless
 2
          otherwise specified.
 3
 4   C.   For the purposes of these interrogatories the words “you” and “your” refer
 5        to Defendants EDebitPay, LLC; Dale Paul Cleveland; William Richard
 6
          Wilson; and any entity that is controlled by any of them, individually or
 7
 8        collectively.
 9
     D.   In responding to these interrogatories, furnish all information in your
10
11        possession, custody, or control, or in the possession, custody, or control of

12        your attorneys, accountants, agents, directors, officers, consultants,
13
          employees, independent contractors, bailees, or other representatives of
14
15        you, and any companies for which you have access to documents or
16        information related to these interrogatories
17
     E.   These interrogatories are intended as continuing interrogatories, requiring
18
19        you to supplement your answers with any information within the scope of
20
          the interrogatories as may be acquired by you, your attorneys, accountants,
21
          agents, directors, officers, consultants, employees, independent contractors,
22
23        bailees, or other representatives of you, any companies for which you have
24
          access to documents or information related to these interrogatories, or any
25
26        other source.

27
28                                           6
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 1   F.   Where an individual interrogatory calls for an answer that involves more
 2
          than one part, each part of the answer should be identified and clearly set
 3
 4        out so that it is understandable.
 5   G.   If you cannot answer all or part of any interrogatory in full after exercising
 6
          due diligence to secure the full information to do so or for any other
 7
 8        reason, so state and answer to the extent possible, specifying your inability
 9
          to answer the remainder, stating whatever information or knowledge you
10
11        have concerning the unanswered portion, and detailing what you did in

12        attempting to secure the unknown information.
13
     H.   If you assert a claim of privilege in responding to or objecting to any
14
15        interrogatory, you shall provide a privilege log including the following
16        information:
17
          (i)   for documents:
18
19              (a)      The custodian of the document;
20
                (b)      The type of document (e.g., letter, memorandum);
21
                (c)      The date of the document;
22
23              (d)      The general subject matter of the document;
24
                (e)      The sender, author, and all recipients of the document; and
25
26              (f)      The basis on which you contend you are entitled to withhold

27
28                                            7
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 1                     the document from production.
 2
          (ii)   for oral communications:
 3
 4               (a)   the name of the person making the communication and the
 5                     names of the persons present while the communication was
 6
                       made and, where not apparent, the relationship of the persons
 7
 8                     present to the person making the communication;
 9
                 (b)   the date and place of communication; and
10
11               (c)   the general subject matter of the communication.

12   I.   If you object to any part of an interrogatory, answer all parts of the
13
          interrogatory to which you do not object.
14
15                               INTERROGATORIES
16   1.   Describe in detail all of the ways in which consumers reached or were
17
          directed to the Starter Credit Direct website (including through “exit pops,”
18
19        as described by Wilson in his November 17, 2009 deposition at 92-93,
20
          103-06 or through other means such as hyperlinks from emails or other
21
          websites).
22
23   2.   For each consumer who signed up for the Century Platinum shopping club
24
          through Starter Credit Direct, identify how the consumer reached or was
25
26        directed to the Starter Credit Direct website, including the website (and

27
28                                           8
 Case 2:07-cv-04880-ODW-AJW Document 75-13 Filed 10/06/10 Page 28 of 144 Page ID
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 1        whether it is an EDP website), email, or other Internet advertising from
 2
          which the consumer was directed or “exit popped” to the Starter Credit
 3
 4        Direct website, if applicable.
 5   3.   Identify all statements disclosing to consumers that they were or may have
 6
          been transferred to the Starter Credit Direct website from another website,
 7
 8        including the websites and dates on which such statements appeared.
 9
     4.   Identify all changes to the marketing of Starter Credit Direct.
10
11   5.   Identify all communications and documents related to the changes to the

12        marketing of Starter Credit Direct.
13
     6.   Identify each website through which EDP marketed the Century Platinum
14
15        shopping club. For each website provide:
16        a.    The number of consumers who applied for the Century Platinum
17
                shopping club, the number of consumers who enrolled in the
18
19              Century Platinum shopping club and the date on which they
20
                enrolled.
21
          b.    The total amount consumers were charged (along with any refunds,
22
23              credits, or chargebacks).
24
          c.    The total amount of revenue received by EDP.
25
26   7.   Describe in detail all steps you took to ensure that your marketing of the

27
28                                           9
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 1         Century Platinum shopping club did not misrepresent any material fact
 2
           and/or fail to disclose the material attributes of the product or service
 3
 4         offered or marketed.
 5   8.    If you contend that your marketing of the Century Platinum shopping club
 6
           clearly and conspicuously (as defined in the Order) disclosed the material
 7
 8         attributes of the product or service offered or marketed:
 9
           a.    Identify all such marketing, including the dates that marketing was
10
11               live or in use.

12         b.    Identify all documents and communications that support your
13
                 contention.
14
15         c.    State all facts that support your contention.
16   9.    If you contend that a defense (e.g., substantial compliance, estoppel)
17
           excuses or limits your liability for one or more violations of the Order, for
18
19         each defense:
20
           a.    Identify all documents and communications that support your
21
                 contention.
22
23         b.    State all facts that support your contention.
24
     10.   If you contend that the Receiver and/or the FTC represented to you at any
25
26         time after the Complaint that your marketing of the Century Platinum

27
28                                            10
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 1         shopping club complied with the Order:
 2
           a.    Identify every such representation.
 3
 4         b.    Identify all documents and communications that support your
 5               contention.
 6
           c.    State all facts that support your contention.
 7
 8   11.   If you contend that, at any time after the Complaint, you reasonably relied
 9
           on representations by the Receiver and/or the FTC that your marketing of
10
11         the Century Platinum shopping club complied with the Order:

12         a.    Identify every representation on which you contend that you
13
                 reasonably relied.
14
15         b.    Identify all documents and communications that support your
16               contention.
17
           c.    State all facts that support your contention.
18
19   Date: July 30, 2010                          Respectfully submitted,
20
21
                                                       /s/
22
                                                  Mark Morelli
23                                                Elizabeth Tucci
24                                                Zachary V. Hunter
                                                  John D. Jacobs
25                                                Attorneys for Plaintiff
26                                                FEDERAL TRADE COMMISSION

27
28                                           11
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 1                                PROOF OF SERVICE
 2
     I am a resident of the District of Columbia and over the age of 18 years, and I am
 3
 4   not a party to the this action. My business address is 600 Pennsylvania Avenue,
 5   N.W., Washington, DC 20580. On July 30, 2010, I served via U.S. Mail FTC’S
 6
     INTERROGATORIES on the following:
 7
 8   Michael Mallow, Esq.,
     Loeb & Loeb, LLP,
 9
     10100 Santa Monica Boulevard,
10   Suite 2200,
11   Los Angeles, CA 90067

12   and by email to
13
     Michael Mallow, Esq.
14   Karen Thorland, Esq.,
15   Christine Reilly, Esq.
     Loeb & Loeb, LLP,
16
17   at the following email addresses:
     mmallow@loeb.com
18   kthorland@loeb.com
19   creilly@loeb.com
20
21                                                        /s/
                                                  Mark Morelli
22
                                                  Attorney for Plaintiff
23                                                Federal Trade Commission
24
25
26
27
28                                           12
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                         ATTACHMENT 3
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                                   #:2149


 1   MARK MORELLI
 2   mmorelli@ftc.gov, (202) 326-2601 (tel.)
     ELIZABETH TUCCI
 3   etucci@ftc.gov, (202) 326-2402 (tel.)
 4   ZACHARY V. HUNTER
     zhunter@ftc.gov, (202) 326-3235 (tel.)
 5   Federal Trade Commission
 6   600 Pennsylvania Avenue, NW, Rm. M-8102B
     Washington, DC 20580
 7
     (202) 326-2558 (fax)
 8
     JOHN D. JACOBS, Bar No. 134154
 9
     jjacobs@ftc.gov, (310) 824-4343 (tel.)
10   Federal Trade Commission
11   10877 Wilshire Boulevard, Suite 700
     Los Angeles, CA 90024
12   (310) 824-4380 (fax)
13
     ATTORNEYS FOR PLAINTIFF
14   FEDERAL TRADE COMMISSION
15
                         UNITED STATES DISTRICT COURT
16                      CENTRAL DISTRICT OF CALIFORNIA
17
18    FEDERAL TRADE                           CV-07-4880 ODW (AJWx)
      COMMISSION,
19                                            FEDERAL TRADE
20                             Plaintiff,     COMMISSION’S REQUEST FOR
                                              PRODUCTION OF DOCUMENTS
21                      v.                    TO DEFENDANTS
22
      EDEBITPAY, LLC, et al.,                 July 30, 2010
23
                                              Judge: Hon. Otis D. Wright II
24                             Defendants.
25
           Plaintiff, Federal Trade Commission (“FTC”) submits the following
26
27   Request for Production of Documents to Defendants EDebitPay, LLC, (“EDP”);
28
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 1   Dale Paul Cleveland (“Cleveland”); and William Richard Wilson (“Wilson”),
 2
     pursuant to Section V.B.1 of the January 22, 2008 Stipulated Final Order for
 3
 4   Permanent Injunction and Monetary Relief (“Order”) and Rule 34 of the Federal
 5   Rules of Civil Procedure.
 6
                                      DEFINITIONS
 7
 8   A.    “Complaint” means the Complaint filed by the FTC in the instant matter on
 9
           July 30, 2007.
10
11   B.    “Communication(s)” includes, but is not limited to, any and all

12         conversations, meetings, discussions and any other exchange, whether in
13
           person, by telephone, or electronically, as well as all letters, memoranda,
14
15         telegrams, cables, and other writings or documents.
16   C.    “Contempt Proceeding” means the legal proceedings resulting from the
17
           FTC’s Application for an Order to Show Cause Why Defendants Should
18
19         Not Be Held in Contempt, filed on May 27, 2010.
20
     D.    “Concerning” means relating to, referring to, describing, evidencing or
21
           constituting.
22
23   E.    “Creative” means email content, banner ads, Internet websites and other
24
           forms of created advertising, whether HTML, text, or images, used in
25
26         marketing.

27
28                                           2
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                                   #:2151


 1   F.   “Document” means the complete original and any non-identical copy
 2
          (whether different from the original because of notations on the copy or
 3
 4        otherwise), regardless of origin or location, of any written, typed, printed,
 5        transcribed, taped, recorded, filmed, punched, computer-stored, or graphic
 6
          matter of every type and description, however and by whomever prepared,
 7
 8        produced, disseminated or made, including but not limited to any
 9
          advertisement, book, pamphlet, periodical, contract, file, invoice,
10
11        memorandum, note, telegram, report, record, handwritten note, working

12        paper, routing slip, package insert, sticker, web page, chart, graph, paper,
13
          index, map, tabulation, manual, guide, outline, script, abstract, history,
14
15        calendar, diary, agenda, minute, code book, data compilation, tests, reports,
16        clinical studies, test reports, scientific literature, articles, expert opinions,
17
          handwritten notes, correspondence, communications, electronic mail,
18
19        electronically stored data, computer (including handheld computer)
20
          material (including print-outs, cards, magnetic or electronic tapes, discs
21
          and such codes or instructions as will transform such computer materials
22
23        into easily understandable form), and video and audio recordings.
24
     G.   “Identify,” “identifying,” and “identification” mean:
25
26               (a)    when referring to a natural person, state the full name,

27
28                                             3
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 1              present business address and telephone number, or if a present
 2
                business affiliation or business address is not known, by the
 3
 4              last known business and home addresses and business and
 5              home telephone numbers;
 6
                (b)    when referring to any other entity, such as a business or
 7
 8              organization, state the legal name as well as any other names
 9
                under which the entity has done business, as well as the
10
11              address, telephone number and contact person; and

12              (c)    when referring to a document, state the full name(s) of
13
                the author(s) or preparer(s), the full name of the recipient(s),
14
15              addressee(s), and/or person(s) designated to receive copies,
16              the title or subject line of the document, a brief description of
17
                the subject matter of the document, the date it was prepared,
18
19              its present location, and its present custodian.
20
     H.   “Include(s)” and “including” mean “without limitation,” or “including but
21
          not limited to,” so as to avoid excluding any documents or information that
22
23        might otherwise be construed to be within the scope of any specification.
24
     I.   Receiver” refers to Howard Camhi, the receiver appointed by the Court in
25
26        the instant matter, and his agents, accountants, representatives, and

27
28                                           4
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 1        attorneys.
 2
     J.   The singular shall be construed to include the plural, and the plural shall be
 3
 4        construed to include the singular.
 5   K.   The word “and” shall be construed to include the word “or,” and the word
 6
          “or” shall be construed to include the word “and.”
 7
 8   L.   The word “each” shall be construed to include the word “every,” and the
 9
          word “every” shall be construed to include the word “each.”
10
11   M.   The word “any” shall be construed to include the word “all,” and the word

12        “all” shall be construed to include the word “any.”
13
     N.   The use of a verb in any tense shall be construed as the use of the verb in
14
15        all other tenses, whenever necessary, to bring within the scope of these
16        requests all responses that might otherwise be construed to be outside their
17
          scope.
18
19                                 INSTRUCTIONS
20
     A.   The time period covered by these requests for production is January 22,
21
          2008 through the conclusion of the Contempt Hearing in this case, unless
22
23        otherwise specified.
24
     B.   For the purposes of these requests for production the words “you” and
25
26        “your” refer to Defendants EDebitPay, LLC; Dale Paul Cleveland; William

27
28                                             5
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 1        Richard Wilson; and any entity that is controlled by any of them,
 2
          individually or collectively.
 3
 4   C.   In responding to these requests for production, furnish all information in
 5        your possession, custody, or control, or in the possession, custody, or
 6
          control of your attorneys, accountants, agents, directors, officers,
 7
 8        consultants, employees, independent contractors, bailees, or other
 9
          representatives of you, and any companies for which you have access to
10
11        documents or information related to these requests for production.

12   D.   Documents that may be responsive to more than one specification of these
13
          requests for production need not be submitted more than once; however,
14
15        your response should indicate, for each document submitted, each
16        specification to which the document is responsive. All information
17
          submitted shall be clearly and precisely identified as to the specification(s)
18
19        or subspecification(s) to which it is responsive. If any documents
20
          responsive to these requests for production have been previously supplied
21
          to the Commission, you may comply with these requests for production by
22
23        identifying the document(s) previously provided and the date of
24
          submission. In addition, number by page all documents in your
25
26        submission and indicate the total number of documents in your submission.

27
28                                           6
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 1   E.   These requests for production of documents are continuing in nature
 2
          through the completion of the Contempt Hearing. Responsive documents
 3
 4        obtained or discovered after your initial response and production must be
 5        produced promptly.
 6
     F.   You should produce all responsive documents as they are kept by you or
 7
 8        you should organize the documents to correspond with these requests.
 9
     G.   If an objection is made to any request herein, all documents covered by the
10
11        request not subject to the objection should be produced. Similarly, if an

12        objection is made to production of a document, the portion(s) of that
13
          document not subject to objection should be produced with the portion(s)
14
15        objected to redacted and clearly indicated as redacted.
16   H.   If you assert a claim of privilege in responding to or objecting to any
17
          request for production, you shall provide a privilege log including the
18
19        following information:
20
          (i)     The custodian of the document;
21
          (ii)    The type of document (e.g., letter, memorandum);
22
23        (iii)   The date of the document;
24
          (iv)    The general subject matter of the document;
25
26        (v)     The sender, author, and all recipients of the document; and

27
28                                            7
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 1        (vi)   The basis on which you contend you are entitled to withhold the
 2
                 document from production.
 3
 4                         REQUESTS FOR PRODUCTION
 5   1.   Produce all non-identical versions of marketing, including creatives, for
 6
          the following:
 7
 8        a.     Starter Credit Direct
 9
          b.     Century Platinum shopping club
10
11        c.     USA Benefits/USA shopping club

12        d.     E-Elite Plus shopping club
13
          e.     ePlatinum+ shopping club
14
15        f.     Any other shopping club
16   2.   For each of the programs or products listed in Request 1, produce all non-
17
          identical terms and conditions.
18
19   3.   Produce all websites from which consumers were transferred (including
20
          through “exit pops” as described by Wilson in his November 17, 2009
21
          deposition at 92-93, 103-06) to websites marketing any of the programs or
22
23        products listed in Request 1.
24
     4.   For each of the programs or products listed in Request 1, produce all
25
26        complaints, requests for refunds, and requests for credits.

27
28                                            8
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 1   5.    Produce documents sufficient to show the number of consumers who
 2
           applied (from a website or other marketing by or on behalf of Defendants)
 3
 4         for each of the programs or products listed in Request 1.
 5   6.    Produce documents sufficient to show the amount of revenue you received
 6
           from marketing the programs or products listed in Request 1.
 7
 8   7.    Produce documents sufficient to show the amount of fees charged to
 9
           consumers who applied (from a website or other marketing by or on behalf
10
11         of Defendants) for each of the programs or products listed in Request 1.

12   8.    Produce all documents concerning proposed or actual changes to
13
           marketing for Starter Credit Direct.
14
15   9.    Produce all documents constituting or concerning communications
16         between you and the Receiver regarding Starter Credit Direct since the date
17
           of the Complaint.
18
19   10.   Produce all documents constituting or concerning communications
20
           between you and the FTC regarding Starter Credit Direct since the date of
21
           the Complaint.
22
23   11.   If you contend that your marketing of the Century Platinum shopping club
24
           clearly and conspicuously (as defined in the Order) disclosed the material
25
26         attributes of the product or service offered or marketed, produce all

27
28                                           9
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 1         documents that support your contention.
 2
     12.   If you contend that you substantially complied with the Order, produce all
 3
 4         documents that support your contention.
 5   13.   Produce all documents concerning your defenses in this Contempt
 6
           Proceeding.
 7
 8   14.   If you contend that the Receiver and/or the FTC represented to you at any
 9
           time after the Complaint that your marketing of the Century Platinum
10
11         shopping club complied with the Order, produce all documents that

12         support your contention.
13
     15.   If you contend that, at any time after the Complaint, you reasonably relied
14
15         on representations by the Receiver and/or the FTC that your marketing of
16         the Century Platinum shopping club complied with the Order, produce all
17
           documents that support your contention.
18
19   16.   Produce all non-identical versions of your marketing (or marketing of
20
           others on your behalf), including creatives, for debit cards that were
21
           marketed with representations that they could be obtained for “no cost.”
22
23   17.   Produce documents sufficient to show the number of consumers who
24
           applied for debit cards that were marketed with representations that they
25
26         could be obtained for “no cost.”

27
28                                            10
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                                   #:2159


 1   18.   Produce documents sufficient to show the amount of revenue you received
 2
           from debit cards that were marketed with representations that they could be
 3
 4         obtained at “no cost.”
 5   19.   Produce documents sufficient to show the amount of fees charged to
 6
           consumers from debit cards that were marketed with representations that
 7
 8         they could be obtained at “no cost.”
 9
     20.   Produce all non-identical versions of your marketing (or marketing of
10
11         others on your behalf), including creatives (in addition to those already

12         produced in response to Specification 16), that represent that prepaid cards,
13
           debit cards, or credit cards can be obtained “free,” without obligation, or at
14
15         a reduced cost.
16   21.   Produce documents sufficient to show the number of consumers (in
17
           addition to those already identified in response to Specification 17) who
18
19         applied for prepaid cards, debit cards, or credit cards that were marketed
20
           with representations that they could be obtained “free,” without obligation,
21
           or at a reduced cost.
22
23   22.   Produce documents sufficient to show the amount of revenue (in addition
24
           to the revenue already identified in response to Specification 18) you
25
26         received from marketing prepaid cards, debit cards, or credit cards that

27
28                                           11
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                                   #:2160


 1         were marketed with representations that they could be obtained “free,”
 2
           without obligation, or at a reduced cost.
 3
 4   23.   Produce documents sufficient to show the amount of fees (in addition to
 5         the fees already identified in response to Specification 16) charged to
 6
           consumers from prepaid cards, debit cards, or credit cards that were
 7
 8         marketed with representations that they could be obtained “free,” without
 9
           obligation, or at a reduced cost.
10
11
12   Date: July 30, 2010                            Respectfully submitted,
13
14
15                                                             /s/
                                                    Mark Morelli
16                                                  Elizabeth Tucci
17                                                  Zachary V. Hunter
                                                    John D. Jacobs
18                                                  Attorneys for Plaintiff
19                                                  FEDERAL TRADE COMMISSION
20
21
22
23
24
25
26
27
28                                             12
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 1                                PROOF OF SERVICE
 2
     I am a resident of the District of Columbia and over the age of 18 years, and I am
 3
 4   not a party to the this action. My business address is 600 Pennsylvania Avenue,
 5   N.W., Washington, DC 20580. On July 30, 2010, I served via U.S. Mail the
 6
     FTC’S REQUEST FOR PRODUCTION OF DOCUMENTS on the following
 7
 8   person:
 9
     Michael Mallow, Esq.,
10   Loeb & Loeb, LLP,
11   10100 Santa Monica Boulevard,
     Suite 2200,
12   Los Angeles, CA 90067
13
     and by email to
14
15   Michael Mallow, Esq.
     Karen Thorland, Esq.,
16   Christine Reilly, Esq.
17   Loeb & Loeb, LLP,
18   at the following email addresses:
19   mmallow@loeb.com
     kthorland@loeb.com
20
     creilly@loeb.com
21
22
                                                        /s/
23                                                Mark Morelli
24                                                Attorney for Plaintiff
                                                  Federal Trade Commission
25
26
27
28                                           13
Case 2:07-cv-04880-ODW-AJW Document 75-13 Filed 10/06/10 Page 46 of 144 Page ID
                                  #:2162




                         ATTACHMENT 4
Case 2:07-cv-04880-ODW-AJW Document 75-13 Filed 10/06/10 Page 47 of 144 Page ID
                                  #:2163
   1 MICHAEL L. MALLOW (SBN 188745)
     mmallow@loeb.com
   2 KAREN R. THORLAND (SBN 172092)
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   3 CHRISTINE M. REILLY (SBN 226388)
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   4 LOEB & LOEB LLP
     10100 Santa Monica Boulevard, Snite 2200
   5 Los Angeles, Califomia 90067-4120
     Telephone:    310-282-2000
   6 Facsimile:    310-282-2200

   7 Attomeys for Defendants
     EDEBITPAY, LLC,
   8 DALE PAUL CLEVELAND and
     WILLIAM RICHARD WILSON
   9
                              UNITED STATES DISTRICT COURT
  10
                             CENTRAL DISTRICT OF CALIFORNIA
  11

  12
       FEDERAL TRADE COMMISSION,                )   Case No. 2:07-CV-04880 ODW (AJWx)
  13                                            )
                   Plaintiff,                   )   Assigned to Hon. Otis D. Wright II
  14                                            )
            v.                                  )   DEFENDANTS' OBJECTIONS AND
  15                                      )         RESPONSES TO PLAINTIFF FEDERAL
       EDEBITPAY, LLC; EDP REPORTING, LLC;)         TRADE COMMISSION'S FIRST SET OF
  16   EDP TEHNOLOGIES CORPORATION;       )         INTERROGATORIES
       SECURE DEPOSIT CARD, INC.; DALE    )
  17   PAUL CLEVELAND; and WILLIAM        )
       RICHARD WILSON,                    )
  18                                      )
                  Defendants.             )
  19                                      )
                                                )
  20                                            )
                                                )
  21                                            )
                                                )
  22                                            )
                                                )
  23

  24
       PROPOUNDING PARTY:              FEDERAL TRADE COMMISSION
  25
       RESPONDING PARTY:               DEFENDANTS
  26
       SET NO.                         ONE
  27

  28
                                                       DEFENDANTS' OBJECTIONS AND RESPONSES TO
                                                         PLAINTIFF'S FIRST SET OF INTERROGATORIES
Case 2:07-cv-04880-ODW-AJW Document 75-13 Filed 10/06/10 Page 48 of 144 Page ID
                                  #:2164
   1          Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Defendants

   2 EDebitPay LLC ("EDP"), Dale Paul Cleveland ("Cleveland"), and William Richard Wilson

   3 ("Wilson") (collectively "Defendants") hereby object and respond to the Federal Trade

   4 Commission's First Set ofIntelTogatories to Defendants (the "Interrogatories") as follows:

   5                                       GENERAL OBJECTIONS

   6          1.      Defendants object to each IntelTogatory to the extent it calls for or could be

   7 constmed to call for information which is protected or privileged from disclosure under the

   8 attomey-client privilege, attomey work product, or related doctrines. Defendants object to

   9 identifying any privileged or work product documents that were created on or after the filing date

  10 of this contempt action because, among other reasons, it would be overly and unduly burdensome ..

  11   Inadvertent production of any privileged document or infom1ation otherwise immune from

  12 discovery shall not be deemed a waiver of any applicable privilege or work product protection.

  13          2.      Defendants object to each IntelTogatory to the extent it calls for or could be

  14 constmed to call for the production ofinfonnation containing trade secrets, proprietary or

  15 confidential commercial or financial information, or information that invades or implicates the

  16 privacy rights of nonparties to this litigation, such as individual consumers and/or infonnation that

  17 allows for the identification of such individuals (i.e., personal identifiable information).

  18 Defendants will produce such infonnation upon entry of a mutually agreeable Protective Order.

  19          3.      Defendants object to each IntelTogatory to the extent that it purports to impose

  20 obligations of disclosure beyond those reqnired by the Federal Rules of Civil Procedure and the

  21   Local Rules. The Responses and objections herein are made in accordance with the Federal Rules

  22 of Civil Procedure and the Local Rules only.

  23          4.      Defendants object to each IntelTogatory to the extent it seeks infonnation that is

  24 outside of Defendants' knowledge, possession, custody and/or control.

  25          5.      Defendants object to the Interrogatories, and specifically to the time period set forth

  26 in the "Instructions" in paragraph B, on the grounds that the definition of the time period as

  27 extending "through the conclusion ofthe Contempt Hearing in this case" is overbroad, unduly

  28
       LA2066185.IO                                             DEFENDANTS' OBJECTIONS AND RESPONSES TO
       211465-10001                                               PLAINTIFF'S FIRST SET OF [NTERROGATORrES
Case 2:07-cv-04880-ODW-AJW Document 75-13 Filed 10/06/10 Page 49 of 144 Page ID
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   1 burdensome, unreasonable, oppressive, and premature. Defendants will provide information as of

   2 July 31,2010, unless expressly noted othelwise.

   3          6.      Defendants object to the Interrogatories, and specifically to the "Instructions" in

   4 paJagraphs D and E on the grounds that the demanded information is overbroad, unduly

   5 burdensome, unreasonable and oppressive with respect to its inclusion of information in the

   6 "possession, custody, or control of .,. consultants ... independent contractors, .. , or other

   7 representatives of you, and any companies for which you have access to documents or information

   8 related to these interrogatories." Defendants expressly disavow any obligation to respond to the

   9 Interrogatories beyond those required under the Federal Rules of Civil Procedure, and except as

  10 othelwise set fOlih expressly herein. Defendants will not undeliake to respond on behalf of any

  11 person or entity other than Defendants themselves.

  12          7.      Defendants' Responses to the IntelTogatories are not intended to be and shall not be

  13 deemed an admission of the matters stated, implied or assumed by any or all ofthe Interrogatories.

  14 In responding to the Interrogatories, Defendants neither waive nor intend to waive, but expressly

  15 reserve, any and all objections to the relevance, competence, materiality or admissihility of any

  16 information provided.

  17          8.      Defendants' investigation of information and documents that may be responsive to

  18 the Interrogatories is continuing, and therefore, they reserve the right to amend, correct,

  19 supplement and/or modify any and all of their Responses herein ifin the course of this proceeding

  20 they become aWaJe of additional infOlmation and/or documents that are responsive to these

  21 Interrogatories.

  22                               RESPONSE TO INTERROGATORIES

  23          Subject to and without waiver of the foregoing General Objections, each of which is

  24 expressly incorporated in and made a pmi of Defendants' Responses to each of the separate

  25 Intenogatories, Defendants further respond to the Interrogatories as follows:

  26

  27

 .28


       LA2066185.10                                             DEFENDANTS' OBJECTIONS AND RESPONSES TO
                                                      2           PLAINTIFF'S FIRST SET OF INTERROGATORIES
       211465·10001
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                                  #:2166

    1 INTERROGATORY NO.1:

    2          Describe in detail all of the ways in which consumers reached or were directed to the

    3 Starter Credit Direct website (including through "exit pops," as described by Wilson in his

    4 November 17, 2009 deposition at 92-93, 103-06 or through other means such as hyperlinks from

    5 emails or other websites).

    6 RESPONSE TO INTERROGATORY NO.1:
    7          Subject to and without waiver of the foregoing General Objections, each of which is

    8 expressly incorporated herein, Defendants further object to IntelTogatory No.1 on the following

    9 grounds: First, the interrogatory is overbroad, unduly burdensome and unreasonable, and seeks
  10 information that is neither relevant to the claims against Defendants in the contempt proceeding

   11 nor reasonably calculated to lead to the discovery of admissible evidence. Specifically, the

   12 contempt application filed by the FTC concerns EDP's advertising for the Century Platinum

   13   shopping catalog product on the startercreditdirect.com website. It does not concern the manner in

  14 which consumers "reached or were directed to" the startercreditdirect.com website. Not only was

   15   this issue not raised by the FTC in its contempt application, but nowhere in the Final Order are

   16 these issues or the te11n "exit pops" referenced. Nor was it discussed during settlement

   17 negotiations or during the FTC's vetting of Defendants' adveliising post-Final Order. Second,

  18 Defendants object to this inteITogatory on the gronnds that it calls for·info11nation uniquely in the

  19 possession of third party consumers. Third, Defendants further obj ect to this interrogatory on the

  20 grounds that it is duplicative of discovery obtained by Plaintiff from Defendants prior to the filing

  21    of its Application for an Order to Show Cause Why Defendants Should Not Be Held in Contempt

  22 and in response to the FTC's July 23,2009 request for information and documents to monitor

  23 Defendants' compliance with the Final Order. FOUlih, the phrases "reached or were directed to"

  24 and "Stmier Credit Direct website" are vague and ambiguous. Defendants understand the te11n

  25 "Starter Credit Direct website" to mean EDP's staliercreditdirect.com website.

  26 INTERROGATORY NO.2:

  27           For each consumer who signed up for the Century Platinum shopping club through Starter

  28 Credit Direct, identify how the consumer reached or was directed to the Starter Credit Direct

        LA2066185.10                                            DEFENDANTS' OBJECTlONS AND RESPONSES TO
                                                       3          PLAINTIFF'S FIRST SET OF INTERROGATORIES
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    1 website, including the website (and whether it is an EDP website), email, or other Internet

    2 advertising from which the consumer was directed or "exit popped" to the Starter Credit Direct

    3 website, if applicable.

    4 RESPONSE TO INTERROGATORY NO.2:

    5          Subject to and without waiver of the foregoing General Objections, each of which is

    6 expressly incorporated herein, Defendants further object to Interrogatory No.2 on the following

    7 grounds: First, the interrogatory is overbroad, unduly burdensome, harassing, and unreasonable,

    8 and seeks infomlation that is neither relevant to the claims against Defendants in the contempt

    9 proceeding nor reasonably calculated to lead to the discovery of admissible evidence.

  10 Specifically, the contempt application filed by the FTC concerns BDP's advertising for the

   11 Century Platinum shopping catalog product on the startercreditdirect.com website. It does not

   12 concem the manner in which a consumer "reached or was directed to" the startercreditdirect.com

   13 website. Not only was this issue not raised by the FTC in its contempt application, but nowhere in

   14 the Final Order are these issues or the tenns "exit pops" or "exit popped" referenced. Nor was it

   15 discussed during settlement negotiations or during the FTC's vetting ofDefendanls' advertising

   16 post-Final Order. Second, Defendants object to this interrogatory on the grounds that it calls for

   17 infonnation uniquely in the possession of third party consumers. Third, the interrogatory is

   18 objectionable on the basis that it is vague and ambiguous, particularly with respect to the phrases

   19 "signed up for," "reached or was directed to," "Starter Credit Direct," and "Starter Credit Direct

  20 website." Defendants understand the phrases "Starter Credit Direct" and "Starter Credit Direct

  21    website" to mean EDP's startercreditdirect.com website.

  22 INTERROGATORY NO.3:

  23           Identify all statements disclosing to consumers that they were or may have been transferred

  24 to the Starter Credit Direct website from another website, including the websites and dates on

  25 which such statements appeared.

   26 RESPONSE TO INTERROGATORY NO.3:

   27          Subject to and without waiver of the foregoing General Objections, each of which is

  28 expressly incorporated herein, Defendants further object to Interrogatory No.3 on the following


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                                                      4          PLAINTIFF'S FIRST SET OF INTERROGATORIES
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                                  #:2168
        grounds: First, the interrogatory is overbroad, unduly burdensome and unreasonable, and seeks

    2 information that is neither relevant to the claims against Defendants in the contempt proceeding

    3 nor reasonably calculated to lead to the discovery of admissible evidence. Specifically, the

    4 contempt application filed by the FTC concerns EDP's advertising for the Century Platinum

    5 shopping catalog product on the startercreditdirect.com website. It does not concern the manner in

    6 which a consumer was "transfened" to the statiercreditdirect.com website. Not only was this

    7 issue not raised by the FTC in its contempt application, but nowhere in the Final Order is this issue

    8 referenced. Nor can the Final Order be construed to require such disclosure. Nor was it discussed

    9 during settlement negotiations or during the FTC's vetting ofDefendaots' advertising post-Final

   10 Order. Second, Defendants object to this interrogatory on the grounds that it calls for infonnation

   II   in the possession ofthird parties. Third, Defendants futiher object to this interrogatory on the

  12 grounds that it is duplicative of discovery obtained by Plaintifffrom Defendaots prior to the filing

   13 of its Application for an Order to Show Cause Why Defendants Should Not Be Held in Contempt

  14 atld in response to the FTC's July 23, 2009 request for information and documents to monitor

  15 Defendants' compliance with the Final Order. Fourth, the interrogatory is objectionable on the

   16 basis that the tenns "tratlsferred" aod "Statier Credit Direct website" are vague and ambiguous.

  17 Defendants understatld the phrase "Starter Credit Direct website" to mean EDP's

  18 staJiercreditdirect.com website.

   19 INTERROGATORY NO.4:

  20           Identify all changes to the marketing of Starter Credit Direct.

  21 RESPONSE TO INTERROGATORY NO.4:

  22           Subject to aod without waiver of the foregoing General Objections, each of which is

  23 expressly incorporated herein, Defendants fUliher object to Interrogatory No.4 on the following

  24 grounds: First, the interrogatory is overbroad, unduly burdensome and unreasonable, to the extent

  25 that it seeks infonnation that is neither relevant to the claims against Defendants in the contempt

  26 proceeding nor reasonably calculated to lead to the discovery of admissible evidence. Second,

  27 Defendants fllliher object to this interrogatory on the grounds that it is duplicative of discovery

  28 obtained by Plaintiff from Defendants prior to the filing of its Application for ao Order to Show


        LA2066185.10                                             DEFENDANTS' OBJECfIONS AND REoPONSES TO
                                                       5           PLAINTIFF'S FIRST SET OF INTERROGATORIES
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                                  #:2169
    1 Cause Why Defendants Should Not Be Held in Contempt and in response to the FTC's July 23,

   2 2009 request for infonnation and documents to monitor Defendants' compliance with the Final

    3 Order. The phrase "Starter Credit Direct" is also vague and ambiguous. Defendants understand

   4 the phrase "Stmier Credit Direct" to mean EDP's startercreditdirect.com website.

    5          Subject to and without waiver of any of the foregoing General Objections and the

    6 foregoing specific objections, Defendants fmiher respond to the intenogatory as follows:

    7 Defendants exercise their option to produce documents in response to this interrogatory.

    8 Documents that Defendants consider confidential will be produced following the execution by the

    9 parties to the litigation and the entry by the Court of a suitable stipulation and protective order

   10 limiting the dissemination of those documents. Documents previously produced in connection

   II   with Defendants' Opposition to the FTC's Contempt Application will not be produced again.

  12 INTERROGATORY NO.5:

   13          Identify all communications and documents related to the changes to the marketing of

   14 Stalier Credit Direct.

   15   RESPONSE TO INTERROGATORY NO.5:

  16           Subject to and without waiver of the foregoing General Objections, each of which is

   17 expressly incorporated herein, Defendants fmiher object to Intenogatory No.5 on the following

   18 grounds: First, the intenogatory is overbroad, lmduly burdensome and unreasonable, to the extent

   19 that it seeks information that is neither relevant to the claims against Defendants in the contempt

  20 proceeding nor reasonably calculated to lead to the discovery of admissible evidence. Second,

  21 Defendants further object to this intcrrogatory on the grounds that it is duplicative of discovery

  22 obtained by Plaintifffrom Defendants prior to the filing of its Application for an Order to Show

  23    Cause Why Defendants Should Not Be Held in Contempt and in response to the FTC's July 23,

  24 2009 request for information and documents to monitor Defendallts' compliance with the Final

  25 Order. Third, Defendants object to this intelTogatory on the grounds that it calls for infOlmation

  26 protected by the attomey-client privilege and/or work product protection. Fourth, the phrase

  27 "Starter Credit Direct" is vague and ambiguous. Defendants understand the phrase "Starter Credit

  28 Direct" to meall EDP's startercreditdirect.com website.


        LA2066185.1o                                             DEFENDANTS' OBJECnONS AND RESPONSES TO
                                                       6           PLAINTIFF'S FIRST SET OF INTERROGATORIES
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   1           Subject to and without waiver of any ofthe foregoing General Objections and the

   2 foregoing specific objections, Defendants further respond to the interrogatory as follows:

   3 Defend811ts exercise the option to produce documents regarding the credit line offered on the

   4 staJiercreditdirect.com website in response to this interrogatory, Documents that Defendants

   5 consider confidential will be produced following the execution by the parties to the litigation and

   6 the entry by the Court of a suitable stipulation and protective order limiting the dissemination of

   7 those documents, Documents previously produced in connection with Defendants' Opposition to

   8 the FTC's Contempt Application will not be produced again,

   9 INTERROGATORY NO.6:
  10·          Identify each website through which EDP marketed the Century Platinum shopping club,

  11    For each website provide:

  12           a,      The number of consumers who applied for the Century Platinum shopping club, the

  13 number of consumers who enrolled in the Century Platinum shopping club and the date on which

  14 they enrolled.

   15          b.      The total amount consumers were charged (along with any refunds, credits, or

  16 chargebacks).

  17           c.      The total amount of revenue received by EDP.

  18 RESPONSE TO INTERROGATORY NO.6:

  19           Subject to and without waiver ofthe foregoing General Objections, each of which is

  20 expressly incorporated herein, Defendants fllliher object to Inten'ogatory No.6 on the following

  21    grounds: First, the interrogatory is overbroad, unduly burdensome and unreasonable, to the extent

  22 it seeks infoD11ation that is neither relevant to the claims against Defendants in the contempt

  23 proceeding nor reasonably calculated to lead to the discovery of admissible evidence,

  24 Specifically, to the extent the interrogatory requests information about marketing of the Centnry

  25 Platinum shopping catalog product through websites other than startercreditdirect.com, it requests

  26 infol111ation outside the scope of this contempt proceeding. The FTC's contempt application was

  27 solely directed at EDP's marketing ofthe Century Platinum shopping catalog product on the

  28    stmiercreditdirect.com website. Second, Defendants object to this interrogatory on the grounds


        LA206618S.1O                                           DEFENDANTS' OBJECTIONS AND RESPONSES TO
                                                     7           PLAINTIFF'S FIRST SET OF INTERROGATORfES
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    I that it is compound and consists of four (4) separate interrogatories. Therefore, for purposes of

    2 Federal Rule of Civil Procedure 33(a)(I), each of the discrete subparts of Interrogatory No.6 shall

    3 be counted toward the FTC's limit oftwenty-five (25) written interrogatories. Third, Defendants

    4 further object to this inten'ogatory to the extent that it is duplicative of discovery obtained by

    5 Plaintifffrom Defendants prior to the filing of its Application for an Order to Show Cause Why

    6 Defendants Should Not Be Held in Contempt and in response to the FTC's July 23, 2009 request

    7 for information and documents to monitor Defendants' compliance with the Final Order. Fourth,

    8 the interrogatory is objectionable to the extent that it purports to require Defendants to disclose

    9 infonnation constituting or containing, in whole or in part, trade secrets, confidential or

   10 proprietary information, or nonpublic financial infonnation related to Defendants. Fifth, the

   II   phrases "applied for" and "enrolled in" are vague and ambiguous. Whether consumers who

   12 submitted applications and'paid the $99 application fee to EDP actually "enrolled" in the shopping

   13 catalog club is unknown to EDP since EDP was only the marketer and not the fulfillment

   14 company for the product. That information is in the possession, custody and control of third party

   15 Insite Marketing Group, LLC. Accordingly, for purposes here, Defendants interpret "applied for"

   16 to mean consumers who filled out and submitted an online application for the Century Platinum

   17 shopping catalog club on EDP's startercreditdirect.com website, regardless of whether EDP

   18 collected the $99 application fee. Defendauts interpret "enrolled in" to mean consumers who

   19 filled out and submitted an online application for the Century Platinum shopping catalog club on

   20 EDP's startercreditdirect.com website and from whom EDP collected the $99 application fee. The

   21   phrase "total amount of revenue" is also vague and ambiguous and can be taken to refer to gross

   22 revenue or net revenue. Sixth, Defendants object to the extent this interrogatory requests

   23 information in the possession, custody and control of a third paliy.

   24          Snbject to alld without waiver of ally ofthe foregoing General Objections and the

   25 foregoing specific objections, Defendants respond to the interrogatory as follows: Defendants

   26 further respond as follows:

   27          (a)       The number of consumers who "applied for" the Century Platinum shopping

   28 catalog club     011   the startercreditdirect.com website (i.e., consumers who filled out and submitted


        LA2066185.10                                                 DEFENDANTS' OBJECTIONS AND RESPONSES TO
                                                           8           PLAINTIFF'S FIRST SET OF INTERROGATORIES
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    1 an online application for the Century Platinum shopping catalog club on EDP's

    2 startercreditdirect.com website, regardless of whether EDP collected the $99 application fee, as

    3 reflected by the number of applications received by EDP) from January 22,2008 to July 31, 2010

    4 is 22,425, however, from October 1,2008 to July 31,2010 the number is 5,282. The number of

    5 consumers who "enrolled in" the Century Platinum shopping catalog club on the

    6 startercreditdirect.com website (i.e., consumers who filled out and submitted an online application

    7   for the Century Platinum shopping catalog club on EDP's startercreditdirect.com website and from

    8 whom EDP collected the $99 application fee, as reflected by the number of fee charges collected

    9 by EDP) from January 22,2008 to July 31,2010 is 4,592, however, from October I, 2008 to July

   10 31, 2010 the number is 1,001. EDP collected on only 20 percent of applications submitted.

   11          (b)     The total amount consumers were charged by EDP from coHected

   12 startercreditdirect.com applications from JmlUary 22,2008 to July 31; 2010 was $454,608 ($99

   13   one-time application fee * 4,592), however, 6:om October 1,2008 to July 31,2010 the ml10unt is

   14 $99,099 ($99 one-time application fee* 1001). There were 359 refunds from January 22,2008 to

   15 July 31, 201. The adjusted amount for.Tanuary 22,2008 10 July 31, 2010 is therefore $419,067

   16 ($454,608-[$99    * 359]).   There were 62 refunds from October 1, 2008 to July 31,2008. The

   17 adjusted amount for October 1,2008 to July 31,2008 is therefore $92,961 ($99,099 -[$99            * 62]).
   18          (c)     The total amount of gross revenue received by EDP from the

   19 startercreditdirect.com website from January 22, 2008 to July 31,2010 was $419,067 plus

   20 recurring revenue from Insite for the $14 monthly shared fee charged by Insite. The monthly

   21   recl11Ting revenue checks received from Insite did not break down revenue by EDP website

   22 marketing the Century Platinum shopping catalog product. Without sucll documentation, which is

   23   not in EDP's possession, custody or control, EDP is unable to ascertain recurring revenue figures

   24 for the startercreditdirect.com website with exact precision. An estimate ofrecurring revenue

   25   attributahle to the stm'tercreditdirect.com website from Fehruary 2008 to July 2010 using a per

   26 application rate mlalysis is $88,965.56 (total recurring revenue for all EDP Century Platinum

   27   advertising divided hy total numher of collected applications for all EDP Century Platinum

   28   advertising multiplied hy total number of collected applications for stmiercreditdirect.col11


        LA2066185.10                                             DEFENDANTS' OBJECTlONS AND RESPONSES TO
                                                       9           PLAINTIFF'S FIRST SET OF INTERROGATORIES
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    1 website). Therefore, the total amount of gross revenue for the startercreditdirect.com website is

    2 estimated to be $508,032.56 ($419,067 for $99 application fee collected from 4,592 applications

    3 from January 22,2008 through July 31,2010 + $88,965.56 for recuning revenue fees from

    4 February 1, 2008 to July 31, 2010). The total amount of net revenue for the

    5 startercreditdirect.com website from February 2008 to July 2010 is approximately $24,661.03.

    6 For the period beginning October 2008 to July 31,2010, gross revenue attributable to the

    7 staliercreditdirect.com website is estimated to be $139,467 (1,001 applications @$99plus

    8 recuning revenue estimated at $40,368.08).

    9 INTERROGATORY NO.7:

   10          Describe in detail all steps you took to ensure that your marketing of the Century Platinum

   II shopping club did not misrepresent any material fact and/or fail to disclose the material attributes

   12 of the product or service offered or marketed.

   13 RESPONSE TO INTERROGATORY NO.7:

   14          Subject to and without waiver of the foregoing General Objections, each of which is

   15 expressly incorporated herein, Defendants further object to IntelTogatory No.7 on the following
   16 grounds: First, the intenogatory is overbroad, unduly burdensome and unreasonable, to the extent

   17 it seeks infonnation that is neither relevant to the claims against Defendants in the contempt

   18 proceeding nor reasonably calculated to lead to the discovery of admissible evidence.

   19 Specifically, to the extent the intenogatoryrequests information about marketing of the Century

   20 Platinum shopping catalog product through web sites other than stariercreditdirect.com, it requests

   21   infot111ation outside the scope of this contempt proceeding. The FTC's contempt application was

   22 solely directed at EDP's marketing of the Century Platinum shopping catalog product on the

   23 statiercreditdirect.com website. Second, Defendants further obj ect to this intelTogatory to the

   24 extent that it is duplicative of discovery obtained by Plaintiff from Defendants prior to the filing of

   25 its Application for an Order to Show Cause Why Defendar1ts Should Not Be Held in Contempt

   26 and in response to the FTC's July 23,2009 request for infoDl1ation and documents to monitor

   27 Defendants' compliar1ce with the Final Order. Third, Defendants object to this intenogatory on

   28 the grounds that it calls for infom1ation protected by the attomey-client privilege and/or work


        LA2066185.1 0                                           DEFENDANTS' OBJECTIONS AND RESPONSES TO
                                                       10         PLAINTIFF'S FIRST SET OF INTERROGATORIES
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   1 product protection. Fourth, the interrogatory requires Defendants to draw a legal conclusion as to

   2 the meaning of the phrases "material fact" and "material attributes" and for this reason is also

   3 vague and ambiguous.

   4          Subject to and without waiver of any of the foregoing General Objections and the

   5 foregoing specific objections, Defendants respond to the interrogatory as follows: Defendants

   6 exercise the option to produce documents in response to this interrogatory. Documents that

   7 Defendants consider confidential will be produced following the execution by the parties to the

   8 litigation and the entry by the Court of a suitable stipulation and protective order limiting the

   9 dissemination of those documents. Documents previously produced in connection with

  10 Defendants' Opposition to the FTC's Contempt Application will not be produced again.

  11          Defendants further respond as follows: Defendants internally review their marketing on a

  12 continuous basis to ensure that it complies with the law and the Final Order. For example, they

  13 employ a full-time staff member who is responsible for reviewing and monitoring all EDP and

  14 affiliate sites for compliance with the law and the Final Order, which included the Starter Credit
  15 markcting when it was being marketed. Defendants also created a compliance checklist used in

  16 monitoring these sites. EDP created the Internet Compliance Network ("ICN"), which assists

  17 consumers in making informed choices when purchasing products and services on the Internet.

  18 The FTC was notified ofEDP's ICN concept and provided links to the ICN home page. See

  19 www.icomplynet.com. The ICN icon is provided on all ofEDP's websites, and was included on
  20 startercreditdirect.com.

  21          In their diligence to remain compliant, Defendants sought and received feedback from the

  22 FTC on various marketing creatives. Defendants worked closely with the FTC and Receiver

  23 during the receivership to ensure that EDP's marketing was in compliance with the law. In the

  24 months following entry of the Final Order, local FTC staff and Defendants worked on creatives

  25 for the Ultimate Platinum website, which served as a template for other EDP marketing creatives.

  26 The FTC reviewed the Ultimate Platinum creatives (among various others) and offered feedback,

  27 comments, and suggestions. Defendants made the changes suggested by the FTC. Once the FTC

  28 and Defendants anived at a mutually acceptable marketing creative for Ultimate Platinum,


       LA2066185.10                                             DEFENDANTS' OBJECTIONS AND RESPONSES TO
                                                     11           PLAINTIFF'S FIRST SET OF INTERROGATORIES
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    1 Defendants made con-esponding changes to the Stalier Credit Direct website at

    2 startercreditdirect.com (as well as other marketing pieces). In short, startercreditdirect.com was

    3 modeled after a marketing piece vetted by the FTC.

    4          Defendant also voluntal'ily impleinented changes to marketing material based on

    5 infonnation that became available through FTC enforcement and threatened enforcement actions

    6 against unrelated and unaffiliated third pmiies. For eXalllple, defense counsel shared with

    7 Defendants infonl1ation that David Vladeck, Director of the Bureau of Consumer Protection,

    8 expressed concel11 regarding the marketing of a line of credit that depicted a credit card because

    9 consumers did not actually receive a card. Upon learning ofMr. Vladeck's concerns, Defendants

   10 immediately alld voluntalily made adjustments to their own mal'keting material, including

   11 challging the depiction of a credit card in their Ultimate Platinum marketing to a circle, so that

   12 consumers would not have the mistaken impression that they would be receiving a credit card in

   13 the mail. Defendants also challged their marketing to prominently display the words "limited" and

   14 "exclusive" upon learning that Mr. Vladeck prefen-ed these terms.

   15          The Starter Credit marketing itself demonstrates the steps Defendants took to ensure

   16 compliance with the Final Order, as described in response to Interrogatory No.8, which is

   17 incorporated herein by reference.

   18 INTERROGATORY NO, 8:

   19          If you contend that your mal'keting of the Century Platinum shopping club clearly and

   20 conspicuously (as defined in the Order) disclosed the material attributes of the product or service

   21   offered or marketed:

   22          a.      Identify all such marketing, including the dates that marketing was live or in use.

   23          b.      Identify all documents and communications that suppOJi your contention.

   24          c.      State all facts that suppOli your contention.

   25 RESPONSE TO INTERROGATORY NO.8:

   26          Subject to and without waiver of the foregoing General Objections, each of which is

   27 expressly incorporated herein, Defendants further object to Interrogatory No.8 on the following

   28 grounds: First, the inten'ogatory is overbroad, unduly burdensome and unreasonable, to the extent


        LA2066185.10                                              DEFENDANTS' OBJECnONS AND RESPONSES TO
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    1 it seeks infoTI11ation that is neither relevant to the claims against Defendants in this contempt

   2 proceeding nor reasonably calculated to lead to the discovery of admissible evidence.

    3 Specifically, to the extent the interrogatory requests infOlTIlation about marketing of the Century

    4 Platinum shopping catalog product through websites other than startercreditdirect.com, it requests

    5 information outside the scope of this contempt proceeding. The FTC's contempt application was

    6 solely directed at EDP's marketing ofthe Century Platinum shopping catalog product on the

    7 startercreditdirect.com website. Second, Defendants object to this interrogatory on the grounds

    8 that it is compound and consists of three (3) separate interrogatories. Therefore, for purposes of

    9 Federal Rule of Civil Procedure 33 (a)(l ), each of the discrete subpaJis of Interrogatory No.8 shall

   10 be counted toward the FTC's limit oftwenty-five (25) written interrogatories. Third, Defendants

   11 further object to this interrogatory to the extent that it is duplicative of discovery obtained by

   12 Plaintiff from Defendants prior to the filing of its Application for an Order to Show Cause Why

   13 Defendants Should Not Be Held in Contempt aJld in response to the FTC's July 23,2009 request

   14 for infoD11ation and documents to monitor Defendants' compliance with the Final Order. Fourth,

   15 Defendants object to this interrogatory on the grounds that it calls for infoTI11ation protected by the

   16 attorney-client privilege and/or work product protection. Fifth, the interrogatory requires

   17 DefendaJlts to draw a legal conclusion as to the meaJling of the phrases "clearly and

   18 conspicuously" and "material attributes" and for this reason is also vague and ambiguous. The

   19 ten11 "live or in use" is also vague and ambiguous. Defendants interpret this phrase to mean live

  20 on the intemet and capable of accepting applications.

  21           SUbjectto aJld without waiver of any of tile foregoing General Objections and the

   22 foregoing specifi'c objections, Defendants respond to the intelTogatory as follows: Defendants

  23 exercise the option to produce documents in response to subparts (a) to (c) of til is interrogatory,

   24 which docnments shall inclnde, but aJ'e not limited to, Defendants' Opposition to the Application

   25 for an Order to Show Cause Why DefendaJlts Should Not Be Held in Contempt and the

   26 documents, communications and dec1aJ'ations provided to the FTC and the COlUi filed

  27 conclUTently therewith, a document with links to the staJiercreditdirect.com creatives that were

   28 marketed to conslUllcrs, live on the intemet, and capable of accepting applications, documents and

       LA2066185.10                                              DEFENDANTS' OBJECTIONS AND RESPONSES TO
                                                       13          PLAINTIFF'S FIRST SET OF INTERROGATORIES
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    1 communications in the possession of the FTC and/or Receiver related to startercreditdirect.com

   2 during the receivership and thereafter, documents and communications in the possession ofthe

   3 FTC and/or Receiver regarding the Ultimate Platinum website and marketing, and documents

   4 previously produced to the FTC in response to the FTC's July 23,2009 request for information

    5 and documents to monitor Defendants' compliance with the Final Order. Documents that

    6 Defendants consider confidential will be produced following the execution by the parties to the

    7 litigation and the entry by the COlui of a suitable stipUlation and protective order limiting the

    8 dissemination ofthose documents. Documents previously produced in connection with

    9 Defendants' Opposition to the FTC's Contempt Application will not be produced again.

  10           With respect to subpart (c) of this interrogatory, Defendants further respond by providing

   11 the following summary of facts: Staliercreditdirect.com was a website EDP used to advertise a

  12 line of credit in connection with an online shopping catalog club called Century Platinum, which

  13 was a product offered by a third party, Insite Marketing Group, LLC. EDP did not own or operate

  14 the Century Platinum shopping club or products sold through Century Platinum, did not set
   IS catalog prices, down payment amounts or methods, or detennine catalog items. Insite did not

  16 provide this information to EDP, as EDP marketed a competitor product. EDP merely marketed

  17 the product for Insite based on information it received from Insite. EDP did not have possession

  18 of the online catalog or have access to customer activity or complaints in connection with the

  19 shopping club (i.e., length of membership, membership cancellation/tennination, credit offered

  20 and used, products purchased, down payments made, etc.). Accordingly, EDP had no way of

  21 knowing the percentage of consumers who signed up and purchased product (or any details related

  22 to such purchases). All customer-related inquiries, complaints, product returns, etc. were directed

  23 to Insite. Further, EDP did not derive allY revenue from the catalog purchases and had no reason

  24 to track them.

  25          The Stalier Credit website clearly disclosed that it was offering a line of credit for a

  26 shopping club. An example of the pre-application webpage each consumer initially viewed when

  27 accessing the stal'tercreditdirect.com website can be viewed at

  28


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    1 https:!fbuilderimpact.com/FTCProd/century/startercreditdirect/2008 I 0 I 5-2008 I023/index short. asp. This

    2 webpage was ShOli and could be viewed in its entirety with minimal scrolling. Each consumer had

    3 to review this ShOli pre-application webpage first before they could proceed to the application

    4 process or view any other information about the offer. The banner at the top of the page stated,

    5 "Get m1 Immediate Guaranteed $10,000 Credit Line l " and had a footnote prominently displayed

    6 next to "Credit Line." Footnote 1 specified that the credit line was "[tlo Purchase Brand Name

    7 Merchandise Exclusively From Our Online Mega-Store! ... This is a membership program m1d not a

    8 debit or credit card .... Century Platinum allows account holder to make merchandise purchases

    9 exclusively from its online shopping site." At the top right hand comer of the page, it stated,

   10 "Finally a credit line that provides me with the purchasing power towards great products." Under

   11 the bmmer was a "Pre-Application" box for consumers to fill in personal information juxtaposed

   12 next to EDP's Privacy Policy (in Bcrollable fom1, without a hyperIink). In addition to the

   13 disclosures in Footnote 1, the short pre-application page also contained hyperlinks to the Century

   14 Platinum Ten11S and Conditions and Century Platinum's Privacy Policy.

   15          If a consumer inselied personal consumer data, checked the box that they had "read,

   16 understood, and agree[d]" to EDP's Privacy Policy, and clicked the "Go To Application" button,

   17 they were brought to an application webpage with additional info=ation, disclosures, and options.

   18 EDP's website statistics show that only 14 percent of visitors to the startercreditdirect.com website

   19 proceeded to the application webpagc. That is, 86 percent of startercreditdirect.com visitors only

   20 viewed the short pre-application webpage.

   21          An example of the application webpage can be viewed at

   22 hlms:lfbuilderimpact.comIFTCProd/centuryistartercreditdirectl2008 I 0 I 5-20081 023/index.asp. The

   23 application webpage contained the same banner stating, "Get an Immediate Guaranteed $10,000
                    l
   24 Credit Line       "   but also contained an orange banner abont a cash advance offer across the top right

   25 hm1d comer of the page. The page also contained the same box for consumer info=ation

   26 juxtaposed next to EDP's Privacy Policy, but this time the box was labeled "Application," rather

   27 than "Pre-Application," and the fields were pre-populated based on infol1nation consumers had

   28 input on the pre-application webpage. Halfway down the webpage on the right side, before the


        LA2066185.10                                                  DEFENDANTS' OBJECTIONS AND RESPONSES TO
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   I request for bank account information, was a box containing prominent brand names such as

   2 Samsung, LG, Sony and iPod stating "Shop Major Brands and Products!" Below that was a check

   3 box that consumers were required to check before submitting their application stating that they

   4 authorized EDP to electronically debit the $99 application fee and referencing "Century

   5 Platinum," "the monthly membership fee by Century Platinum," "the Century Platinum Tenus &

   6 Conditions," "membership usage fees," and "a membership kit with $10,000 credit line." The

   7 further disclosure in Footnote I contained on the short pre-application page, as detailed above,

   8 appeared under this check box, along with the hyperlinks to the Century Platinum Terms and

   9 Conditions and Century Platinum's Privacy Policy.

  10          Once a consumer signed up for Century Platinum membership, they received an electronic

  II notice stating, "Congratulations [name l! You are now a Century Platinum account holder with a

  12 $10,000 line of credit to be used exclusively at www.centuryplatinum.com ... If a consumer did

  13 not intend to join Century Platinum, they could immediately cancel their order before it was

  14 processed. Consumers also received a membership kit by regular mail. Consumers had several
  15 days to cancel their order and receive a full refund ailer the $99 application fee posted to their

  16 accounts.

  17          Defendants' compliance is also demonstrated throngh their communications with the FTC.

  18 Defendants sought and received feedback fi'om the FTC on various marketing creatives.

  19 Defendants worked closely with the FTC and Receiver during the receivership to ensure that

  20 EDP's marketing was in compliance with the law. In the months following entry ofthe Final

  21 Order, local FTC staff and Defendants worked on creatives for the Ultimate Platinum website,

  22 which served as a template for other EDP marketing creatives. The FTC reviewed the Ultimate

  23 Platinum creatives (among various others) and offered feedback, comments, and suggestions.

  24 Defendants made the changes suggested by the FTC. Once the FTC and Defendants arrived at a

  25 mutually acceptable marketing creative for Ultimate Platinum, Defendants made corresponding

  26 changes to the Starter Credit Direct website at startercreditdirect.com (as well as other marketing

  27 pieces). In short, startercreditdirect.com was modeled after a marketing piece vetted by the FTC.

  28

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    1          Defendants' compliance is further reflected in the FTC's own actions. Marketing for the

    2 Century Platinum product at startercreditdirect.com began in July 2007 before the FTC action was

    3 filed. When the FTC action was filed on July 30,2007, Defendants produced all of its marketing

    4 material to the FTC. Inventory listings of material seized by the FTC created by the Receiver

    5 specifically included Starter Credit "website print-outs" and "banner samples." When the FTC

    6 action was filed, EDP's operations came to a halt. After the Court entered the TRO, Defendants

    7 and their counsel worked with the FTC and COllli-appointed Receiver to modify EDP's marketing

    8 material to ensure its compliance with the law. The TRO provided that the Receiver was to

    9 "[cJontinue al1d conduct the business of the [] Defendants in such manner, to such extent, and for

   10 such duration as the Temporary Receiver may in good faith deem to be necessary or appropriate to

   11   operate the business profitably and lawfully, if at all" and the "continuation and conduct of the

   12 business [was] conditioned upon the Temporary Receiver's good faith determination that the

   13 business can be lawfully operated ... " TRO, Section XVLN.

   14          Consistent with these provisions, on or about August 13,2007, the FTC, Receiver, and

   15   COllli, having found that EDP could be lawfully operated, permitted EDP to resume operations,

   16 which included the continued marketing of Starter Credit. EDP marketed Starter Credit

   17 throughout the receivership and supplied the Receiver with financial spreadsheets that expressly

   18 identified revenue being generated from the Stalter Credit marketing. Moreover, the Receiver was

   19 provided a link to the Stmer Credit marketing in September 2007. Both the FTC and Receiver

  20 were well aware of the Starter Credit marketing beginning in at least August 2007 and allowed it

  21    to be marketed throughout the receivership. Defendants and the FTC also worked together post-

  22 Final Order to resolve consumer complaints specifically arising from the Starter Credit website.

  23           If the Starter Credit product and marketing was a violation of the Final Order and FTC Act

  24 (i.e., ifit failed to "clearly and conspicuously" disclose the "material" attributes of the product or

  25    service offered or marketed), then the FTC, having all of the information related to Starter Credit

  26 in its possession al1d control prior to entry of the Final Order, would have included this marketing

  27 in its initial enforcement action, would not have permitted Defendants to go back into business

  28 with this marketing in August 2007, and at the least, would have voiced concems regarding this


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    1 marketing during the receivership from August 2007 to January 2008. Instead, the FTC

    2 knowingly allowed EDP to market Starter Credit and communicated with Defendants about other

    3 issues related to the Starter Credit website. The FTC even directed Defendants to continue

    4 marketing Starter Credit after Defendants voluntarily offered to cease the marketing in the event
    5 the marketing piece posed any concerns to the FTC.

    6          The inevitable conclusion to be reached from these facts is that neither the FTC nor the

    7 Receiver believed that Starter Credit or the Starter Credit marketing was unlawful. Why else

    8 would the FTC not only allow, but direct, Defendants to continue the marketing if the Stalier

    9 Credit marketing was such a blatant violation that purportedly caused significant consumer harm?

   10 It would destroy all notions of fundamental fairness if the FTC could permit Defendants to go

   11 back into business with the Starter Credit marketing, knowingly allow Defendallts to market

   12 Starter Credit during the receivership, allow Defendants to continue marketing Starter Credit after

   13 entry of the Final   Order~all   without indicating ally concern whatsoever about the marketing-

   14 aJ1d then pursue contempt nearly two and half years after the Final Order was entered.

   15 INTERROGATORY NO.9:

   16          If you contend that a defense (e.g., substantial compliance, estoppel) excuses or limits your

   17 liability for one or more violations of the Order, for each defense:

   18          a.      Identify all documents and communications that support your contention.

   19          b.      State all facts that support your contention.

   20 RESPONSE TO INTERROGATORY NO.9:

   21          Subject to and without waiver of the foregoing General Objections, each of which is

   22 expressly incorporated herein, Defendants fUliher object to Interrogatory No.9 on the following

   23   grounds: First, the interrogatory is overbroad, unduly burdensome and unreasonable. Second,

   24 Defendants object to this interrogatory on the grounds that it is compound and consists of two (2)

   25 separate interrogatories. Therefore, for purposes of Federal Rule of Civil Procedure 33(a)(I), each

   26 ofthe discrete subpaJis ofIntcnogatory No.9 shall be counted toward the FTC's limit of twenty-

   27 five (25) written interrogatories. Third, Defendants object to this interrogatory on the grounds that

   28 it calls for information protected by the attorney-client privilege and/or work product protection.


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    1           Subject to and without waiver of any of the foregoing General Objections and the

    2 foregoing specific objections, Defendants respond to the intenogatory as follows: Defendants

    3 exercise the option to produce documents in response to subparts (a) to (b) of this intenogatory,

    4 which documents shall include, but are not limited to, Defendants' Opposition to the Application

    5 for an Order to Show Cause Why Defendants Should Not Be Held in Contempt and the

    6 documents, communications and declarations provided to the FTC and the Court filed

    7 concun'ently therewith, a document with links to the startercreditdirect.com creatives that were

    8 marketed to consumers, live on the internet, aJld capable of accepting applications, documents and

    9 commlmications in the possession ofthe FTC and/or Receiver related to startercreditdirect.com

   10 during the receivership and thereafter, documents and communications in the possession of the

   11 FTC and/or Receiver regarding the Ultimate Platinum website and marketing, and documents

   12 previously produced to 'the FTC in response to the FTC's July 23,2009 request for infol11lation

   13 and documents to monitor Defendants' compliance with the Final Order. Documents that

   14 Defendants consider confidential will be produced following the execution by the pmiies to the

   15 litigation and the entry by the COUli of a suitable stipulation and protective order limiting the

   16 dissemination ofthose documents, Documents previously produced in connection with

   17 Defendants' Opposition to the FTC's Contempt Application will not be produced again,

   18           With respect to subpart (b) of this intenogatory, Defendants incorporate by reference their

   19 responses to IntelTogatory Nos. 7 and 8, Defendants further respond by providing the following

   20 summary of facts related to Defendants' defenses:

   21   A,      Defenses as to Starter Credit Direct Marketing

   22           1.       Equitable Estoppel/Entrapment/Waiver

   23           Marketing for the Century Platinum product at startercreditdirect.com began in July 2007

   24 before the FTC action was filed, When the FTC action was filed on July 30, 2007, Defendants

   25 produced all of its marketing material to the FTC. Inventory listings of material seized by the

   26 FTC created by the Receiver specifically included Starter Credit "website print-outs" and "banner

   27 samples," When the FTC action was filed, EDP's operations came to a halt. After the Court

   28 entered the TRO, Defendants and their counsel worked with the FTC and Court-appointed


        LA2066 185.1 0                                           DEFENDANTS' OBJECTIONS AND RESPONSES TO
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    1 Receiver to modify EDP's marketing material to ensure its compliance with the law. The TRO

    2 provided that the Receiver was to "[cJontinue and conduct the business of the [] Defendants in

    3 such manner, to such extent, and for such duration as the Temporary Receiver may in good faith

    4 deem to be necessary or appropriate to operate the business profitably and lawfully, if at all" and

    5 the "continuation and conduct of the business [was] conditioned upon the Temporary Receiver's

    6 good faith determination that the business can be lawfully operated ... " TRO, Section XVLN.

    7          Neither the FTC nor court-appointed Receiver objected to the Stalier Credit marketing

    8 after they collected, pursuant to the Court's TRO Order, all Starter Credit marketing material and

    9 creatives. To the contrary, the FTC and Receiver, with Court approval, allowed EDP to resume

   10 marketing Starter Credit in August 2007. They allowed Starter Credit to be marketed despite

   11   being ordered by the Court to review EDP marketing material, revise EDP marketing material to

   12 comply with, and prevent violations of, the Final Order and applicable law, and to pemlit EDP to

   13   continue doing business only if it could be done legally. The FTC and Receiver were well aware

   14 of the Starter Credit marketing beginning in at least Augnst 2007 and allowed it to be marketed

   15 throughout the receivership. The Receiver regularly requested and was provided financial

   16 infol111ation that expressly disclosed revenue being generated from the Starter Credit marketing,

   17 alld was also provided a link to the startercreditdirect.com website in September 2007. Not only

   18 did the FTC and Receiver allow Defendants to market Starter Credit under their watch, the FTC

   19 allowed Defendants to continue marketing Statier Credit after entry of the Final Order.

   20 Defendants in fact worked with the FTC to resolve consumer complaints specifically arising from

   21   the Starter Credit website.

   22          In the months following entry of the Final Order, local FTC staff and Defendants worked

   23   on creatives for various marketing pieces, including the Ultimate Platinum website. The FTC

   24 reviewed ereatives for the Ultimate Platinum website (among others) and offered feedback,

   25   comments, and suggestions. Defendants made the changes suggested by the FTC. Once the FTC

   26 and Defendants arrived at a mutually acceptable marketing creative for Ultimate Platinum,

   27 Defendants made corresponding Chatlges to the Stmier Credit marketing (as well as other

   28

        LA2066I8S.10                                           DEFENDANTS' OBJECTIONS AND RESPONSES TO
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        marketing pieces). The Stalier Credit marketing is therefore modeled after a marketing template

    2 sanctioned by the FTC.
    3          For approximately 22 months following entry of the Final Order, the FTC voiced no

    4 concern about Starter Credit notwithstallding its knowledge that EDP marketed Starter Credit

    5 throughout the receivership and continued to do so after entry of the Final Order md despite

    6 contacting Defendmts about issues related to Starter Credit. At no time did the FTC suggest or

    7 request chmges to the StaJier Credit creatives in its possession. This is significant considering

    8 that Defendants' advertising had been under intense scrutiny by the FTC since at least July 2007,

    9 aJld by a Comi-appointed Receiver for several of those months.

   10          The inevitable conclusion to be reached from these facts is that neither the FTC nor the

   11 Receiver believed that Stmer Credit or the Stal·ter Credit marketing was unlawful. The FTC's

   12 current position is entirely inconsistent with its past actions regarding the Stmer Credit marketing.

   13 The inconsistency is not entirely surprising given the appointment of Jon Leibowitz to FTC

   14 Chairmm in March 2009 and the appointment of David Vladeck to Director for the Bureau of

   15   Consumer Protection in April 2009, and their express objections to online shopping catalogs. The

   16 new leadership at the FTC has taken issue with shopping catalog products, despite these products

   17 being marketed for over a decade alld despite knowing about Defendmts' Stmer Credit marketing

   18 for years. Until just recently, the FTC simply did not consider shopping catalog clubs to be

   19 problematic or questionable.

   20          That the FTC may have changed its tune, however, cannot detract from the fact that

   21 Defendants reasonably relied on tlle actions (or omissions) of the FTC and Receiver in their

   22 marketing of the Starter Credit website. Defendants had no reason or basis to believe that the

  23 Starter Credit advertising posed ally issue to tile pTC whatsoever. Defendants justifiably relied on

   24 ilie FTC and the Receiver, both experts in consumer protection, in reaching the understmding that

   25 the Starter Credit marketing was in compliance with the FTC Act and the Final Order. Ifthe FTC

  26 has now concluded otherwise, it, at best, mistakenly and prejudicially misled Defendmts into what
  27 it now claims is a contemptuous violation ofthe Final Order.

  28

        LA2066185,10                                           DEFENDANTS' OBJECTIONS AND RESPONSES TO
                                                     21          PLAINTIFF'S FiRST SET OF INTERROGATORIES
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    1         The FTC should not be able to reverse course mid-stream and hold Defendants liable for

   2 conduct that it clearly did not take issue with for years, at least not without giving Defendants

   3 notice and an opportunity to confonn with the FTC's new opinions on shopping catalog products.

   4 No notice was given to Defendants here. No cease and desist letter was sent. No request to

    5 change or discontinue the marketing was made. Instead, when Defendants voluntarily offered to

    6 discontinue the marketing when the FTC began making inquiry, the FTC expressly requested that

    7 EDP continue the Starter Credit marketing, further lulling Defendants into a false sense of

    8 security. And when Defendants asked for the complaints the FTC said they were receiving with

    9 respect to the Starter Credit marketing, the FTC steadfastly refused to provide them despite

  10 multiple requests. In fact, those complaints still have yet to be produced.

   11          For all of the facts and reasons discussed above, the FTC's objections to the Starter Credit

  12 marketing have long been waived and the FTC is now estopped and/or barred from pursuing

  13 contempt sanctions against Defendants based on the Stalier Credit marketing.

   14          2.      Substantial Compliance

  15           The Starter Credit website clearly disclosed that it was offering a line of credit for a

  16 shopping club. An example of the pre-application webpage each consumer initially viewed when

  17 accessing the startercreditdirect.com website can be viewed at

  18 https://builderimpact.comlFTCProd/century/startercreditdirect120081015-20081 023lindex short.asp. This

   19 webpage was short and could be viewed in its entirety with minimal scrolling. Each consumer had

  20 to review this short pre-application webpage first before they could proceed to the application

  21 process or view any other infonnation about the offer. The banner at the top of the page stated,

  22 "Get an Immediate Guaranteed $10,000 Credit Line l " and had a footnote prominently displayed

  23 next to "Credit Line." Footnote 1 specified that the credit line was "[t]o Purchase Brand Name

  24 Merchandise Exclusively From Our Online Mega-Store! ... This is a membership program and not a

  25 debit or credit card .... Century Platinum allows account holder to make merchandise purchases

  26 exclusively from its online shopping site." At the top right hand corner of the page, it stated,

  27 "Finally a credit line that provides me with the purchasing power towards great products." Under

  28 the banner was a "Pre-Application" box for consumers to fill in personal infonnationjuxtaposed


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    1 next to EDP's Privacy Policy (in scrollable fonn, without a hyperlink). In addition to the

    2 disclosures in Footnote 1, the shoti pre-application page also contained hyperlinks to the Century

    3 Platinnm Terms and Conditions and Century Platinum's Privacy Policy. Defendants' pre-

    4 application webpage substantially complied with the Final Order, and for most all of consumers,

    5 this was the only Stalier Credit marketing they viewed. Only 14 percent of visitors to the

    6 stal·tercreditdirect.com website proceeded to the application webpage. That is, 86 percent of

    7 staliercreditdirect.com visitors only viewed the short pre-application webpage.

    8          If a consnmer inserted personal consumer data, checked the box that they had "read,

    9 understood, and agree[ d]" to EDP's Privacy Policy, and clicked the "Go To Application" button,

   10 they were brought to an application webpage with additional infotmation, disclosures, and options.

   II   An example of the application webpage can be viewed at

   12 https:!/builderimpact.com/FTCProd/centurylstartercreditdirectl20081 015-20081 023Iindex.asp. The

   13   application webpage contained the same banner, stating "Get an Immediate Guaranteed $10,000
                    l
   14 Credit Line       "   but also contained an orange banner about a cash advance offer across the top right

   15   hand comer of the page. The page also contained the same box for consumer infomlation

   16 juxtaposed next to EDP's Privacy Policy, but this time the box was labeled "Application," rather

   17 than "Pre-Application," and the fields were pre-populated based on infonnation consumers had

   18 input on the pre-application webpage. Haliway down the webpage on the right side, before the

   19 request for bank account infonnation, was a box containing prominent brand nariles such as

   20 Samsung, LG, Sony and iPod stating "Shop Major Brands and Products!" Below that was a check

   21   box that consumers were required to check before submitting their application stating that they

   22   authorized EDP to electronically debit the $99 application fee and referencing "Century

   23   Platinum," "the monthly membership fee by Century Platinum," "the Century Platinum Terms &

  24 Conditions," "membership usage fees," and "a membership kit with $10,000 credit line." The

   25   further disclosure in Footnote 1 contained on the short pre-application page, as detailed above,

   26   appeared under this check box, along with the hyperlinks to the Century Platinum Terms and

   27   Conditions and Century Platinum's Privacy Policy. Defendants' application webpage also

   28   substantially complied with the Final Order.


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    1          The FTC thought so too. Why else would the FTC not only allow, but direct, Defendants

    2 to continue the Starter Credit marketing, pmiicularly in the face of Defendants' unsolicited offer to

    3 cease the marketing, ifit was such a blatant violation that purpOJiedly caused such significant

    4 consumer harm? Since October 2008, when the FTC claims the Stmer Credit marketing took a

    5 turn for the worse, until the marketing ceased in December 2009,1001 applications were

    6 submitted through startercreditdirect.com, 62 of which received full refunds of the $99 application

    7 fee. The amount of revenue generated from the $99 application fee during this time was $92,96l.

    8 The amount EDP has collected from the $14 shared recurring revenue charged by Insite for the

    9 statiercreditdirect.com website since October 2008 using a per application rate analysis (total

   10 recUlTing revenue for all EDP Century Platinum advertising divided by total number of collected

   11 applications for all EDP Century Platinum advertising mUltiplied by total number of collected

   12 applications for startercreditdirect.com website) is approximately $41,157.02. In addition, total

   13 collected applications from the startercreditdirect.com website accounted for only 9% of total

   14 collected applications fyom all EDP web sites advertising the Century Platinum shopping catalog

   IS   product. More importantly, revenue from startercreditdirect.com represents only .47% ofEDP's

   16 total gross revenue from all adveliising since October 2008. In other words, approximately 99.5%

   17 ofEDP's business complies with the Final Order. These facts further demonstrate Defendants'

   18 substantial compliance with the Final Order.

   19          3.      Reasonable Efforts to Comply/Diligence/Good Faith and Reasonable

   20                  Interpretation of the Final Order

   21          Defendants believed in good faith that the Starter Credit marketing was in compliance with

   22 the Final Order. Based on the facts and reasons discussed in Section A.I and in response to

   23 Interrogatory Nos. 7-8, incorporated herein by reference, Defendants made all reasonable efforts

   24 to comply with the Final Order and were diligent and conscientious in their compliance efforts,

   25 including making changes to their marketing creatives based on FTC feedback and incorporating

   26 changes to the StaJier Credit marketing based on a marketing template sanctioned by local FTC

   27 staff. Defendat1ts have been fully responsive to m1y and all requests for infoTI11ation, have satisfied

   28 all reporting and notice requirements, and have been fully open and transparent about their


        LA2066185.10                                             DEFENDANTS' OBJECTIONS AND RESPONSES TO
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   1 business operations. Moreover, to the extent possible, Defendants have implemented all suggested

   2 operational and marketing changes suggested by FTC staff and have also voluntarily implemented

   3 changes to their marketing material based on information that became available through FTC

   4 enforcement and threatened enforcement actions against unrelated and unaffiliated third parties.

   5 Further, for the facts and reasons discLlssed in Section A.1 and in response to Interrogatory Nos. 7-

   6 8, incorporated herein by reference, Defendants' advertising was based on a good faith and

   7 reasonable interpretation ofthe Final Order.

   8          4.      Overbroad and Ambiguous Final Order That is Neither "Specific" nor

   9                  "Definite" /Beyond the Scope/Inadequate Notice/Violation of Due Process

  10          Civil contempt is a party's disobedience of a specific and definite court order by failure to

  11   take all reasonable steps within the party's power to comply. A court order is required to be clear

  12 and precise in order that it may be understood by those who are ordered to follow it. Specificity is

  13 also required because of the severity of penalties for a finding of contempt.

  14          The underlying action wholly concerned the use of debit cards. As the FTC stated in its

  15 reply in snpport of its contempt application, "The FTC's original case had nothing to do with sites

  16 such as Starter Credit that purportedly offered credit lines but actually sold memberships in online

  17 shopping clubs. Rather, "[f]ees associated with obtaining EDP's stored valne debit card were the

  18 focus ofthe initial case against EDP." Reply, p. 5. As a result, the parties negotiated a settlement

  19 with the intent to resolve allegations pertaining to EDP's advertisement of debit cards and solely

  20 framed a settlement agreement around this issue. In tum, the final negotiated settlement, which

  21   the Comi approved, addressed debit card products. Though some of the Final Order's language

  22 could, if taken out of context of the entire order, be misconstrued to broadly apply to any business

  23 practice, shopping catalogs or clubs were clearly not specifically contemplated, nor prohibited

  24 under the telms ofthe Order. As a result, no where in the Final Order is "shopping catalog" or

  25 "shopping club" referenced, nor were these products referenced as part of the settlement

  26 negotiations.

  27          The FTC's contempt allegations as to the Starter Credit marketing are outside the scope of

  28 the Final Order. Defendants cannot be penalized for advertising that was not at issue in the


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        original proceeding, never litigated or settled (let alone noticed), never found by the Court to be in

   2 violation of the FTC Act, and never envisioned as part of the Court's Final Order. Defendants

    3 cannot be sUbjected to contempt for allegedly committing a new violation unlike and unrelated to

   4 the original case and negotiated settlement. Defendants' interpretation of the Final Order as

    5 addressing marketing with respect to debit card products is a good faith and reasonable

    6 interpretation of the Final Order. The FTC's interpretation of the Final Order, on the other hand,

    7 renders it overly broad and neither specific nor definite. To hold Defendants liable for the Starter

    8 Credit marketing would deprive Defendants of fair notice, offend fundamental due process rights,

    9 cause severe prejudice, and constitute an extreme injustice, particularly in light of the remedies the

   10 FTC seeks (compensatory sanctions and a modification of the Final Order that would destroy the

   11   livelihoods ofMssrs. Cleveland and Wilson and put EDP out ofhusiness).

   12          The Final Order is not "specific and definite" or "clear and precise" as it relates to the

   13 marketing ofproducts other thall "prepaid cards, debit cards, or credit cards." See Final Order,

   14 Sections LA-E. The provisions relied on by the FTC in seeking contempt for the Starter Credit

   15 advertising are ambiguous as applieu lo products other than the debit card products that were the

   16 subject of the underlying litigation. They are even more ambiguous in light ofthe FTC's

   17 allegations that Defendants are in contempt for failing to investigate Insite's Century Platinum

   18 shopping catalog product and perform an in-depth price comparison analysis of products hetween

   19 Insite and its competitors to detennine ifInsite's representation to EDP that credit was extended

   20 was in fact tme prior to adveliising the product. The terms of the Final Order do not remotely

   21   suggest, either directly or impliedly, that Defendants are required to undertake such a herculean

   22 task prior to marketing a third-party product, particularly where EDP does not retain, and the

   23 third-party provider does not share for competitive reasons among others, the infonnation

   24 necessary to perfonn such an analysis. The FTC's "illusory credit" allegation with respect to

   25 Insite's Century Platinum shopping catalog club has no relation to the allegations previously made

   26 and settled with respect to debit cards illld the Final Order cannot be construed, broadly or

   27 otherwise, to require Defendants to investigate such shopping catalog products in the mill111er

   28 suggestcd by the FTC.


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    I          For these reasons, Defendants cannot be held in contempt for the Statier Credit marketing.

    2 This action is concluded except for enforcement of the Comi's Final Order as it relates to debit

    3 cat'd products. Enforcement of unrelated allegations does not begin here.

    4          5,      Improper Party

    S          The FTC alleges that Defendants failed to disclose, clearly and conspicuously, that the line

    6 of credit offered by Insite was "no real extension of credit" and was "worthless" because most

    7 purchases required a substantial down payment that often exceeded the full price of the product

    8 offered through other online retailers. Though the FTC acknowledges that Century Platinum was

    9 "operated" by Insite, the FTC disregards the fact that the Century Platinum online shopping club

   10 was not a product owned by EDP and that EDP had no access to the statistics the FTC obtained

   II from Insite pursuatlt to its Civil Investigative Demand.

   12          EDP did not own or operate the Century Platinum shopping club or products sold through

   13   Century Platinum, did not set catalog prices, down payment amounts or methods, or detenlline

   14 catalog items. Insite did not provide this infoDllation to EDP, as EDP marketed a competitor

   15 product. EDP merely marketed the product for Insite based on infornlation it received from Insite.

   16 EDP did not have possession of the online catalog or have access to customer activity or

   17 complaints in connection with the shopping club (i.e., length of membership, membership

   18 cancellation/ternlination, credit offered and used, products purchased, down payments made, etc.).

   19 Accordingly, EDP had no way oflcnowing the percentage of consumers who signed up and

   20 purchased product (or any details related to such purchases). All customer-related inquiries,

   21 complaints, product returns, etc. were directed to Insite. Further, EDP did not derive any revenue

   22 from the catalog purchases and had no reason to track them.

   23          The FTC's theory is that Defendants should be held accoUt1table for marketing a third

   24 party product that, in the estimation of the FTC, is a "bad deal" for consumers. Neither the Final

   2S   Order nor Section S of the FTC Act requires Defendants, or any other marketer, to retain a

   26 professional economist to evaluate a third party product or service, compat'e that product or

   27 service to what is otherwise available in the marketplace, and then analyze the specific tenns and

   28 conditions to determine whether the third party's goods or services are a "good deal" for


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    1 consumers before marketing them. If the FTC takes issue with the "inflated" prices and down

    2 payments associated with the Century Platinum membership offered by Insite, that concern should

    3 be directed at Insite, not EDP. In short, Defendants are not a proper party to this claim.

    4          5.      $15 Fee Not Charged to Consumers

    5          The FTC alleges that Defendants did not clearly and conspicuously disclose a purpOJied

    6 one-time $15 initial processing fee, but EDP never charged Starter Credit consumers a $15 fee.

    7 Based on infol111ation and belief, neither did Insite. The only one-time fee charged by EDP was a

    8 $99 application fee that was prominently disclosed in several places on the website and to which

    9 the FTC does not take issue.

   10 B.       ePlatinum Direct Defenses

   11          As to the Netspend debit card that EDP marketed in conjunction with the ePlatinum+

   12 catalogue membership on ePlatinumDirect.com (the "Debit Card"), there was no

   13 misrepresentation or failure to clearly and conspicuouslY disclose material attributes of the product

   14 because there was, in fact, "no cost" to obtain the Debit Card. The Debit Card was sent to

   15 consumers free of charge. This distinguished the Debit Card from other pre-paid debit cards

   16 where consumers pay to receive the physical card, even if the card is not yet capable of use.

   17          At the time the Debit Card was received by the consumer (assuming the consumer

   18 requested a card and received it), the consumer was at least two steps away from incurring any

   19 obligation to pay fees. The consumer had to first cal1 to activate the card, and then needed to load

   20 the card with a specific amount of money. Based on Netspend's production of documents in

   21   response to EDP's subpoena in this proceeding, and Defendants' interpretation thereof, Defendants

   22 are infoTIl1ed and believe that additional disclosures regarding any fees associated with the Debit

   23 Card were made by Netspend before consumers incurred any fees. Specifically, the online

   24 activation and account setup process and the activation process by phone included disclosures of

   25 Netspend's "fee plans," including the $9.95 monthly fee plan and the pay-as-you-go options and

   26 related fees. Defendants are infoTIl1ed and believe that the default fee plan was "pay-as-you-go,"

   27 such that no monthly fees were paid emd fees were only incurred if and when money was loaded

   28 on the card. Additional1y, Netspend's ten11S and conditions disclosed the fees related to the Debit


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    1 Card in a clear, easy-to-read chali fomlat prominently displayed from the remainder of the telIDS

   2 and conditions in paragraph form.
    3          Moreover, the costs that could have been incuned by a consumer in the future ifthey had

   4 activated the card and loaded it with funds were clearly and conspicuously disclosed by EDP in

    5 text that appeared immediately below the words "no cost" once the consumer indicated interest in

    6 the card. In other words, the disclosures were made in close proximity to the words "no cost,"

    7 such that a hyperlink was not required to view the costs, nor were the fee disclosures buried "in

    8 the middle of a 4, nO-word hyperlinked document." Moreover, the fee disclosures used for the

    9 ePlatinum Debit Card marketing were based on the Ultimate Platinum template vetted by local

  10 FTC staff.
   11          The FTC's contention that Defendants failed to disclose fees for the card are based on an

  12 anomaly in the ePlatinum marketing, which the FTC knows to be the case based on its extensive

  13 compliance investigation which took over a year and a halfto complete. It appears that a draft

  14 creative that was never intended to be viewed by the public or capable of accepting applications

   15 was inadvertently made Ii ve for a sholi period. Defendants believe the creative found by the FTC

   16 was a draft or placeholder for the tec1mical development of the actual, marketed creative and was

  17 not intended to be marketed to consumers. Specifically, with the possible exception of a period

   18 from late November 2009 to late Jannary 2010, when an erroneous creative was posted, at all other

   19 times, Defendants marketed the full fee disclosure that replicated the Ultimate Platinum marketing

  20 vetted by the FTC. During this sholi window, only 89 applications were accepted and only $44.50

  21 in revenue generated to EDP.

  22           To the extent there can be any violation of the Final Order in connection with the Debit

  23 Card, it was a hannless technical violation because, with few exceptions, consumers who viewed

  24 the marketing related to the Debit Card viewed a creative with the full fee disclosure that was

  25 based on a marketing piece sanctioned by the FTC. For those few who did not, they received

  26 further fee disclosures and took several proactive steps before they were obligated to pay any fees.

  27 These facts demonstrate that Defendants substantially complied with the Final Order, the actions

  28 taken were based on a good faith and reasonable interpretation of the Final Order, Defendants


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        were diligent in their compliance efforts (including incorporating the fee disclosure from the

   2 Ultimate Platinum marketing sanctioned by the FTC), and Defendants made every reasonable

   3 effort to comply with the tenns of the Final Order. Contempt cannot lie against Defendants based

   4 on the Netspend Debit Card marketing.

   5 INTERROGATORY NO. 10:

   6           If you contend that the Receiver and/or the FTC represented to you at any time after the

   7 Complaint that your marketing ofthe Century Platinum shopping club complied with the Order:

   8           a.      Identify every such representation.

    9          b.      Identify all documents and communications that support your contention.

  10           c.      State all facts that support your contention.

  II    RESPONSE TO INTERROGATORY NO. 10:

   12          Subject to and without waiver of the foregoing General Objections, each of which is

  13 expressly incorporated herein, Defendants further object to Interrogatory No.1 0 on the following

   14 grounds: First, the interrogatory is overbroad, unduly burdensome and unreasonable, to the extent

  15 it seeks infolTnation that is neither relevant to the claims against Defendants in the contempt

  16 proceeding nor reasonably calculated to lead to the discovery of admissible evidence.

  17 Specifically, to the extent the interrogatory requests infonnation about marketing ofthe Century

  18 Platinum shopping catalog product through web sites other than startercreditdirect.com, it requests

   19 inforn1ation outside the scope of this contempt proceeding. The FTC's contempt application was

  20 solely directed at EDP's marketing of the Century Platinum shopping catalog product on the

  21    startercreditdirect.col11 website. Second, Defendants object to this interrogatory on the grounds

  22 that it is compound and consists of three (3) separate interrogatories. Therefore, for purposes of

  23 Federal Rule of Civil Procedure 33(a)(I), each of the discrete subparts ofInterrogatoryNo. 10

  24 shall be counted toward the FTC's limit of twenty-five (25) written interrogatories. Third,

  25 Defendants object to this intelTOgatory on the grounds that it calls for information protected by the

  26 attorney-client privilege and/or work product protection. Fourth, Defendant objects to this

  27 interrogatory on the grounds tbat it calls for infonnation that is in the possession and knowledge of

  28 the FTC and Receiver.


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   1          Subject to and without waiver of any ofthe foregoing General Objections and the

   2 foregoing specific objections, Defendants fUliher respond to the inten-ogatory as follows:

   3 Defendants exercise the option to produce documents in response to subparts (a) to (c) of this

   4 interrogatory, which documents shall include, but are not limited to, Defendants' Opposition to the

   5 Application for an Order to Show Cause Why Defendants Should Not Be Held in Contempt and

   6 the documents, communications and declarations provided to the FTC and the COUli filed

   7 conculTently therewith, documents and communications in the possession ofthe FTC and/or

   8 Receiver related to startercreditdirect.com during the receivership and thereafter, documents and

   9 communications in the possession of the FTC and/or Receiver regarding the Ultimate Platinum

  10 website and marketing, and documents previously produced to the FTC in response to the FTC's

  11   July 23, 2009 request for infol111ation and documents to monitor Defendants' compliance with the

  12 Final Order. Documents that Defendants consider confidential will be produced following the

  13   execution by the parties to the litigation and the entry by the Court of a suitable stipulation and

  14 protective order limiting the dissemination of those documents. Documents that Defendants

  15 consider confidential will be produced following the execution by the parties to the litigation and

  J 6 the entry by the Court of a suitable stipulation and protective order limiting the dissemination of

  17 those documents. Documents previously produced in connection with Defendants' Opposition to

  18 the FTC's Contempt Application will not be produced again.

  19          With respect to subpart (c) ofthis interrogatory, Defendants further respond by

  20 incorporating herein by reference their responses to Inten-ogatory Nos. 7-8, and the portions of

  21   their response to Inten-ogatory No.9 related to the startercreditdirect.com marketing.

  22 INTERROGATORY NO. 11:

  23          If you contend that, at any time after the Complaint, you reasonably relied on

  24 representations by the Receiver and/or the FTC that your marketing of the Century Platinum

  25 shopping club complied with the Order:

  26          a.      Identify every representation on which you contend that you reasonably relied.

  27          b.      Identify all documents and communications that support your contention.

  28          c.      State all facts that support your contention.


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    1 RESPONSE TO INTERROGATORY NO. 11:

    2          Subject to and without waiver ofthe foregoing General Objections, each of which is

    3 expressly incorporated herein, Defendants fmiher object to Interrogatory No. lion the following

    4 grounds: First, the inten'ogatory is overbroad, unduly burdensome and unreasonable, to the extent

    5 it seeks infonnation that is neither relevant to the claims against Defendants in the contempt

    6 proceeding nor reasonably calculated to lead to the discovery of admissible evidence.

    7 Specifically, to the extent the interrogatory requests information about marketing of the Century

    8 Platinum shopping catalog product through websites other than startercreditdirect.com, it requests

    9 information outside the scope ofthis contempt proceeding. The FTC's contempt application was

   10 solely directed at EDP's marketing of the Century Platinum shopping catalog product on the

   11 startercreditdirect.com website. Second, Defendants object to this interrogatory on the grounds

   12 that it is compound and consists ofthree (3) separate interrogatories. Therefore, for purposes of

   13 Federal Rule of Civil Procedure 33(a)(1), each ofthe discrete subparts ofInterrogatoryNo. 11

   14 shall be counted toward the FTC's limit of twenty-five (25) written interrogatories. Third,

   15 Dcfcndants object to this interrogatory on the grounds that it calls for information protected by the

   16 attorney-client privilege and/or work product protection.

   17          Subject to and without waiver of any of the foregoing General Objections and the

   18 foregoing specific objections, Defendants fUliher respond to the interrogatory as follows:

   19 Defendants exercise the option to produce documents in response to subparts (a) to (c) of this

   20 interrogatory, which documents shall include, but are not limited to, Defendants' Opposition to the

   21 Application for all Order to Show Cause Why Defendants Should Not Be Held in Contempt and

   22 the documents, communications and declarations provided to the FTC and the Comi filed

  23 concurrently therewith, documents and communications in the possession of the FTC and/or

   24 Receiver related to startercreditdirect.com during the receivership and thereafter, documents and

   25 communications in the possession of the FTC 3l1d/or Receiver regarding the Ultimate Platinum

   26 website and marketing, and documents previously produced to the FTC in response to the FTC's

   27 July 23, 2009 request for information and documents to monitor Defendants' compliance with the

   28 Final Order. Documents that Defend311ts consider conf!dential will be produced following the


        LA2066185.10                                            DEFENDANTS' OBJECTIONS AND RESPONSES TO
                                                     32           PLAINTIFF'S FIRST SET OF INTERROGATORIES
        211465-10001
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    1 execution by the pm1ies to the litigation and the entry by the Court of a suitable stipulation and

    2 protective order limiting the dissemination ofthose documents. Documents that Defendants

    3 consider confidential will be produced following the execution by the parties to the litigation mld

    4 the entry by the Court of a suitable stipulation and protective order limiting the dissemination of

    5 those documents. Documents previously produced in connection with Defendants' Opposition to

    6 the FTC's Contempt Application will not be produced again.

    7          With respect to subpart (c) of this intenogatory, Defendants further respond by

    8 incorporating herein by reference their responses to Interrogatory Nos. 7-8, and the portions of

    9 their response to Intenogatory No.9 related to the startercreditdirect.com marketing.

   10
        Dated: September 2,2010                      LOEB & LOEB LLP
   11                                                MICHAEL L. MALLOW
                                                     KAREN R. THORLAND
   12                                                CHRISTINE M. REILLY
   13
                                                     By: /s/ Michael L. Mallow
   14                                                    Michael L. Mallow
                                                         Attomeys for Defendants
   15                                                    EDEBITPAY, LLC,
                                                         DALE PAUL CLEVELAND and
   16                                                    WILLIAM RICHARD WILSON
   17

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   20
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        LA2066185.10                                            DEFENDANTS' OBJECTIONS AND RESPONSES TO
                                                      33          PLAINTIFF'S FIRST SET OF INTERROGATORIES
        211465-10001
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                                                                      34                  PI AINT1FFS FIR,," SET OF INTE.RROG,nORIES
Case 2:07-cv-04880-ODW-AJW Document 75-13 Filed 10/06/10 Page 82 of 144 Page ID
                                  #:2198

    1                                     PROOF OF SERVICE
    2          I, Vicki S. Henderson, the undersigned, declare that:
    3          I am employed in the County of Los Angeles, State of California, over the age of
    4 18, and not a party to this cause. My business address is 10100 Santa Monica Boulevard,
    5 Suite 2200, Los Angeles, California 90067-4120.
    6          On September 2,2010, I served a true copy of the DEFENDANTS'
    7 OBJECTIONS AND RESPONSES TO FEDERAL TRADE COMMISSION'S FIRST
    8 SET OF INTERROGATORIES on the parties in this cause
    9 [Xl      (VIA OVERNIGHT DELIVERY) by placing the above named document in a
   10 sealed envelope addressed as set forth below, or on the attached service list and by then
   11 causing said envelope to be deposited for collection and overnight delivery via Federal
   12 Express in accordance with Loeb & Loeb LLP's ordinary business practices.

   13
      Mark Morelli, Esq.                              John D. Jacobs, Esq.
   14 Elizabeth Tucci, Esq.                           Federal Trade Commission
      Zachary V. Hunter, Esq.                         10877 Wilshire Boulevard
   15 Federal Trade Commission                        Suite 700
      600 Pennsylvania Avenue NW                      Los Angeles, CA 90024
   16 Room M-81 02B
      Washington, DC 20580
   17
             I am readily familiar with Loeb & Loeb LLP'S practice for collecting and processing
   18
      correspondence for mailing with the United States Postal Service and Overnight Delivery
   19
      Service. That practice includes the deposit of all correspondence with the United States
   20
      Postal Service and/or Overnight Delivery Service the same day it is collected and
   21
      processed.
   22
             I certifY that I am employed in the office ofa member of the bar ofthis Court at
   23
        whose direction the service was made.
   24
               I declare under penalty of perjury that the foregoing is true and correct.
   25
               Executed on September 2,2010, at Los Angeles, California.
   26
   27                                                     Vicki S. Henderson
   28

        LA2064389.1
        211465-10001                                                                PROOF OF SERVICE
Case 2:07-cv-04880-ODW-AJW Document 75-13 Filed 10/06/10 Page 83 of 144 Page ID
                                  #:2199




                         ATTACHMENT 5
    Case 2:07-cv-04880-ODW-AJW Document 75-13 Filed 10/06/10 Page 84 of 144 Page ID
                                      #:2200



         1 MICHAEL L. MALLOW (SBN 188745)
           mmallow@loeb.com
         2 KAREN R. THORLAND (SBN 172092)
           kthorland@loeb.com       """.
         3 CHRISTINE M. REILLY (SBN 226388)
           creilly@loeb.com
         4 LOEB & LOEB LLP
           10100 Santa Monica Boulevard, Suite 2200
         5 Los Angeles, California 90067-4120
           Telephone:    310-282-2000
         6 Facsimile:    310-282-2200

         7 Attomeys [or Defendants
           EDEBITP A Y, LLC,
         8 DALE PAUL CLEVELAND and
           WILLIAM RICHARD WILSON
         9
                                   UNITED STATES DISTRICT COURT
        10
                                      CENTRAL DISTRICT OF CALIFORNIA
        I1
        12
             FEDERAL TRADE COMMISSION,                )   Case No. 2:07-CV-04880 ODW (AJWx)
        13                                            )
                         Plaintiff,                   )   Assigned to Han. Otis D. Wright II
        14                                            )
                  v.                                  )
        15                                      )
             EDEBITPAY, LLC; EDP REPORTING, LLC;)         DEFENDANTS' OBJECTIONS AND
        16   EDP TEHNOLOGIES CORPORATION;       )         RESPONSES TO FEDERAL TRADE
             SECURE DEPOSIT CARD, INC.; DALE    )         COMMISSION'S FIRST SET OF
        17   PAUL CLEVELAND; and WILLIAM        )         REQUESTS FOR PRODUCTION OF
             RICHARD WILSON,                    )         DOCUMENTS
        18                                      )
                        Defendants.             )
        19                                      )
                                                )
        20                                      )
                                                )
        21                                      )
                                                )
        22                                     .)
                                                )
        23

        24
             PROPOUNDING PARTY:              FEDERAL TRADE COMMISSION
________~II-----~~----------------~~~--~--~~~-------------
             RESPONDING PARTY:               DEFENDANTS
        26
             SET NO.                         ONE
        27

        28
                                                                DEFENDANTS' OBJECTIONS AND RESPONSES
                                                                     TO FTC'S FIRST SET OF REQUESTS FOR
                                                                            PRODUCTION OF DOCUMENTS
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                                        #:2201


           1          Pursuant to Rules 34 of the Federal Rules of Civil Procedure, Defendants EDebitPay LLC

           2 ("EDP"), Dale Paul Cleveland ("Cleveland"), and William Richard Wilson ("Wilson")

           3 (collectively "Defendants") hereby object and respond to the Federal Trade Commission's First

           4 Set of Requests for Production of Documents (the "Requests for Production") as follows:

           5                           GENERAL OBJECTIONS AND DEFINITIONS
           6
                      The following General Objections apply to and are incorporated in each individual
           7
               response herein, whether or not expressly incorporated by reference in such response.
           8
                       1.     Defendants object to each Request for Production to the extent it calls for or could
           9
               be construed to call for the production of documents or information which is privileged from
          10
               disclosure under the attomey-client privilege, attomey work product, or related doctrines or
          11
               privileges, including those under applicable state law. Defendants object to identifying any
          12
               privileged or work product documents that were created on or after the filing date of this contempt
          13
               action because, among other reasons, it would be overly and unduly burdensome. Inadvelient
          14
               production of any privileged document otherwise immune from discovery shall not be deemed a
          15
               waiver of any applicable privilege or work product protection.
          16
                      2.      Defendants object to each Request for Production to the extent it calls for or could
          17
               be construed to call for the production of information containing trade secrets, proprietary or
          18
               confidential commercial or financial information, or infoTInation that invades or implicates the
          19
               privacy rights of nonpmiies to this litigation, such as individual consumers andlor infonnation that
          20
               allows for the identification of such individuals (i.e., personal identifiable infonnation).
          21
               Defendants will produce such infonnation upon entry of a mutually agreeable Protective Order.
          22
                      3.      Defendants object to each Request for Production on the grounds that it calls for
          23
               the production of documents or infol1nation that: (a) is obtainable fi'om some other source that is
          24
               morc convenient, less burdensome, or less expensive andlor (b) is already in the FTC's possession,
--------~2§II------------------------------------------------------------------1
               custody, or control, such as documents produced in connection with Defendants' Opposition to the
          26
               FTC's Contempt Application. Documents previously produced will not be produced again.
          27

          28
                                                                            DEFENDANTS' OBJECTIONS AND RESPONSES
               LA2066192.6                                                       TO FTC'S FIRST SET OF REQUESTS FOR
               211465-10001                                                             PRODUCTION OF DOCUMENTS
         Case 2:07-cv-04880-ODW-AJW Document 75-13 Filed 10/06/10 Page 86 of 144 Page ID
                                           #:2202


                 1          4.      Defendants object to each Request for Production on the grounds that it imposes an

                 2 undue burden or expense upon Defendants, and imposes upon Defendants obligations greater than

                 3 those authorized by the Federal Rules of Civil Procedure and the Local Civil Rules of this District.

                4 The responses and objections herein are made in accordance with the Federal Rules of Civil

                 5 Procedure and the Local Rules only.

                 6          5.      Defendants object to each Request for Production on the grounds that it seeks

                 7 infonnation that is not relevant, material, orreasonably calculated to lead to the discovery of

                 8 relevant, material, or admissible evidence.

                 9          6.      Defendants object to each Request for Production, and specifically to the time

               10 period set forth in the "Instructions" in paragraph A, on the grounds that the definition of the time

               11    period as extending "through the conclusion of the Contempt Hearing in this case" is overbroad,

               12 unduly burdensome, unreasonable, oppressive, and premature. Defendants will provide

               13 documents as of July 31, 2010, unless expressly noted otherwise.

               14           7.      Defendants object to each Request for Production to the extent it seeks infonnation

               15    that is outside of Defendants' knowledge, possession, custody and/or control.

               16           8.      Defendants object to the Requests for Production to the extent that they call for the

               17 production of electronically stored infonnation that is not reasonably accessible.

               18           9.      Defenda.nts object to the Requests for Production to the extent that they purport to

               19 seek infonnation or documents conceruing Defendants' business activities that are not part of this

               20 contempt proceeding on the grounds that such infom1ation is neither relevant to this action nor

               21    reasonably calculated to lead to the discovery ofrelevant, material or admissible evidence.

               22           10.     Defenda.nts' responses and objections made herein are not intended to be and shall

               23    not be deemed an admission of the matters stated, implied or assumed in or by any or all of the

               24 Requests for Production. Defendants' responses made herein, and the documents produced

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               26 relevancy, materiality, privilege, or admissibility of any of the Requests for Production, responses,

               27 docnments or things, or the content or subject matter of any of them.

               28

                                                                                 DEFENDANTS' OBJECTIONS AND RESPONSES
                     LA2066192.6                                      2               TO FTC'S FIRST SET OF REQUESTS FOR
                     211465-10001                                                            PRODUCTION OF DOCUMENTS
         Case 2:07-cv-04880-ODW-AJW Document 75-13 Filed 10/06/10 Page 87 of 144 Page ID
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                1          11.     Responsive documents will be produced at a mutually agreeable time and place

                2 upon entry of an appropriate protective order regarding confidentiality.

                3          12.     Defendants reserve the right to amend, correct, supplement and/or modify any and

                4 all of their Responses herein, ifin the course oftl1is proceeding, they become aware ofinfonnation

                5 and/or documents that are responsive to me Requests for Production, but that were not known or

                6 available at the time these Responses were made.

                7          13.     A response to any Request for Production stating that responsive documents will be

                8 produced is not an admission that responsive information or documents, in fact, exist.

                9          14.     A response to any Request for Production that states that responsive documents

               10 will be produced means either mat physical copies of documents will be provided to the FTC by

               11   Defendants or that physical copies of documents will be made available for inspection and

               12   copying by the FTC.

               13          15.     Defendants object to the "Instructions" in paragraph B on the grounds that the

               14 meaning of "you" and "your" is overbroad, unduly burdensome, unreasonable and oppressive with

                IS respect to its inclusion of infonnation and documents from "any entity that is controlled by any [of

                16 the Defendants], individually or collectively." Defendants expressly disavow any obligation to

               17 respond to the Requests for Production beyond those posed under the Federal Rules of Civil

               18 Procedure, and Defendants will not undcliake to respond on behalf of any person or entity other

               19 than Defendants themselves.

               20          16.     Defendants object to the "Instructions" in paragraph C on the grounds that the

               21   demanded information is overbroad, unduly burdensome, unreasonable and oppressive with

               22 respect to its inclusion of information in the "possession, custody, or control of .,. consultants ...

               23 independent contractors ... or otl1er representatives of you, and any companies for which you have

               24 access to documents or infonnation related to these requests for production." Defendants

_ _ _ _ _ _ ~ -"xpressJ;y~isay~anY---'lbligatiOlLlO-LeSpolld-t()-the-Requests~fQl=-~roQUGtioll-lJgy011Q-tl'1ose-posed----

               26 under the Federal Rules of Civil Procedure, and Defendants will not undertake to respond on

               27 behalf of any person or entity other than Defendants themselves.

               28

                                                                                DEFENDANTS' OBJECTIONS AND RESPONSES
                    LA2066192.6                                       3              TO rYC'S FfRST SET OF REQUESTS FOR
                    211465-10001                                                            PRODUCTION OF DOCUMENTS
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                       17,     Defendants object to the "Instructions" in paragraph D on the grounds that the

            2 demanded procedure is unduly burdensome, unreasonable and oppressive, Defendants will

            3 produce records as they are kept in the ordinary course of business and have no obligation under

            4 the Federal Rules of Civil Procedure to "indicate, for each document submitted, each specification

            5 to which the document is responsive," whatever that phrase may mean, or to provide the other

            6 infol111ation demanded, Moreover, this "instmction" is in direct conflict with the FTC's

            7 "Instructions" in paragraph F, which specifically contemplate that Defendants may produce

            8 documents "as they are kept" Defendants also object to the extent the FTC is requesting the

            9 production of documents already produced to the FTC, Documents previously produced will not

           10 be produced agaiu,

           11

           12                         RESPONSES TO REQUEST FOR PRODUCTION

           13          Each of the foregoing General Objections is incorporated into each ofthe Responses set

           14 forth below, Subject to and without waiving such objections, Defendants respond as follows:

           15

           16 REQUEST FOR PRODUCTION NO, 1:

           17          I.      Produce all non-identical versions of marketing, including creatives, for the

           18 following:

           19                  a.     Stalier Credit Direct

           20                  b.     Century Platinum shopping club

           21                  c.     USA Benefits/USA shopping club

           22                  d.     E-Elite Plus shopping club

           23                  e.     ePlatinum+ shopping club

           24                  f.     Any other shopping club

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           26          Subject to and without waiver of the foregoing General Objections, each of which is

           27   expressly incorporated herein, Defendants further object to Request for Production No. I on the

           28   following grounds: First, the request is overbroad, unduly burdensome and unreasonable, and

                                                                           DEFENDANTS' OBJECTIONS AND RESPONSES
                LA2066192.6                                      4              TO FTC'S FIRST SET OF REQUESTS FOR
                211465-10001                                                           PRODUCTION OF DOCUMENTS
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                                      #:2205


         1 seeks documents that are neither relevant to the claims against Defendants in the contempt

         2 proceeding nor reasonably calculated to lead to the discovery of admissible evidence.

         3 Specifically, the request seeks documents concerning the marketing of shopping clubs other than

         4 EDP's marketing of the Century Platinum shopping catalog product on the startercreditdirect.com

         5 website (subparts a and b). See subparts c-f. The FTC's contempt application, however, was

         6 solely directed at EDP's marketing of the Century Platinum shopping catalog product on the

         7 startercreditdirect.com website. Accordingly, documents concerning other shopping catalog clubs

         8 that EDP may have advertised are irrelevant and beyond the scope of this contempt proceeding.

         9 Second, Defendants object to this request to the extent that it is duplicative of discovery obtained

        10 by Plaintiff from Defendants prior to the filing of its Application for an Order to Show Cause Why

        11   Defendants Should Not Be Held in Contempt and in response to the FTC's July 23, 2009 request

        12 for infonnation and documents to monitor Defendants' compliance with the Final Order. Third,

        13 the request is obj ectionable on the grounds that it is vague and ambiguous to the extent that it

        14 implies that there were unique or separate shopping catalog clubs called Starter Credit Direct, E-

        IS   Elite Plus, or ePlatinum. Fomth, the phrase "Starter Credit Direct" is vague and ambiguous.

        16 Defendants understand the phrase "Starter Credit Direct" to mean EDP's startercreditdirect.com

        17 website, and specifically in connection with the Century Platinum shopping catalog product.

        18          Subject to and without waiver of any of the foregoing General Objections and the

        19 foregoing specific objections, Defendants will produce non-privileged, responsive documents in

        20 their possession, custody and control responsive to subparts (a) and (b) showing the

        21   startercreditdirect.com creatives that were marketed to consumers, live on the internet, and capable

        22 of accepting applications for the Century Platinum shopping catalog product. Documents that

        23   Defendants consider confidential will be produced following the execution by the parties to the

        24 litigation and the entry by the Comi of a suitable stipulation and protective order limiting the

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        26 REQUEST FOR PRODUCTION NO.2:

        27          For each of the programs or products listed in Request 1, produce all non-identical tenns

        28   and conditions.

                                                                         DEFENDANTS' OBJECTIONS AND RESPONSES
             LA2066192.6                                      5               TO FTC'S FIRST SET OF REQUESTS FOR
             211465-10001                                                            PRODUCTION OF DOCUMENTS
    Case 2:07-cv-04880-ODW-AJW Document 75-13 Filed 10/06/10 Page 90 of 144 Page ID
                                      #:2206



         1 RESPONSE TO REQUEST FOR PRODUCTION NO.2:

         2          Subject to and without waiver ofthe foregoing General Objections, each of which is

         3 expressly incorporated herein, Defendants further object to Request for Production No.2 on the

         4 following grounds: First, the request is overbroad, unduly burdensome and unreasonable, and

         5 seeks documents that are neither relevant to the claims against Defendants in the contempt

         6 proceeding nor reasonably calculated to lead to the discovery of admissible evidence.

         7 Specifically, the request seeks documents concerning the terms and conditions of shopping clubs

         8 other than the Century Platinum shopping catalog product marketed on the startercreditdirect.com

         9 website (subparts a and b of Request for Production No.1). See subparts c-f. The FTC's

        10 contempt application, however, was solely directed at EDP's marketing of the Century Platinum

        11 shopping catalog product on the staliercreditdirect.com website. Accordingly, documents

        12 concerning other shopping catalog clubs that EDP may have advertised are irrelevant and beyond

        13 the scope of this contempt proceeding. Second, Defendants object to this request to the extent that

        14 it is duplicative of discovery obtained by Plaintiff from Defendants prior to the filing of its

        15 Application for an Order to Show Cause Why Defendants Should Not Be Held in Contempt and in

        16 response to the FTC's July 23,2009 request for information and documents to monitor

        17 Defendants' compliance with the Final Order. Third, the request is objectionable on the grounds

        18 that it is vague and ambiguous to the extent that it implies that there were shopping catalo g clubs

        19 called Statier Credit Direct, E-Elite Plus, or ePlatinum with unique and separate terms and

        20 conditions. Fourth, the phrase "Starter Credit Direct" is vague and mnbiguous. Defendants

        21 understand the phrase "Starter Credit Direct" to mean EDP's startercreditdirect.com website, and

        22 specifically in connection with the Century Platinum shopping catalog product.

        23          Subject to and without waiver of any of the foregoing General Objections and the

        24 foregoing specific objections, Defendants will produce non-privileged, responsive documents in

------~~-    -thei1-possessiun;-custody-and-cmrtrol relateenofhe markefing onl1eCentury Platinum shopping

        26 catalog product on the startercreditdirect.com website. Documents that Defendants consider

        27 confidential will be produced following the execution by the pmiies to the litigation and the entry

        28

                                                                         DEFENDANTS' OBJECTIONS AND RESPONSES
             LA2066192.6                                      6               TO FTC'S FIRST SET OF REQUESTS FOR
             211465-10001                                                            PRODUCTION OF DOCUMENTS
          Case 2:07-cv-04880-ODW-AJW Document 75-13 Filed 10/06/10 Page 91 of 144 Page ID
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                 I by the Court of a suitable stipulation and protective order limiting the dissemination of those

                 2 documents.

                 3 REQUEST FOR PRODUCTION NO.3:

                 4          Produce all websites from which consumers were transferred (inclnding through "exit

                 5 pops" as described by Wilson in his November 17, 2009 deposition at 92-93,103-06) to websites

                 6 marketing any of the progran1s or products listed in Request 1.

                 7 RESPONSE TO REQUEST FOR PRODUCTION NO.3:

                 8          Subject to and without waiver of the foregoing General Objections, each of which is

                 9 expressly incorporated herein, Defendants further object to Request for Production No.3 on the

                10 following grounds: First, the request is overbroad, unduly burdensome and unreasonable, and

                II   seeks documents that are neither relevant to the claims against Defendants in the contempt

                12 proceeding nor reasonably calculated to lead to the discovery of admissible evidence.

                13 Specifically, the request seeks documents related to the marketing of shopping clubs other than

                14 EDP's marketing of the Century Platinum shopping catalog product on the startercreditdirect.com

                15 website (subparts a and b of Request for Production No. 1). See subpmts c-f. The FTC's

                16 contempt application, however, was solely directed at EDP's marketing of the Century Platinum

                17 shopping catalog product on the startercreditdirect.com website. Accordingly, documents

                18 concerning other shopping catalog clubs that EDP may have advertised are iTI'elevant and beyond

                19 the scope of this contempt proceeding. Also, the contempt application filed by the FTC does not

                20 concern the manner in which consumers were "transferred" to the startercreditdirect.com website

                21   or "exit pops." Not only was this issue not raised by the FTC in its contempt application, but

                22 nowhere in the Final Order is this issue even referenced. Nor was it discussed during settlement

                23 negotiations or during the FTC's vetting of Defendants' advertising post-Final Order. Second,

                24 Defendmlts object to this request to the extent that it is duplicative of discovery obtained by

- - - - - - 2 5 - -PlajntiJHrom~Befendants-prioT-to-tlTe-filing-uf-its7'l:ppli-catiulTforaIcerd"rtu3lmweauseWII~1y.,-----

                26 Defendants Should Not Be; Held in Contempt and in response to the FTC's July 23, 2009 request

                27 for infonnation and documents to monitor Defend8l1ts' compliance with the Final Order. Third,

                28 the reqnest is objectionable on the grounds that it is vague and ambiguous to the extent that it

                                                                                DEFENDANTS' OBJECTIONS AND RESPONSES
                     LA2066192.6                                      7              TO FTC'S FIRST SET OF REQUESTS FOR
                     211465-10001                                                           PRODUCTION OF DOCUMENTS
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                                           #:2208


                1 implies that there were unique or separate shopping catalog clubs called Starter Credit Direct, E-

                2 Elite Plus, or ePlatinum. Fourth, the phrase "Stmier Credit Direct" is vague and ambiguous.

                3 Defendants understand the phrase "Starter Credit Direct" to mean EDP's startercreditdirect.com

                4 website, mld specifically in connection with the Century Platinum shopping catalog product.

                5 Fifth, Defendants object to this request to the extent it seeks documents or information known

                6 only by third pmiies.

                7 REQUEST FOR PRODUCTION NO.4:

                8          For each of the programs or products listed in Request 1, produce all complaints, requests

                9 for refunds, aI1d reqnests for credits.

               10 RESPONSE TO REQUEST FOR PRODUCTION NO.4:

               11          Subject to and without waiver of the foregoing General Objections, each of which is

               12 expressly incorporated herein, Defendmlts fmiher object to Request for Prodnction No.4 on the

               13 following grounds: First, the request is overbroad, unduly burdensome and unreasonable, aI1d

               14 seeks documents that are neither relevant to the claims against Defendants in the contempt

               IS proceeding nor reasonably calculated to lead to the discovery of admissible evidence.

               16 Specifically, the request seeks documents related to complaints regarding shopping clubs other

               17 than the Century Platinum shopping catalog product marketed on the startercreditdirect.com

               18 website (subparts a and b of Request for Production No.1). See subpmis c-f. The FTC's

               19 contempt application, however, was solely directed at EDP's marketing of the Century Platinum

               20 shopping catalog product on the startercreditdirect.com website. Accordingly, documents

               21   concerning other shopping catalog clubs that EDP may have advertised are irrelevant and beyond

               22 the scope of this contempt proceeding. Second, Defendants object to this request to the extent that

               23 it is duplicative of discovery obtained by Plaintiff from Defendants prior to the filing of its

               24 Application for an Order to Show Cause Why Dcfendmlts Should Not Be Held in Contempt mld in

--------z2§ -respoDse-tEl-thecFFG's-Ju-ly-2-3,2009-request-for-inforrnatiUlT1!ITd-ducuments       [0   monitor

               26 Defendants' compliance with the Final Order. Third, the request is objectionable on the grounds

               27 that it is vague mld ambiguous to the extent that it implies that there were unique or separate

               28 shopping catalog clubs called Starter Credit Direct, E-Elite Plus, or ePlatinum. Fourth, the plu-ase

                                                                                DEPENDANTS' OBJECTIONS AND RESPONSES
                    LA2066192.6                                       8              TO FTC'S FIRST SET OF REQUESTS FOR
                    211465-10001                                                            PRODUCTION OF DOCUMENTS
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               1 "Stillier Credit Direct" is vague and ambiguous. Defendants understand tbe phrase "Starter Credit

               2 Direct" to mean EDP's stilliercreditdirect.com website, and specifically in connection with the

               3 Century Platinum shopping catalog product.

               4          Subject to and without waiver of any ofthe foregoing General Objections and the

               5 foregoing specific objections, Defendants will produce non-privileged, responsive documents in

               6 their possession, custody and control related to the marketing of the Century Platinum shopping

               7 catalog product on the stilliercreditdirect.com website. Documents that Defendants consider

               8 confidential will be produced following the execution by the pilliies to the litigation illld the entry

               9 by the Court of a suitable stipulation and protective order limiting the dissemination of those

              10 documents.

              11 REQUEST FOR PRODUCTION NO.5:

              12          Produce documents sufficient to show the number of consumers who applied (from a

              13 website or other marketing by or on behalf of Defendants) for each of the progrilllls or products

              14 listed in Request l.

              15 RESPONSE TO REQUEST FOR PRODUCTION NO.5:

              16          Subject to and witbout waiver of the foregoing General Objections, each of which is

              17 expressly incorporated herein, Defendants fmiher object to Request for Production No.5 on the

              18 following grounds: First, the request is overbroad, unduly burdensome and unreasonable, illld

              19 seeks documents that are neither relevant to the claims against Defendants in the contempt

              20 proceeding nor reasonably calculated to lead to the discovery of admissible evidence.

              21   Specifically, the request seeks documents related to applications for shopping clubs other than the

              22 Century P1atinmll shopping catalog product marketed on the stilliercreditdirect.com website

              23   (subpillis a and b of Request for Production No.1). See subparts c-f. The FTC's contempt

              24 application, however, was solely directed at EDP's marketing of the Century Platinum shopping

-----~2§- -Gata10g-pfE)auGt-0ll-i'he-stafleri7red:itdirect~com-website~kccordingly;-docanIents        concerning ollier    -

              26 shopping catalog clubs that EDP may have adveliised are irrelevant and beyond the scope ofthis

              27 contempt proceeding. Second, Defendants object to this request to the extent that it is duplicative

              28 of discovery obtained by Plaintiff from Defendants prior to the filing of its Application for an

                                                                                DEFENDANTS' OBJECTIONS AND RESPONSES
                   LA2066192.6                                       9               TO FTC'S FIRST SET OF REQUESTS FOR
                   211465·10001                                                             PRODUCTION OF DOCUMENTS
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           1 Order to Show Cause Why Defendants Should Not Be Held in Contempt and in response to the

           2 FTC's July 23,2009 request for infOimation and documents to monitor Defendants' compliance

           3 with the Final Order. Third, the request is objectionable on the grounds that it is vague and

           4 ambiguous to the extent that it implies that there were unique or separate shopping catalo g clubs

           5 called Starter Credit Direct, E-Elite Plus, or ePlatinum. Fourth, the request is vague and

           6 ambiguous with respect to the phrases "documents sufficient to show" and "applied for" because

           7 not all consumers who apply for a shopping club actually pay for or gain membership. Defendants

           8 interpret "applied for" to mean consumers who filled out and submitted an online application for

           9 the Century Platinum shopping catalog club on EDP's startercreditdirect.com website, regardless

          10 of whether EDP collected the $99 application fee. Fifth, this request is duplicative of

          11   Interrogatory No. 6(a), which requests the total number of consumers who "applied for" the

          12 Century Platinum shopping catalog club on the stmtercreditdirect.com website from January 22,

          13 2008 to July 31,2010. Defendants have already provided a substantive response to Interrogatory

          14 No.6(a). Sixth, to the extent the FTC is requesting the production of each application, the request

          15 is umeasonable, unduly burdensome and harassing, as there were over 22,000 applications

          16 submitted during this time period.

          17          SUbject to and without waiver of any ofthe foregoing General Objections mld the

          18 foregoing specific objections, Defendants will produce non-privileged, responsive documents, if

          19 any, in their possession, custody' and control related to the marketing ofthe Century Platinum

          20 shopping catalog product on the startercreditdirect.com website. Documents that Defendants

          21   consider confidential will be produced following the execution by the parties to the litigation and

          22 the entry by the Court of a suitable stipulation mld protective order limiting the dissemination of

          23 those documents.

          24 REQUEST          I~OR   PRODUCTION NO.6:

--------6;23          PmEiuee-doeuments-llu-fficient-('O-show-the,mIDuntofrevenue you received hom marketing

          26 the programs or prod~lcts listed in Request 1.

          27

          28

                                                                           DEFENDANTS' OBJECTIONS AND RESPONSES
               LA2066192.6                                      10              TO FTC'S FIRST SET OF REQUESTS FOR
               211465-10001                                                             PRODUCTION OF DOCUMENTS
       Case 2:07-cv-04880-ODW-AJW Document 75-13 Filed 10/06/10 Page 95 of 144 Page ID
                                         #:2211



             1 RESPONSE TO REOUEST FOR PRODUCTION NO.6:

             2          Subject to and without waiver of the foregoing General Objections, each of which is

             3 expressly incorporated herein, Defendants further object to Request for Production No, 6 on the

             4 following grounds: First, the request is overbroad, unduly burdensome and unreasonable, and

             5 seeks documents that are neither relevant to the claims against Defendants in the contempt

             6 proceeding nor reasonably calculated to lead to the discovery of admissible evidence,

             7 Specifically, the request seeks documents related to revenues from shopping clubs other than the

             8 Century Platinum shopping catalog product marketed on the startercreditdirect.com website

             9 (subpalis a al1d b of Request for Production No, I), See subpmis c-f. The FTC's contempt

            10 application, however, was solely directed at EDP's marketing of the Century Platinum shopping

            I I catalog product on the stmercreditdirect.com website, Accordingly, documents concerning other

            12 shopping catalog clubs that EDP may have advertised are irrelevant and beyond the scope of this

            13 contempt proceeding, Second, Defendants object to this request to the extent that it is duplicative

            14 of discovery obtained by Plaintiff from Defendants prior to the filing of its Application for an

            15 Order to Show Cause Why Defendants Should Not Be Held il:t Contempt and in response to the

            16 FTC's July 23,2009 request for infon11ation and doclU11ents to monitor Defendants' compliancc

            17 with the Final Order. Third, the request is objectionable on the grounds that it is vague and

            18 ambiguous to the extent that it implies that there were unique or separate shopping catalog clubs

            19 called Starter Credit Direct, E-Elite Plus, or ePlatinum, Fourth, the request is vague and

            20 al11biguous with respect to the phrases "documents sufficient to show" and "amount of revenue,"

            21   which is undefined and can be taken to refer to gross revenue or net revenue. Fifth, this request is

            22 duplicative ofInterrogatory No, 6(c), which requests the total amount of revenue received by EDP

            23 for the Century Platinum shopping catalog club on the startercreditdirect.com website from

            24 January 22,2008 to July 31, 2010, Defendants have already provided a substantive response to
- - - - - 2 5 - -Interrogatory-ND~IT(';)'-'- - - - - - - - - - - - - - - - - - - - - - - - - - 1

            26          Subject to and without waiver of al1y ofthe foregoing General Objections and the

            27 foregoing specific objections, Defendants will produce non-privileged, responsive documents, if

            28 any, in their possession, custody and control related to the marketing of the Century Platinum

                                                                             DEFENDANTS' OBJECTIONS AND RESPONSES
                 LA2066192,6                                      11              TO FTC'S FIRST SET OF REQUESTS FOR
                 211465-1000 1                                                           PRODUCTION OF DOCUMENTS
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               I   shopping catalog product on the startercreditdirect.com website. Documents that Defendants

               2 consider confidential will be produced following the execution by the parties to the litigation and

               3 the entry by the Court of a suitable stipulation and protective order limiting the dissemination of

               4 those documents.

               5 REQUEST FOR PRODUCTION NO.7:

               6          Produce documents sufficient to show the amount of fees charged to consumers who

               7 applied (from a website or other marketing by or on behalf of Defendants) for each of the

               8 programs or products listed in Request I.

               9 RESPONSE TO REQUEST FOR PRODUCTION NO.7:

              10          Subject to and without waiver of the foregoing General Objections, each of which is

              II   expressly incorporated herein, Defendants fUliher object to Request for Production No.7 on the

              12 following grounds: First, the request is overbroad, unduly burdensome and unreasonable, and

              13 seeks doclll1ents that are neither relevant to the claims against Defendants in the contempt

              14 proceeding nor reasonably calculated to lead to the discovery of admissible evidence.

              15 Specifically, the request seeks documents related to the amount of fees charged by EDP for

              16 shopping clubs other than the Century Platinum shopping catalog product marketed on the

              17 statiercreditdirect.com website (subparts a and b of Request for Production No.1). See subpatis c-

              18 f. The FTC's contempt application, however, was solely directed at EDP's marketing of the

              19 Centnry Platinum shopping catalog product on the startercreditdirect.com website. Accordingly,

              20 documents concerning other shopping catalog clubs that EDP may have advertised are irrelevat1t

              21   and beyond the scope of this contempt proceeding. Second, Defendat1ts object to this request to

              22 the extent that it is duplicative of discovery obtained by Plaintiff from Defendants prior to the

              23 filing of its Application for an Order to Show Cause Why Defendants Should Not Be Held in

              24 Contempt and in response to the FTC's July 23,2009 request for information and documents to

------cz25- -monitor-Befend1ll1ts'--cDTTI]Jliance wiflnne FmanJrder. Tllird, the request is objectionable on the

              26 grounds that it is vague and ambiguous to the extent that it implies that there were unique or

              27 separate shopping catalog clubs called Starter Credit Direct, E-Elite Plus, or ePlatinum. Fourth,

              28 the request is vague and ambiguous with respect to the phrases "documents sufficient to show"

                                                                              DEFENDANTS' OBJECTIONS AND RESPONSES
                   LA2066192 .6                                     12             TO FTC'S FIRST SET OF REQUESTS FOR
                   211465-10001                                                           PRODUCTION OF DOCUMENTS
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             and "applied for" because not all consumers who apply for a shopping club actually pay for or

         2 gain membership. "Applied for" would mean consumers who filled out and submitted an online

         3 application for the Century Platinum shopping catalog club on EDP's startercreditdirect.com

         4 website, regardless of whether EDP collected the $99 application fee. Defendants therefore

         5 interpret this request to mean the amount of fees EDP collected from staliercreditdirect.com

         6 applications. FOUlih, the telm "fees" is also vague and ambiguous because it could be interpreted

         7 to include revenues, making this request duplicative of Request No.6. Fifth, this request is

         8 duplicative ofIntelTogatory No. 6(b), which requests the total amount consumers were charged by

         9 EDP along with any refunds, credits or chargebacks. Defendants have already provided a

        10 substantive response to IntelTogatory No. 6(b).

        II           Subject to and without waiver of any ofthe foregoing General Objections and the

        12 foregoing specific objections, Defendants will produce non-privileged, responsive docLmlents, if

        13 any, in their possession, custody and control related to the marketing of the Century Platinum

        14 shopping catalog product on the stmiercreditdirect.com website. Documents that Defendants

        15 consider confidential will be produced following the execution by the parties to the litigation and

        16 the entry by the Court of a suitable stipUlation and protective order limiting the dissemination of

        17 those documents.

        18 REQUEST FOR PRODUCTION NO.8:

        19           Produce all documents concerning proposed or actual changes to marketing for Starter

        20 Credit Direct.

        21   RESPONSE TO REQUEST FOR PRODUCTION NO.8:

        22           Subject to and without waiver of the foregoing General Objections, each of which is

        23 expressly incorporated herein, Defendants further obj ect to Request for Production No.8 on the

        24 following grounds: First, the request is overbroad, unduly burdensome and unreasonable, to the

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        26 "proposed" changes, by definition, were not marketed to consumers, and are therefore neither

        27 relevant to the claims against Defendants in the contempt proceeding nor reasonably calculated to

        28 lead to the discovery of admissible evidence. Second, Defendants object to this request to the

                                                                        DEFENDANTS' OBJECTIONS AND RESPONSES
             LA2066192.6                                      13             TO FTC'S FIRST SET OF REQUESTS FOR
             211465-10001                                                           PRODUCTION OF DOCUMENTS
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                 1 extent that it is duplicative of discovery obtained by Plaintifffrom Defendants prior to the filing of
                 2 its Application for an Order to Show Cause Why Defendants Should Not Be Held in Contempt

                 3 and in response to the FTC's July 23,2009 request for infOlmation and documents to monitor

                 4 Defendants' compliance with the Final Order. Third, the phrase "Starter Credit Direct" is vague

                 5 and ambiguous. Defendants understand the phrase "Starter Credit Direct" to mean EDP's

                 6 startercreditdirect.com website, and specifically in connection with the Century Platinum shopping

                 7 catalog product.
                 8          Subject to and without waiver of any of the foregoing General Objections and the

                 9 foregoing specific objections, Defendmlts will produce non-privileged, responsive documents in

                10 their possession, custody mld control. Documents that Defendants consider confidential will be
                11 produced following the execution by the parties to the litigation and the entry by the Court of a

                12 suitable stipulation and protective order limiting the dissemination of those documents.
                13 REQUEST FOR PRODUCTION NO.9:

                14          Produce all documents constituting or concerning communications between you ill1d the

                15 Receiver regarding Stm·ter Credit Direct since the date of the Complaint.
                16 RESPONSE TO REQUEST FOR PRODUCTION NO.9:

                17          Subject to and without waiver of the foregoing General Objections, each of which is
                18 expressly incorporated herein, Defendants fnrther object to Request for Production No.9 on the

                19 following grounds: First, Defendmlts object to the request to the extent that it seeks documents'
               20 previously produced to Plaintiff in connection with this contempt proceeding. Second, the phrase

               21 "Starter Credit Direct" is vague and ambiguous. Defendants understand the phrase "Starter Credit
               22 Direct" to mean EDP' s startercreditdirect.com website, and specifically in connection with the

               23 Century Platinum shopping catalog product. Third, Defendants object to the extent the request

               24 calls for documents protected by the attorney-client privilege and/or work product protection.
- - - - - - 2 y - -F-ourth;-13efendants-objectt(rthis-RlOqnest-to-the-extent-itTalls-fonlucul1Tents-i1Tthe-P-le'c's~---

               26 possession, custody or control.

               27

               28

                                                                               DEFENDANTS' OBJECTIONS AND RESPONSES
                     LA2066192.6                                     14             TO FTC'S FIRST SET OF REQUESTS FOR
                     211465-10001                                                          PRODUCTION OF DOCUMENTS
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         1          Subject to and without waiver of any ofthe foregoing General Objections and the

         2 foregoing specific objections, Defendants will produce non-privileged, responsive documents in

         3 their possession, custody and control.

         4 REQUEST FOR PRODUCTION NO. 10:

         5          Produce all documents constituting or conceming communications between you and the

         6 FTC regarding Starter Credit Direct since the date of the Complaint.
         7 RESPONSE TO REOUEST FOR PRODUCTION NO. 10:

         8          Subject to and without waiver of the foregoing General Objections, each of which is

         9 expressly incorporated herein, Defendants further object to Request for Production No.9 on the

        10 following grounds: First, Defendants object to the request to the extent that it seeks documents

        11 previously produced to Plaintiff in connection with this contempt proceeding. Second, the phrase

        12 "Starter Credit Direct" is vague and ambiguous. Defendants understand the phrase "Starter Credit

        13 Direct" to mean EDP's startercreditdirect.com website, and specifically in connection with the

        14 Century Platinum shopping catalog product. Third, Defendants object to the extent the request

        15 calls for documents protected by the attorney-client privilege and/or work product protection.

        16 Fourth, Defendants object on the basis that this request calls for documents in the FTC's

        17 possession, custody or control. Fifth, Defendants object to this request to the extent that it is

        18 duplicative of discovery obtained by Plaintiff from Defendants prior to the filing of its Application

        19 for an Order to Show Cause Why Defendants Should Not Be Held in Contempt and in response to

        20 the FTC's July 23,2009 request for information and documents to monitor Defendants'

        21 compliance with the Final Order. SUbject to and without waiver of any of the foregoing General

        22 Objections and the foregoing specific objections, Defendants will produce non-privileged,

        23 responsive documents in their possession, custody and control up to and including July 22,2009.

        24 REQUEST FOR PRODUCTION NO. 11:

------:2~           If-ycltl-ccmtemHhat-yonr-marketing-oHhe-eentnry-Platinll11rslmppin-g-club-cIBwlyand,-·--1

        26 conspicuously (as defined in the Order) disclosed the material attributes ofthc product or service

        27 offered or marketed, produce al1 docnments that support your contention.

        28

                                                                         DEFENDANTS' OBJECTIONS AND RESPONSES
             LA2066192.6                                      15              TO FTC'S FIRST SET OF REQUESTS FOR
             211465-10001                                                            PRODUCTION OF DOCUMENTS
   Case 2:07-cv-04880-ODW-AJW Document 75-13 Filed 10/06/10 Page 100 of 144 Page ID
                                      #:2216



         1 RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

         2          Subject to and without waiver of the foregoing General Objections, each of which is

         3 expressly incorporated herein, Defendants fmiher object to Request for Production No. 11 on the

         4 following grounds: First, the request is overbroad, unduly burdensome and unreasonable, to the

         5 extent it requests documents that are neither relevant to the claims against Defendants in this

         6 contempt proceeding nor reasonably calculated to lead to the discovery of admissible evidence.

         7 Specifically, to the extent the request seeks documents about marketing of the Century Platinum

         8 shopping catalog product through websites other than startercreditdirect.com, it requests

         9 infolTI1ation outside of the scope of this contempt proceeding. The FTC's contempt application

        10   was solely directed at EDP's marketing of the Century Platinum shopping catalog product on the

        11   startercreditdirect.com website. Second, Defendants object to the request to the extent that it is

        12 duplicative of discovery obtained by Plaintifffrom Defendants prior to the filing of its Application

        13 for an Order to Show Cause Why Defendauts Should Not Be Held in Contempt and in response to

        14 the FTC's July 23, 2009 request for infonnation and documents to monitor Defendants'

        15 compliance with tile Final Order. Third, Defendants object to this request to the extent that it

        16 seeks documents previously disclosed to Plaintiff in connection with this contempt proceeding.

        17          SUbject to and without waiver of any ofthe foregoing General Objections and the

        18   foregoing specific obj ections, Defendants will produce non-privileged, responsive documents in

        19 their possession, custody and control related to the marketing of the Century Platinum shopping

        20 catalog prodnct on the startercreditdirect.com website. Documents that Defendants consider

        21   confidential will be produced following the execution by the parties to the litigation and the entry

        22 by the Court of a suitable stipUlation and protective order limiting the dissemination of those

        23   documents.

        24 REQUEST FOR PRODUCTION NO. 12:

------35            If-Y011-CClI1tenci-thalyotrsubstantially-complj-e-d-witlrtlwiJrder, produce all aocuments   tJ~-

        26   support your contention.

        27
        28

                                                                         DEFENDANTS' OBJECTIONS AND RESPONSES
             LA2066192.6                                      16              TO FTC'S FIRST SET OF REQUESTS FOR
             211465-10001                                                            PRODUCTION OF DOCUMENTS
   Case 2:07-cv-04880-ODW-AJW Document 75-13 Filed 10/06/10 Page 101 of 144 Page ID
                                      #:2217


         1 RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

         2          Subject to and without waiver ofthe foregoing General Objections, each of which is

         3 expressly incorporated herein, Defendants fmiher object to Request for Production No. 12 on the

         4 following grounds: First, the request is overbroad, unduly burdensome and unreasonable, to the

         5 extent that it seeks documents that are neither relevant to the claims against Defendants in this

         6 contempt proceeding nor reasonably calculated to lead to the discovery of admissible evidence.

         7 For example, there are many requirements of the Final Order as to which there has been no claim

         8 of contempt made by the FTC. Second, the request is overbroad, unduly burdensome and

         9 unreasonable to the extent the request can be read to cal! for every single document related to

        10 Defendants' business and marketing. Third, Defendants object to this request to the extent that it

        11 is duplicative of discovery obtained by Plaintiff from Defendants prior to the filing of its

        12 Application for an Order to Show Cause Why Defendants Should Not Be Held in Contempt and in

        13 response to the FTC's July 23,2009 request for information and documents to monitor

        14 Defendants' compliance with the Final Order. Fourth, Defendants further object to the request to

        15 the extent that it seeks documents previously disclosed to Plaintiff in connection with this
        16 contempt proceeding.

        17          Subject to and without waiver of any of the foregoing General Objections and the

        18 foregoing specific objections, Defendants will produce non-privileged, responsive documents in

        19 their possession, custody and control that support Defendants' contention that their marketing of

        20 the Century Platinum shopping club product on the stmiercreditdirect.com website and the

        21 Netspend Debit Card on the eplatinumdirect.com website substantially complied with the Final

        22 Order. Documents that Defendants consider confidential will be produced following the execution

        23 by the parties to the litigation and the entry by the Court of a suitable stipulation and protective

        24 order limiting the dissemination of those documents.

----~25-     RE0HEB-T F0R PR0InJE'fl0N N0. 13:

        26          Produce all documents conceming your defenses in this Contempt Proceeding.

        27
        28

                                                                         DEFENDANTS' OBJECTIONS AND RESPONSES
             LA2066192.6                                      17              TO FTC'S FIRST SET OF REQUESTS FOR
             211465-10001                                                            PRODUCTION OF DOCUMENTS
        Case 2:07-cv-04880-ODW-AJW Document 75-13 Filed 10/06/10 Page 102 of 144 Page ID
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               1 RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

               2          Subject to and without waiver of the foregoing General Objections, each of which is

               3 expressly incorporated herein, Defendants fLlliher object to Request for Production No. 13 on the

               4 following grounds: First, Defendants object to this request to the extent that it is duplicative of

               5 discovery obtained by Plaintiff from Defendants prior to the filing of its Application for an Order

               6 to Show Cause Why Defendants Should Not Be Held in Contempt and in response to the FTC's

               7 July23, 2009 request for infon11ation and documents to monitor Defendants' compliance with the

               8 FinalOrder. Second, Defendants object to this request to the extent that it seeks documents

               9 previously disclosed to Plaintiff in connection with this contempt proceeding. Third, Defendants

              10 object to this request on the grounds that it calls for the production of documents protected from

              11   disclosure by the attorney-client privilege and work product protection.

              12          Subject to and without waiver of any of the foregoing General Objections and the

              13 foregoing specific objections, Defendants will produce non-privileged, responsive documents in

              14 their possession, custody and control. Documents that Defendants consider confidential will be

              15 produced following the execution by the patti es to the litigation and the entry by the COLlli of a

              16 suitable stipulation and protective order limiting the dissemination of those documents.

              17 REQUEST FOR PRODUCTION NO. 14:

              18          If you contend that the Receiver and/or the FTC represented to you at any time after the

              19 Complaint that your marketing of the Century Platinum shopping club complied with the Order,

              20 produce all documents that support your contention.

              21 RESPONSE TO REQUEST FOR PRODUCTION NO. 14:

              22          Subject to and without waiver of the foregoing General Objections, each of which is

              23 expressly incorporated herein, Defendants further object to Request for Production No. 14 on the

              24 following grounds: First, the request is overbroad, unduly burdensome and unreasonable, to the

_ _ _ _ _2$- -€xt<;nt-it-requests-documents-that-arnreither relevant to the claims against Defendants in this

              26 contempt proceeding nor reasonably calculated to lead to the discovery of admissible evidence.

              27 Specifically, to the extent the request seeks documents about marketing of the Century Platinum

              28 shopping catalog product through websites other than startercreditdirect.com, it requests

                                                                               DEFENDANTS' OBJECTIONS AND RESPONSES
                   LA2066192.6                                      18              TO FTC'S FIRST SET OF REQUESTS FOR
                   211465-10001                                                             PRODUCTION OF DOCUMENTS
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                 1 information outside of the scope of this contempt proceeding. The FTC's contempt application

                 2 was solely directed at EDP's marketing of the Century Platinum shopping catalog product on the

                 3 startercreditdirect.com website. Second, Defendants object to this request to the extent that it is

                 4 duplicative of discovery obtained by Plaintiff from Defendants prior to the filing of its Application

                 5   for an Order to Show Cause Why Defendants Should Not Be Held in Contempt and in response to

                 6 the FTC's July 23,2009 request for infonnation and documents to monitor Defendants'

                 7 compliance with the Final Order. Third, Defendants object to this request to the extent that it

                 8 seeks documents previously disclosed to Plaintiff in connection with this contempt proceeding.

                 9 Fourth, Defendants object to this Request to the extent it calls for documents in the FTC's

               10 possession, custody or control.

               11           Subject to and without waiver of any of the foregoing General Objections and the

               12 foregoing specific objections, Defendants will produce non-privileged, responsive documents in

               13    their possession, custody and control. Documents that Defendants consider confidential will be

               14 produced following the execution by the p31iies to the litigation and the entry by the Court of a

               15 suitable stipulation and protective order limiting the dissemination of those documents.

               16 REQUEST FOR PRODUCTION NO. 15:

               17           If you contend that, at any time after the Complaint, you reasonably relied on

               18 representations by the Receiver and/or the FTC that your marketing of the Century Platimml

               19 shopping club complied with the Order, produce all documents that support your contention.

               20 RESPONSE TO REQUEST FOR PRODUCTION NO. 15:

               21           SUbject to and without waiver of the foregoing General Objections, each of which is

               22 expressly incorporated herein, Defendants further object to Request for Production No. 15 on the

               23    following grounds: First, the request is overbroad, unduly burdensome and unreasonable, to the

               24 extent it requests documents that are neither relevant to the claims against Defendants in this

_ _ _ _ _ _.2~ -coutempt-lxoccediHg-H0HeasGHabl-y-ealeulftteEHEJ-leaEl-tEJ-the-discovery-o+admissib-l"evill=el~Ic""e~.--I

               26    Specifically, to the extent the request seeks documents about 11131'keting ofthe Century Platinum

               27 shopping catalog product through websites other than stmiercreditdirect.com, it requests

               28 information outside ofthe scope of this contempt proceeding. The FTC's contempt application

                                                                                DEFENDANTS' OBJECTIONS AND RESPONSES
                     LA2066192.6                                     19              TO FTC'S FIRST SET OF REQUESTS FOR
                     211465·10001                                                           PRODUCTION OF DOCUMENTS
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                                          #:2220



              1 was solely directed at EDP's marketing of the Century Platinum shopping catalog product on the

              2 startercreditdirect.com website. Second, Defendants object to this request to the extent that it is

              3 duplicative of discovery obtained by Plaintifffrom Defendants prior to the filing of its Application

              4 for an Order to Show Cause Why Defendants Should Not Be Held in Contempt and in response to

              5 the FTC's July 23,2009 request for infonnation and documents to monitor Defendants'

              6 compliance with the Final Order. Third, Defendants object to this request to the extent that it

              7 seeks documents previously disclosed to Plaintiff in connection with this contempt proceeding.

              8 Fourth, Defendants object to this Request to the extent it calls for documents in the FTC's

              9 possession, custody or control.

             10          Subject to and without waiver of any of the foregoing General Objections and the
             11 foregoing specific objections, Defendants will produce non-privileged, responsive documents in

             12 their possession, custody and control. Documents that Defendants consider confidential will be
             13 produced following the execution by the parties to the litigation and the entry by the Court of a

             14 suitable stipUlation and protective order limiting the dissemination of those documents.

             15 REQUEST FOR PRODUCTION NO. 16:
             16          Produce all non-identical versions of your marketing (or marketing of others on your

             17 behalf), including creatives, for debit cards that were marketed with representations that they

             18 could be obtained for "no cost."

             19 RESPONSE TO REQUEST FOR PRODUCTION NO. 16:
             20          Subject to and without waiver of the foregoing General Objections, each of which is

             21   expressly incorporated herein, Defendants further object to Request for Production No. 16 on the
             22 following gronnds: First, the request is overbroad, unduly burdensome and unreasonable, to the

             23 extent it seeks documents that are neither relevant to the claims against Defendants in the

             24 contempt proceeding nor reasonably calculated to lead to the discovery of admissible evidence.
------;?~- -Speei-fieal-Iy;-to-the-extent-the-reqrres1~ks     documents relatecnolhe marKeting of debit cards

             26 generally (if marketed with representations that they could be obtained for "no cost"), rather than

             27 the debit card offered by Netspend that EDP marketed in conjunction with the ePlatinum+

             28 catalogue membership on ePlatinumDirect.com, it requests infomlation outside the scope of this

                                                                             DEFENDANTS' OBJECTIONS AND RESPONSES
                  LA2066192.6                                     20              TO FTC'S FIRST SET OF REQUESTS FOR
                  211465-10001                                                           PRODUCTION OF DOCUMENTS
Case 2:07-cv-04880-ODW-AJW Document 75-13 Filed 10/06/10 Page 105 of 144 Page ID
                                   #:2221



      1 contempt proceeding. The FTC's contempt application was solely directed at EDP's mill'keting of

      2 the debit card offered by Netspend illld marlceted on ePlatinumDirect.com. Accordingly,

      3 documents concerning other debit cards that EDP may have adveliised are irrelevant illld beyond

      4 the scope of this contempt proceeding. The request is also overbroad, unduly burdensome,

      5 unreasonable, illld harassing on the basis that it requests the "mill'keting of others on your behalf,"

      6 which Defendants understand to mean affiliate marketing. These documents are neither relevant

      7 to the claims against Defendants in this contempt proceeding nor reasonably calculated to lead to

      8 the discovery of admissible evidence. Furtiler, such documents, even if relevant, may not be in the

      9 possession, custody or control of Defendants. Second, Defendmts object to this request to the

     10 extent that it is duplicative of discovery obtained by Plaintiff from Defendants prior to the filing of

     II its Application for illl Order to Show Cause Why Defendmts Should Not Be Held in Contempt

     12 and in response to the FTC's July 23,2009 request for infonuation and documents to monitor

     13 Defendants' compliance with the Final Order. Third, Defendilllts object to this request to the

     14 extent that it seeks documents previously disclosed to Plaintiff in connection with this contempt

     15 proceeding. Fourth, the phrase "could be obtained at no cost" is vague and ambiguou,.

     16 Defendants presume this phrase to mean that consumers could physically obtain the debit card at

     17 no charge before activating it and loading it with funds.

     18          Subject to and without waiver of any ofthe foregoing General Objections md the

     19 foregoing specific objections, Defendmts will produce non-privileged, responsive documents in

     20 their posO,cssion, custody and control related to the debit card offered by Netspend that EDP

     21 marketed in conjunction with the ePlatinum+ catalogue membership on ePlatinumDirect.com.

     22 Documents that Defendants consider confidential will be produced following the execution by the

     23 pill·ties to the litigation illld the entry by the Court of a suitable stipulation and protective order

     24 limiting the dissemination of those documents.



     26          Produce documents sufficient to show the number of consumers who applied for debit

     27 cards that were marketcd with representations that they could be obtained for "no cost."

     28

                                                                         DEFENDANTS' OBJECTIONS AND RESPONSES
          LA2066192.6 .                                      21               TO FTC'S FIRST SET OF REQUESTS FOR
          211465-10001                                                               PRODUCTION OF DOCUMENTS
         Case 2:07-cv-04880-ODW-AJW Document 75-13 Filed 10/06/10 Page 106 of 144 Page ID
                                            #:2222


                 1 RESPONSE TO REQUEST FOR PRODUCTION NO. 17:

                 2          Subject to and without waiver of the foregoing General Objections, each of which is

                 3 expressly incorporated herein, Defendants further object to Request for Production No. 17 on the

                 4 following grounds: First, the request is overbroad, unduly burdensome and unreasonable, to the

                 5 extent it seeks documents that are neither relevant to the claims against Defendants in the

                 6 contempt proceeding nor reasonably calculated to lead to the discovery of admissible evidence.

                 7 Specifically, to the extent the request seeks documents related to the marketing of debit cards

                 8 generally (if marketed with representations that they could be obtained for "no cost"), rather than

                 9 the debit card offered by Netspend that EDP marketed in conjunction with the ePlatinum+

               10 catalogue membership on ePlatinumDirect.com, it requests information outside the scope of this

               11    contempt proceeding. The FTC's contempt application was solely directed at EDP's marketing of

               12 the debit card offered by Netspend and marketed on ePlatinumDirect.com. Accordingly,.

               13 documents concerning other debit cards that EDP may have adveliised are irrelevant and beyond

               14 the scope of this contempt proceeding. Second, the request is vague and ambiguous with respect

               15 to the phrases "documents sufficient to show" and "applied for" because not all consumers who

               16 requested a Netspend Debit Card received a card in the mail, activated it, loaded it with funds,

               17 and/or were charged any fees. For this additional reason, the request is also irrelevant. Third,

               18 Defendants object to this reqllest to the extent that it is duplicative of discovery obtained by

               19 Plaintiff from Defendants prior to the filing of its Application for an Order to Show Cause Why

               20 Defendants Should Not Be Held in Contempt and in response to the FTC's July 23,2009 request

               21    for inforn1ation and documents to monitor Defendants' compliance with the Final Order. Fourth,

               22 Defendants object to this request on the basis that it seeks information previously disclosed to

               23 Plaintiff in cOlmection with this contempt proceeding.

               24           Subject to and without waiver of any of the foregoing General Objections and the

- - - - - - 2 5 - -foregoilTg-specifj-c-(Jbjectiuns~Befend-ants-wiJI-prodllce non-pri vileged, responsive documents m

               26 their possession, custody and control related to the debit card offered by Netspend that EDP

               27 marketed in conjunction with the cPlatinum+ catalogue membership on ePlatinumDirect.com.

               28 Documents that Defendants consider confidential will be produced following the execution by the

                                                                                DEFENDANTS' OBJECTIONS AND RESPONSES
                     LA2066192.6                                     22              TO FTC'S FIRST SET OF REQUESTS FOR
                     211465-10001                                                           PRODUCTION OF DOCUMENTS
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              1 parties to the litigation and the entry by the Court of a suitable stipulation and protective order

              2 limiting the dissemination ofthose documents.

              3 REQUEST FOR PRODUCTION NO. 18:

              4           Produce documents sufficient to show the amount of revenue you received from debit

               5 cards that were marketed with representations that they could be obtained at "no cost."

              6 RESPONSE TO REQUEST FOR PRODUCTION NO. 18:

              7           Subject to and without waiver of the foregoing General Objections, each of which is

              8 expressly incorporated herein, Defendants further object to Request for Production No. 18 on the

              9 following grounds: First, the request is overbroad, unduly burdensome and unreasonable, to the

             10 extent it seeks documents that are neither relevant to the claims against Defendants in the

             II   contempt proceeding nor reasonably calculated to lead to the discovery of admissible evidence.

             12 Specifically, to the extent the request seeks documents related to the marketing of debit cards

             13 generally (if marketed with representations that they could be obtained for "no cost"), rather th811

             14 the debit card offered by Netspend that EDP marketed in conjunction with the ePlatinum+

              IS catalogue membership on ePlatinumDirect.com, it requests information outside the scope ofthis

             16 contempt proceeding. The FTC's contempt application was solely directed at EDP's marketing of

             17 the debit card offered by Netspend and marketed on ePlatinumDirect.com. Accordingly,

             18 documents concerning other debit cards that EDP may have advertised are irrelevant and beyond

             19 the scope of this contempt proceeding. Second, the request is vague 811d ambiguous with respect

             20 to the phrases "docwnents sufficient to show" and "revenue," which is undefined and can refer to

             21   gross revenue or net revenue. Third, Defendants object to this request to the extent that it is

             22 duplicative of discovery obtained by Plaintiff from Defendants prior to the filing of its Application

             23 for an Order to Show Cause Why Defendants Should Not Be Held in Contempt and in response to

             24 the FTC's July 23,2009 request for information and documents to monitor Defendants'

-------tc2§- -e()mpliance-witlrthe Finalurder. Fourth, Defendants object to this request on the basis that it

             26 seeks infonnation previously disclosed to Plaintiff in cOlmection with this contempt proceeding.

             27           Subject to 811d without waiver of any of the foregoing General Objections and the

             28 foregoing specific objections, Defendants will produce non-privileged, responsive documents in

                                                                               DEFENDANTS' OBJECTIONS AND RESPONSES
                  LA2066I92.6                                      23               TO FTC'S FIRST SET OF REQUESTS FOR
                  211465-1000 I                                                            PRODUCTION OF DOCUMENTS
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                1 their possession, custody and control related to the debit card offered by Netspend that EDP

                2 marketed in conjunction with the ePlatinum+ catalogue membership on ePlatinumDirect.com.

                3 Documents that Defendants consider confidential will be produced following the execution by the

                4 paliies to the litigation and the entry by the Court of a suitable stipulation and protective order

                5 limiting the dissemination of those documents,

                6 REQUEST FOR PRODUCTION NO. 19:

                7          Produce documents sufficient to show the alll0lmt of fees charged to consumers from debit

                8 cards that were marketed with representations that they could be obtained at "no cost."

                9 RESPONSE TO REQUEST FOR PRODUCTION NO. 19:

               10          Subject to and without waiver ofthe foregoing General Objections, each of which is

               11   expressly incorporated herein, Defendants further object to Request for Production No, 19 on the

               12 following grounds: First, the request is overbroad, unduly burdensome and unreasonable, to the

               13 extent it seeks documents that are neither releVailt to the claims against Defendants in the

               14 contempt proceeding nor reasonably calculated to lead to the discovery of admissible evidence,

               15 Specifically, to the extent the request seeks documents related to the marketing of debit cards

               16 generally (if marketed with representations that they could be obtained for "no cost"), rather than

               17 the debit card offered by Netspend that EDP marketed in conjunction with the ePlatinum+

               18 catalogue membership on ePlatinumDirect.com, it requests information outside the scope of this

               19 contempt proceeding, The FTC's contempt application was solely directed at EDP's marketing of

               20 the debit card offered by Netspend and marketed on ePlatinumDirect.com. Accordingly,

               21   documents conceming other debit cards that EDP may have advertised al'e irrelevant and beyond

               22 the scope of this contempt proceeding. Second, the request is vague and ambiguous with respect

               23 to the phrases "documents sufficient to show" and "amount of fees chal-ged," which Defendants

               24 presume to mean fees charged by EDP to consumers, Third, Defendants object to this request to

-----,21;')5 -i'he-eJttenHhat-it-is-dnp-li-cative-of-di-scoveryubtained-by PlaintiffTrom DefenQallts prior to the

               26 filing orits Application for all Order to Show Cause Why Defendants Should Not Be Held in

               27 Contempt alld in response to the FTC's July 23,2009 request for information alld documents to

               28 monitor Defendants' compliance with the Final Order. Fourth, Defendants object to this request

                                                                                DEFENDANTS' OBJECTIONS AND RESPONSES
                    LA2066192,6                                      24              TO FTC'S FIRST SET OF REQUESTS FOR
                    211465-10001                                                            PRODUCTION OF DOCUMENTS
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                1 on the basis that it seeks infonnation previously disclosed to Plaintiff in connection with this

                2 contempt proceeding. Fifth, Defendants object to this request to the extent it requests infonnation

                3 conceming the amount of fees charged by parties other Defendants on the basis that this

                4 infonnation is not in Defendants' possession, custody or control.

                5          Subject to and without waiver of any of the foregoing General Objections and the

                6 foregoing specific objections, Defendants respond as follows: There are no responsive documents

                7 as Defendants did not charge consumers any fees in connection with the Netspend Debit Card

                8 marketed on the ePlatinumDirect.com website.

                9 REQUEST FOR PRODUCTION NO. 20:

              10           Produce all non-identical versions of your marketing (or marketing of others on your

              11 behal£), including creatives (in addition to those already produced in response to Specification 16),

               12 that represent that prepaid cards, debit cards, or credit cards can be obtained "free," without

              13 obligation, or at a reduced cost.

              14 RESPONSE TO REQUEST FOR PRODUCTION NO. 20:

               IS          SUbject to and without waiver of the foregoing General Objections, each of which is

              16 expressly incorporated herein, Defendants further object to Request for Production No. 20 on the

              17 following grounds: First, the request is overbroad, unduly burdensome and unreasonable, to the

               18 extent it seeks documents that are neither relevant to the claims against Defendants in the

              19 contempt proceeding nor reasonably calculated to lead to the discovery of admissible evidence.

              20 Specifically, to the extent the request seeks documents related to the marketing of "prepaid cards,

              21    debit cards, or credit cards" generally (if marketed with representations that they could be obtained

              22 for "free without obligation"), rather than the debit card offered by Netspend that EDP marketed in

              23 conjunction with the ePlatinum+ catalogue membership on ePlatinumDirect.com, it requests

              24 information outside the scope ofthis contempt proceeding. The FTC's contempt application was

------'i25- -s()Ie1y-ciirected-atEI):I' "S'1ITIfrJreting ofThe creDit caraoffered by Netspend and marketed on

              26 ePlatinumDirect.com. Accordingly, documents conceming other "prepaid cards, debit cards, or

              27 credit cards" that EDP may have adveliised are irrelevant and beyond the scope of this contempt

              28 proceeding. The request is also overbroad, unduly burdensome, unreasonable, and harassing on

                                                                                DEFENDANTS' OBJECTIONS AND RESPONSES
                    LA2066192.6                                      25              TO FTC'S FIRST SET OF REQUESTS FOR
                    211465,10001                                                            PRODUCTION OF DOCUMENTS
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                                            #:2226


                 1 the basis that it requests the "maTketing of others on your behalf," which Defendants understand to

                 2 mean affiliate marketing. These documents are neitl1er relevant to the claims against Defendants

                 3 in this contempt proceeding nor reasonably calculated to lead to the discovery of admissible

                 4 evidence. Further, such documents, even if relevant, may not be in the possession, custody or

                 5 control of Defendants. Second, Defendants object to this request to the extent that it is duplicative

                 6 of discovery obtained by Plaintiff from Defendants prior to the filing of its Application for an

                 7 Order to Show Cause Why Defendants Should Not Be Held in Contempt and in response to the

                 8 FTC's July 23, 2009 request for information and documents to monitor Defendants' compliance

                 9 with the Final Order. Third, Defendants object to this request to the extent that it seeks documents

                10 previously disclosed to Plaintiff in connection with this contempt proceeding. FOlllih, the phrase

                11   "free without obligation" is vague and ambiguous. Defendants presume this phrase to mean that

                12 consumers could physically obtain the debit card at no charge before activating it and loading it

                13 with funds. The tenn "Specification 16" is also unclear and presumably means Request for

                14 Production No. 16. Fifth, Defendants object to this request on the basis that it is duplicative of

                15 Request for Production No. 16.

                16          Subject to and without waiver of any of the foregoing General Objections and the

                17 foregoing specific objections, Defendants will produce non-privileged, responsive documents in

                18 their possession, custody and control related to the debit card offered by Netspend that EDP

                19 marketed in conjunction with the ePlatinum+ catalogue membership on ePlatinumDirect.com.

                20 Documents that Defendants consider confidential will be produced following the execution by the

                21   patiies to the litigation and the entry by the Court of a suitable stipulation and protective order

                22 limiting the dissemination of those doclll11ents.

                23 REQUEST FOR PRODUCTION NO. 21:

                24          Produce documents sufficient to show the number of consumers (in addition to those

- - - - - - 2 5 - -rrlreadyid-eJTtifre-dilTTeSpOlIse lCJSpecification njwno applied for prepaid cards,--aeoit cards, or

                26 credit cards that were marketed with representations that they could be obtained "free," without

                27 obligation, or at a reduced cost.

                28 RESPONSE TO REQUEST FOR PRODUCTION NO. 21:

                                                                                   DEFENDANTS' OBJECTIONS AND RESPONSES
                     LA2066192.6                                       26               TO FTC'S FIRST SET OF REQUESTS FOR
                     211465-10001                                                              PRODUCTION OF DOCUMENTS
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                                           #:2227


                 1          Subject to and without waiver of the foregoing General Objections, each of which is

                 2 expressly incorporated herein, Defendants further object to Request for Production No. 21 on the

                 3 following grounds: First, the request is overbroad, unduly burdensome and unreasonable, to the

                 4 extent it seeks documents that are neither relevant to the claims against Defendants in the

                 5 contempt proceeding nor reasonably calculated to lead to the discovery of admissible evidence.

                 6 Specifically, to the extent the request seeks documents related to the marketlng of "prepaid cards,

                 7 debit cards, or credit cards" generally (if marketed with representations that they could be obtained

                 8 for "free without obligation"), rather than the debit card offered by Netspend tbat EDP marketed in

                 9 conjunction with the ePlatinum+ catalogue membership on ePlatinumDirect.com, it requests

                10 infonnation outside the scope of this contempt proceeding. The FTC's contempt application was

                11 solely directed at EDP's marketing of the debit card offered by Netspend and marketed on

                12 ePlatinumDirect.com. Accordingly, documents concerning other "prepaid cards, debit cards, or

                13 credit cards" that EDP may have advertised are irrelevant and beyond the scope ofthis contempt

                14 proceeding. Second, the request is vague and ambiguous with respect to the phrases "documents

                15 sufficient to show" and "applied for" because not all consumers who requested a Netspend Debit

                16 Card received a card in the mail, activated it, loaded it with funds, and/or were charged any fees.

                17 For this additional reason, the request is also irrelevant. Third, Defendants object to this request to

                18 the extent that it is duplicative of discovery obtained by Plaintiff from Defendants prior to the

                19 filing of its Application for an Order to Show Cause Why Defendants Should Not Be Held in

               20 Contempt and in response to the FTC's July 23,2009 request for information and documents to

                21 monitor Defendants' compliance with the Final Order. Fourth, Defendants object to this request

               22 to the extent that it seeks documents previously disclosed to Plaintiff in comlection with this

               23 contempt proceeding. Fifth, the phrase "free without obligation" is vague and ambiguous.

               24 Defendants presume this phrase to mean that consumers could physically obtain the debit card at

_ _ _ _ _-----<25_ -1l0-chaJCg€-Q€iQI'€-aGti¥ating-it-ana-10ftaing-it-with-fundsc-rh-e-temr"8]mcif=tion tT"1salso

               26 unclear and presumably means Request for Production No. 17. Sixth, Defendants object to this

               27 request on the basis that it is duplicative of Request for Production No. 17.

               28

                                                                                 DEFENDANTS' OBJECTIONS AND RESPONSES
                     LA2066192.6                                      27              TO FTC'S FIRST SET OF REQUESTS FOR
                     211465-10001                                                            PRODUCTION OF DOCUMENTS
     Case 2:07-cv-04880-ODW-AJW Document 75-13 Filed 10/06/10 Page 112 of 144 Page ID
                                        #:2228



           1          Subject to and without waiver of any of the foregoing General Objections and the

           2 foregoing specific objections, Defendants will produce non-privileged, responsive docmnents in

           3 their possession, custody and control related to the debit card offered by Netspend that EDP

           4 marketed in conjunction with the ePlatinum+ catalogue membership on ePlatinumDirect.com,

           5 Documents that Defendants consider confidential will be produced following the execution by the

           6 parties to the litigation and the entry by the Court of a suitable stipulation and protective order

           7 limiting the dissemination of those documents.

           8 REQUEST FQR PRODUCTION NO. 22:

           9          Produce documents sufficient to show the amount of revenue (in addition to the revenue

          10 already identified in response to Specification 18) you received from marketing prepaid cards,

          11 debit cards, or credit cards that were marketed with representations that they could be obtained

          12 "free," without obligation, or at a reduced cost.

          13 RESPONSE TO REQUEST FOR PRODUCTION NO. 22:

          14          Subject to and without waiver of the foregoing General Objections, each of which is

          15 expressly incorporated herein, Defendmlts fmiher object to Request for Production No. 22 on the

          16 following grounds: First, the request is overbroad, unduly burdensome and unreasonable, to the

          17 extent it seeks documents that are neither relevant to the claims against Defendants in the

          18 contempt proceeding nor reasonably calculated to lead to the discovery of admissible evidence.

          19 Specifically, to the extent the request seeks documents related to the marketing of "prepaid cards,

          20 debit cards, or credit cards" generally (if marketed with representations that they could be obtained

          21   for "free without obligation"), rather than the debit card offered by Netspend that EDP marketed in

          22 conjunction with the ePlatinum+ catalogue membership on ePlatinumDirect.com, it requests

          23 infonnation outside the scope ofthis contempt proceeding. The FTC's contempt application was

          24 solely directed at EDP's marketing ofthe debit card offered by Netspend and marketed on

-----~LT "PlatinumDirect.com.         Accordmgly, documents concerning other "prepaid cards, debit cards, or

          26 credit cards" that EDP may have advertised are irrelevant and beyond the scope of this contempt

          27 proceeding. Second, the request is vague and ambiguous withrespect to the phrases "documents

          28 sufficient to show" and "amount of revenue," which is undefined and can be taken to refer to gross

                                                                           DEFENDANTS' OBJECTIONS AND RESPONSES
               LA2066192.6                                       28             TO FTC'S FIRST SET OF REQUESTS FOR
               211465-10001                                                             PRODUCTION OF DOCUMENTS
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                                        #:2229



           1 revenue or net revenue. Third, Defendal1ts object to this request to the extent that it is duplicative

           2 of discovery obtained by Plaintiff from Defendants prior to the filing of its Application for an

           3 Order to Show Cause Why Defendants Shonld Not Be Held in Contempt al1d in response to the

           4 FTC's July 23, 2009 request for infommtion and documents to monitor Defendants' compliance

           5 with the Final Order. Fourth, Defendants object to this request to the extent that it seeks

           6 documents previously disclosed to Plaintiff in connection with this contempt proceeding. Fifth,

           7 the phrase "free without obligation" is vague and ambiguous. Defendants presume this phrase to

           8 mean that consumers could physically obtain the debit card at no charge before activating it and

           9 loading it with funds. The tem1 "Specification 18" is also unclear and presumably means Request

          10 for Production No. 18. Sixth, Defendants object to this request on the basis that it is duplicative of

          II   Request for Production No. 18.

          12          Subject to and without waiver of any of the foregoing General Objections and the

          13 foregoing specific objections, Defendants will produce non-privileged, responsive documents in

          14 their possession, custody and control related to the debit card offered by Netspend that EDP

          15 marketed in conjunction with the ePlatinum+ catalogue membership on ePlatinumDirect.com.

          16 Documents that Defendants consider confidential will be produced following the execution by the

          17 parties to the litigation and the entry by the Court of a suitable stipulation and protective order

          18 limiting the dissemination of those documents.

          19 REQUEST FOR PRODUCTION NO. 23:

          20          Produce documents sufficient to show the amount offees (in addition to the fees already

          21   identified in response to Specification 16) charged to consumers from prepaid cards, debit cards,

          22   or credit cards that were marketed with representations that they could be obtained "free," without

          23 obligation, or at a reduced cost.

          24 RESPONSE TO REQUEST FOR PRODUCTION NO. 23:

_ _ _ _ _~2~          SuhjeeHe-aati-with6ut-waiver-af-the-furegoing IJeneraJ-015jectlons, each of WEich IS

          26 expressly incorporated herein, Defendants further object to Request for Production No. 23 on the

          27 following grounds: First, the request is overbroad, unduly burdensome and unreasonable, to the

          28   extent it seeks documents that are neither relevant to the claims against Defendants in the

                                                                           DEFENDANTS' OBJECTIONS AND RESPONSES
               LA2066192.6                                      29              TO FTC'S FIRST SET OF REQUESTS FOR
               211465-10001                                                            PRODUCTION OF DOCUMENTS
Case 2:07-cv-04880-ODW-AJW Document 75-13 Filed 10/06/10 Page 114 of 144 Page ID
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      1 contempt proceeding nor reasonably calculated to lead to the discovery of admissible evidence.

      2 Specifically, to the extent the request seeks documents related to the marketing of "prepaid cards,

      3 debit cards, or credit cards" generally (if marketed with representations that they could be obtained

      4 for "free without obligation"), rather than the debit card offered by Netspend that EDP marketed in

      5 conjunction with the ePlatinum+ catalogue membership on ePlatinumDirect.com, it requests

      6 infornlation outside the scope of this contempt proceeding. The FTC's contempt application was

      7 solely directed at EDP's marketing of the debit card offered by Netspend and marketed on

      8 ePlatinumDirect.com. Accordingly, documents concerning other "prepaid cards, debit cards, or

      9 credit cards" that EDP may have adveliised are ilTelevant and beyond the scope of this contempt

     10 proceeding. Second, the request is vague and ambiguous with respect to the phrases "documents

     11   sufficient to show" 311d "31110unt of fees charged," which Defendants presume to mean fees

     12 charged by EDP to consumers. Third, Defendants object to this request to the extent that it is

     13 duplicative of discovery obtained by Plaintiff from Defendants prior to the filing of its Application

     14 for an Order to Show Cause Why Defendants Should Not Be Held in Contempt and in response to

     15 the FTC's July 23,2009 request for infonnation and documents to monitor Defendants'

     16 compliance with the Final Order. Fourth, Defendants object to this request to the extent that it

    17 seeks docmnents previously disclosed to Plaintiff in connection with this contempt proceeding.

     18 Fifth, the phrase "free without obligation" is vague and ambiguous. Defendants presume this

     19 phrase to me311 that consumers could physically obtain the debit card at no charge before

    20 activating it and loading it with funds. The tenn "Specification 16" is also unclear 31ld

    21    presumably means Request for Production No. 16. Sixth, Defendants object to this request on the

    22 basis that it is duplicative of Request for Production No. 19.

    23 /1/11

    24 1/1//

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    26 II /I /

    27 / /III

    28 /1/1/

                                                                    DEFENDANTS' OBJECTIONS AND RESPONSES
          LA2066192.6                                     30             TO FTC'S FIRST SET OF REQUESTS FOR
          211465·10001                                                          PRODUCTION OF DOCUMENTS
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                                   #:2231



      1          Subject to and without waiver of any of the foregoing General Objections and the

     2 foregoing specific objections, Defendants respond as follows: There are no responsive documents

      3 as Defendants did not charge consumers any fees in connection with the Netspend Debit Card

      4 marketed on the ePlatinumDirect.com website.

      5
          Dated: September 2, 2010                   LOEB & LOEB LLP
      6                                              MICHAEL L. MALLOW
                                                     KAREN R. THORLAND
      7                                              CHRISTINE M. REILLY

      8
                                                     By: /s/ Michael L. Mallow
      9                                                  Michael L. Mallow
                                                         Attorneys for Defendants
    10                                                   EDEBITPAY, LLC,
                                                         DALE PAUL CLEVELAND and
     11                                                  WILLIAM RICHARD WILSON
     12

    13

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                                                                   DEFENDANTS' OBJECTIONS AND RESPONSES
          LA2066192.6                                    31             TO FTC'S FIRST SET OF REQUESTS FOR
          211465-10001                                                         PRODUCTION OF DOCUMENTS
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                                   #:2232



      1                                    PROOF OF SERVICE
      2          I, Vicki S. Henderson, the undersigned, declare that:
      3          I am employed in the County of Los Angeles, State of California, over the age of
      4 18, and not a party to this cause. My business address is 10100 Santa MoniCa Boulevard,
      5 Suite 2200, Los Angeles, California 90067-4120.
      6          On September 2, 2010, I served a true copy of the DEFENDANTS'
      7 OBJECTIONS AND RESPONSES TO FEDERAL TRADE COMMISSION'S FIRST
      8 SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS on the parties in this
      9 cause
     10 [Xl      (VIA OVERNIGHT DELIVERY) by placing the above named document in a
     11 sealed envelope addressed as set forth below, or on the attached service list and by then
     12 causing said envelope to be deposited for collection and overnight delivery via Federal
     13 Express in accordance with Loeb & Loeb LLP's ordinary business practices.

     14
          Mark Morelli, Esq.                             John D. Jacobs, Esq.
     15 Elizabeth Tucci, Esq.                            Federal Trade Commission
        Zachary V. Hunter, Esq.                          10877 Wilshire Boulevard
     16 Federal Trade Commission                         Suite 700
        600 Pennsylvania Avenue NW                       Los Angeles, CA 90024
     17 Room M-8102B
        Washington, DC 20580
     18
               I am readily familiar with Loeb & Loeb LLP's practice for collecting and processing
     19
        correspondence for mailing with the United States Postal Service and Overnight Delivery
     20
        Service. That practice includes the deposit of all correspondence with the United States
     21
        Postal Service and/or Overnight Delivery Service the same day it is collected and
     22
        processed.
     23
               I certify that I am employed in the office of a member of the bar of this Court at
     24
        whose direction the service was made.
     25
               I declare under penalty of perjury that the foregoing is true and correct.
     26
               Executed on September 2, 2010, at Los Angeles, California.
     27
     28                                                    Vicki S. Henderson


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                                   #:2233




                         ATTACHMENT 6
Case 2:07-cv-04880-ODW-AJW Document 75-13 Filed 10/06/10 Page 118 of 144 Page ID
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                                   #:2236
Case 2:07-cv-04880-ODW-AJW Document 75-13 Filed 10/06/10 Page 121 of 144 Page ID
                                   #:2237




                         ATTACHMENT 7
Case 2:07-cv-04880-ODW-AJW Document 75-13 Filed 10/06/10 Page 122 of 144 Page ID
                                   #:2238

                                                                                   MICHAEL L. MALLOW
                                                                                   Partner
                                                                                   10100 Santa Monica Blvd   Direct 310.282.2287
                                                                                   Suite 2200                Main 310.282.2000
                                                                                   Los Angeles, CA 90067     Fax    310.282.2200
                                                                                                             mmallow@loeb.com


                                                                                   Via Email and U.S. Mail



   September 8, 2010


   Elizabeth Tucci, Esq.
   Division of Enforcement
   Federal Trade Commission
   601 New Jersey Avenue, N.W.
   Washington, D.C. 20580


   Re:        FTC v. EDebitPay, LLC et al., Case No. 07-CV-04880 ODW (AJWx)

   Dear Elizabeth:

                 We write in response to issues raised in your letter dated September 1, 2010.

   1.            Depositions

           You have proposed four alternative dates for the deposition of Dr. Kelly, i.e., September
   27, 28, 29, or 30, 2010. We will proceed with the deposition of Dr. Kelly on the first available
   date, September 27, 2010.

           With respect to the deposition of Mr. McKown, we are unwilling to leave this issue
   unresolved until the FTC sees fit to move to compel. As such, Defendants prepared a joint
   stipulation related to their own motion to compel this deposition. The joint stipulation was
   provided to the FTC yesterday.

          With respect to the depositions that the FTC has noticed of Defendants’ employees, i.e.,
   the depositions of Ms. Murillo, Ms. Ortega-Leon, Mr. Desa and Mr. Cleveland, we are willing to
   agree to the FTC’s proposed dates for these depositions with two exceptions.

          First, unfortunately Mr. Desa is not available on September 28, 2010. Mr. Desa will be
   on a previously scheduled vacation in India from September 28, 2010 through October 20,
   2010. Please let us know if you would like to proceed with his deposition on either September
   20 or 23, 2010.

          Second, pursuant to Local Rule 37-1, we hereby request that counsel meet and confer in
   good faith to discuss the issue of Mr. Cleveland’s deposition. Defendants object to the
   deposition of Mr. Cleveland and do not intend to produce him on September 29, 2010. As you
   are well aware, the Federal Rules of Civil Procedure only allow the FTC one deposition of


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   A limited liability partnership including professional corporations                                                         211465-10001
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                                                                                   Elizabeth Tucci, Esq.
                                                                                     September 8, 2010
                                                                                                Page 2



   Mr. Cleveland, which deposition may only take one day (7 hours). F.R.C.P. 30(d)(1); see also
   Roberson v. Bair, 242 F.R.D. 130, 138 (D. D.C. 2007) (court presumes 7 hour limit “was
   carefully chosen and that extensions of that limit should be the exception, not the rule”). On
   November 17, 2009, as the caption page to the transcript reflects, the FTC took the deposition
   of Mr. Cleveland in this case. The FTC was free to question Mr. Cleveland on any subject and
   to ask any questions that it may have had at that time. The FTC does not get a second bite at
   the apple. Moreover, the FTC has even used the transcript of that deposition in its application
   for an order to show cause re contempt. (See Exhibit 8, Attachment C to Memoranda in
   Support of Federal Trade Commission’s Application for an Order to Show Cause Why
   Defendants Should Not Be Held in Contempt.) Accordingly, Defendants object to a second
   deposition of Mr. Cleveland absent further order from the Court. Please let us know when you
   are available to confer regarding this issue.

   2.     The FTC’s Continued Demand that Defendants “Tee Up” Discovery Issues

            Again, we currently have no obligation to meet and confer with you regarding discovery
   propounded by the FTC. If, upon review of Defendants’ written responses to discovery, the FTC
   believes there is a dispute and wishes to initiate the meet and confer process set forth in L.R.
   37-1, it is free to do so. But Defendants have no obligation to send a letter prior to responding
   to the FTC’s discovery. If the FTC wanted discovery disputes resolved earlier in this matter it
   could have served its discovery earlier.

   3.     The FTC’s Request to Postpone the Hearing Date

           Defendants remain willing to move forward with the current hearing date. As we
   previously informed you, if the FTC desires to move the hearing date it can bring its own motion
   to do so. As we previously stated, Defendants will not oppose that motion by the FTC to the
   extent that the FTC seeks to continue the hearing to a date on or about November 15, 2010.
   The Defendants will oppose any longer continuance. As we previously explained to you, delay
   of the hearing date will delay finalizing the sale of EDP to the detriment of Defendants.

   4.     Witness Attendance at the Hearing

            Please consider this formal notice that Defendants’ intend to call Raymond McKown to
   testify in person at the hearing and to cross-examine Dr. Kelly in person at the hearing. We
   expect these individuals to be present at the hearing. If you do not intend to bring these
   witnesses to the hearing, please immediately inform us of that fact so that we may bring the
   issue to the Court. To the extent that you refuse to bring these witnesses to the hearing, we
   reserve the right to seek to exclude any and all affidavits from Mr. McKown and Dr. Kelly and
   any use of their testimony by the FTC.




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                                                                             Elizabeth Tucci, Esq.
                                                                               September 8, 2010
                                                                                          Page 3



   We look forward to hearing back from you on the issues discussed above.


   Sincerely,




   Michael L. Mallow
   Partner

   cc:    Mark Morelli, Esq. (via email)
          Zachary Hunter, Esq. (via email)
          Paul Cleveland (via email)




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                         ATTACHMENT 8
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                         ATTACHMENT 9
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                                    #:2248
                                              UNITED STATES OF AMERICA
                                        FEDERAL TRADE COMMISSION
                                                WASHINGTON, D.C. 20580




Bureau of Consumer Protection
 Division of Enforcement

     Elizabeth Tucci
        Attorney

       Direct Dial:
     (202) 326-2402

          Fax:
     (202) 326-2558
                                                               September 9, 2010




      Via email to mmallow@loeb.com

      Michael Mallow, Esq.
      Loeb & Loeb, LLP
      10100 Santa Monica Boulevard
      Suite 2200
      Los Angeles, California 90067

                 Re:       Federal Trade Commission v. EDebitPay, LLC, et al.,
                           Civil Action No. CV 07-4880 ODW (AJWx) (C.D. Cal.)

      Dear Mr. Mallow:

             I write to you in your capacity as counsel for defendants EDebitPay, LLC, Dale Paul
      Cleveland, and William Richard Wilson (“Defendants”) in the above-cited matter.

      Depositions

              In response to your September 8, 2010, letter regarding, inter alia, depositions, we
      propose two alternative schedules. If Mr. Camhi is available on September 22, 2010, and you
      intend to proceed with his deposition on that date, then we suggest the following:

                 September 21    Murilla and Leon
                 September 22    Camhi
                 September 23    Desa
                 September 27    Kelly

             If you do not intend to depose Mr. Camhi on September 22, 2010, we propose the
      following alternative schedule:
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          September 23 Murilla and Leon
          September 24 Desa
          September 27 Kelly

          We are willing to defer Mr. Mallow’s deposition pending the magistrate’s ruling on Mr.
   McKown’s deposition, and proceed expeditiously with both depositions if the magistrate rules
   that Mr. McKown’s deposition is to go forward. However, if Mr. Mallow intends to offer
   testimony, by declaration or otherwise, at the contempt hearing regardless of whether the
   magistrate permits Mr. McKown to be deposed, then we propose to renotice Mr. Mallow’s
   deposition for September 20 or 28, 2010. Please advise us immediately on this issue.

           You also indicated that you will not make Defendant Cleveland available for deposition
   because the FTC deposed him last November pursuant to its compliance-monitoring authority
   under the Final Order entered January 22, 2008. We intend to move the Court to order his
   deposition if you do not make him available. At the time of the 2009 deposition, the FTC was
   conducting a general compliance investigation, and no contempt claims or defenses were before
   the Court. The FTC’s exercise of its monitoring rights under the Final Order should not curtail
   the discovery of admissible evidence in this contempt proceeding. Moreover, you note that the
   Federal Rules permit up to seven hours for a deposition, and Mr. Cleveland testified for less than
   two hours, of which only thirty minutes was in his personal capacity. Finally, Mr. Cleveland
   submitted a declaration on June 17, 2010, that addresses the particular claims and defenses of
   this proceeding. Therefore, we have a right to depose him regarding these matters.

          With regard to your proposed schedule regarding the Motion to Compel Mr. McKown’s
   deposition, we would agree to such a schedule only if you agree to:

          (1)     jointly move the magistrate to hear the FTC’s discovery issues, as outlined herein,
                  at the same hearing and to permit parties to file supplemental briefs regarding
                  both parties’ discovery issues within seven instead of fourteen days of the hearing
                  date; and
          (2)     hold the meet and confer on this letter by Monday, September 13, 2010 at 1 pm
                  EDT.

   Written Discovery

          Pursuant to Local Rule 37-1, I am hereby requesting that counsel meet and confer in
   good faith to discuss the discovery issues outlined below. I propose that we confer
   telephonically no later than Monday, September 13, 2010 at 1 pm EDT. Time is of the essence,
   given your desire to expedite resolution of the discovery dispute regarding Mr. McKown’s
   deposition and your unwillingness to move jointly to extend the contempt hearing date.

          Specifically, Defendants’ responses to the FTC’s First Set of Interrogatories and First
   Request for Production of Documents are non-responsive and non-compliant with the Federal
   Rules for Civil Procedure. We therefore ask that Defendants’ amend their responses



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   immediately. In addition, we find your refusal to produce Cleveland for deposition
   unreasonable, and we intend to move the Court to order his appearance.

           With regard to general objections, Defendants object to the FTC’s instructions that the
   stated time period, unless otherwise noted, is “January 22, 2008 through the conclusion of the
   Contempt Hearing in this case.” Instead, Defendants claim that they will generally limit the
   applicable time period to July 31, 2010. Defendants have not put forth any legal justification for
   withholding the disclosure of responsive discovery information after this arbitrary deadline,
   particularly in light of Defendants’ ongoing obligation to supplement discovery responses. Fed.
   R. Civ. P. 26(e)(1)(A).

           Interrogatories 1, 2, and 3 ask Defendants to: “[d]escribe in detail all of the ways in
   which consumers reached or were directed to the Starter Credit Direct website (including
   through “exit pops,” as described by Wilson in his November 17, 2009 deposition at 92-93,
   103-06 or through other means such as hyperlinks from emails or other websites);” identify how
   consumers who signed up for Century Platinum through Starter Credit Direct reached the
   website, through exit-pops or otherwise; and identify any disclosures made to consumers
   informing them of such website transfers. Similarly, Document Request 3 seeks production of
   websites from which consumers were transferred to sites purporting to offer membership in
   shopping clubs. In response, Defendants fail to answer the interrogatories and to produce
   responsive documents. The stated grounds stated for failing to provide this discovery are
   frivolous.

           For example, Defendants point out that the Final Order, entered January 22, 2008, does
   not refer to “exit pops.” If you are aware of case law stating that each possible way of violating
   an order must be foreseen and precisely described in its prescriptions, please identify the relevant
   cases immediately. Similarly, Defendants object to the vagueness of terms they themselves
   introduced in explaining their business practices in deposition. It is unlikely a Court would be
   sympathetic to Defendants’ claimed failure to understand their own language.

           Moreover, the use of deceptive means to drive consumers to the Starter Credit Direct
   website and similar websites relates directly to the FTC’s claim that Defendants violated the
   Final Order by, inter alia, failing to obtain consumers’ express informed consent before debiting
   financial accounts. Defendants testified in deposition that they used “exit pops” in their internet
   marketing, and that in at least some cases EDP (1) involuntarily and without notice transferred
   consumers from one website to another; (2) transferred consumers when they were rejected for
   some type of loan application, without expressly notifying them of the rejection; and (3) “exit-
   popped” the rejected consumers to EDP sites, prepopulating some of the consumer information
   from the initial loan offer to the new EDP application. Such a practice, if used in Starter Credit
   Direct applications, would certainly bear on whether Defendants obtained express informed
   consent as required by the Order. Yet Defendants testified in deposition that they would have to
   consult their records to see if Defendants used their “exit-pop” process to transfer consumers to
   Starter Credit Direct. Please check your clients’ records and respond fully to the interrogatories
   and document request.




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           In Interrogatories 4 and 5, Defendants decline to identify changes to the marketing of
   Starter Credit Direct and related documentation. Incredibly, Defendants raise a relevance
   objection, even though you provided various versions of the marketing of Starter Credit Direct to
   show Defendants’ purported compliance with the Order. Defendants propose to delay litigation
   by producing such documentation only once a suitable protective order has been entered by the
   Court. Yet you provide no explanation of the need for a protective order nor a proposed
   stipulation. As you know, the party seeking protection bears the burden of showing good cause.
   The attached order from Magistrate Judge Fernando M. Olguin sets out requirements and
   appropriate limits for an order protecting discoverable documents. FTC v. Burnlounge, Inc.,
   Case 2:07-cv-03654-GW-FMO (C.D. Cal. March 3, 2008).

           In response to Interrogatories 6, 7, 8, 10, and 11 and Document Requests 1, 2, 3, 4, 5, 6,
   7, 11, 14, and 15, Defendants refused to provide discovery on EDP’s marketing of the Century
   Platinum shopping club beyond EDP’s marketing of the shopping club through Starter Credit
   Direct. Defendants similarly refused to produce documents in response to Document Requests
   16, 17, 18, 19, 20, 21, 22, and 23 regarding their marketing of no-cost debit cards other than that
   “related to the debit card offered by Netspend that EDP marketed in conjunction with the
   ePlatinum+ catalogue membership on ePlatinumDirect.com.”

           Defendants’ effort to constrain discovery to these narrow topics lacks merit, and the
   requested discovery should be produced in full. First, information regarding EDP’s marketing of
   shopping clubs and “no cost” debit cards is reasonably calculated to lead to the discovery of
   admissible evidence regarding whether Defendants violated the Final Order as alleged in the
   Application for an Order to Show Cause. Specifically, the evidence regarding shopping clubs
   relates directly to the FTC’s claims that Defendants violated the Final Order by: (1) making
   material representations regarding “credit” in marketing the shopping club and regarding the “no
   cost” cards; (2) failing to make clear and conspicuous disclosures regarding the “credit” offered
   through the shopping club and the costs and fees associated with “no cost” cards; and (3) failing
   to obtained express informed consent before debiting consumers’ financial accounts for
   application and monthly fees for the shopping club. The requested information also goes
   directly to assessing consumer harm for purposes of compensatory relief.

           Second, the information sought relates directly to Defendants’ defense of substantial
   compliance, and in particular whether the alleged Order violations pervaded Defendants’
   marketing of shopping clubs and debit cards. Indeed, Defendants themselves have pointed to
   Ultimate Platinum, another EDP website purporting to offer credit through shopping club
   membership, in defense of the contempt claims. (See, e.g., Response to Interrogatory No. 8,
   stating that the FTC reviewed the website of Ultimate Platinum “and others.”) Indeed,
   Defendants seem to define relevance in terms of whether a particular document or assertion
   supports their claims and defenses. Similarly, Defendants’ refusal to provide discovery on other
   “no cost” debit cards is particularly unsupportable in light of Defendants’ suggestion that its
   Order violation on this front resulted from a brief aberration triggered by some type of technical
   glitch. Production of the requested discovery on “no cost” debit cards would certainly shed light
   on the scope of Defendants’ violation.




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           Third, the artificial nature of Defendants’ distinction among its various shopping club
   and debit card sites is borne out by Defendants’ own records; Defendants apparently did not
   distinguish among its various shopping club marketing sites, as it claims not to have tracked
   recurring revenue from club membership on a site-by-site basis. This leads to a particularly
   awkward response to Interrogatory 7, in which Defendants rely on undisclosed information in
   their possession, including the total recurring revenue for all EDP Century Platinum advertising
   and the total number of collected applications for all EDP Century Platinum advertising, in
   estimating recurring revenue from Starter Credit Direct. The FTC cannot verify such a figure
   without the underlying data.

           Fourth, the FTC is entitled to the information on other shopping club and debit card
   websites under Section V(A) of the Final Order. Delaying production of information which
   Defendants must provide under the Order merely protracts this litigation.
   .
           Instead of answering interrogatories, Defendants opted to create their own “evidence” by
   placing carefully selected “example[s]” of EDP marketing on a secure website. (See Response
   to Interrogatory 8 at 15.) First, the links provided in the response do not work. Second,
   Defendants do not have the option of producing only what they apparently deem the most
   favorable versions of their marketing, without any authentication of whether or when Defendants
   actually used the proffered versions. If you are aware of case law permitting parties to employ
   this approach to responding to interrogatories, please produce it immediately.

           In addition, Defendants purportedly exercised their right to produce documents in lieu of
   answering interrogatories in response to Interrogatories 4, 5, 7, 8, 9, 10, and 11 (or parts thereof).
   Rule 33 requires that parties responding in this manner must “specif[y] the records that must be
   reviewed, in sufficient detail to enable the interrogating party to locate and identify them as
   readily as the responding party could.” Fed. R. Civ. P. 33(d)(1). Instead of complying with this
   obligation, Defendants state:

          Defendants exercise their option to produce documents . . . which documents
          shall include, but are not limited to, Defendants’ Opposition to the Application
          for all Order to Show Cause Why Defendants Should Not Be Held in Contempt
          and the documents, communications and declarations provided to the FTC and the
          Court filed concurrently therewith, documents and communications in the
          possession of the FTC and/or Receiver related to startercreditdirect.com during
          the receivership and thereafter, documents and communications in the possession
          of the FTC and/or Receiver regarding the Ultimate Platinum website and
          marketing, and documents previously produced to the FTC in response to the
          FTC’s July 23, 2009 request for information and documents to monitor
          Defendants’ compliance with the Final Order.

   Response to Interrogatory No. 11 (emphasis added). Please amend your responses to comport
   with Rule 33(d)(1).

          In response to Interrogatory 8, you object that the meaning of the terms “clearly and
   conspicuously” and “material attributes” are vague and ambiguous, even though these terms

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   were quoted directly from the Final Order, which itself defines “clearly and conspicuously” and
   “material.” Are you suggesting that you, as the attorney who negotiated the Final Order on
   Defendants’ behalf, allowed them to sign an order with terms you did not understand? Again, I
   am skeptical that the Court will sympathize with your purported confusion over terms defined in
   an order you negotiated and to which your clients stipulated.

          If you have any questions, please contact me at (202) 326-2402 or my co-counsel Mark
   Morelli at 202-326-2601.

                                                      Sincerely,

                                                      /s/


                                                      Elizabeth Tucci
                                                      Attorney
                                                      Division of Enforcement


   cc:    Christine M. Reilly via email to creilly@loeb.com
          Karen Thorland via email to kthorland@loeb.com
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8                                      UNITED STATES DISTRICT COURT

9                                 CENTRAL DISTRICT OF CALIFORNIA

10

11   FEDERAL TRADE COMMISSION,                    )   No. CV 07-3654 GW (FMOx)
                                                  )
12                        Plaintiff,              )
                                                  )
13                 v.                             )   ORDER RE: DISCOVERY MOTION
                                                  )
14   BURNLOUNGE, INC., a corporation, et          )
     al.,                                         )
15                                                )
                          Defendants.             )
16                                                )

17          The court has reviewed and considered all the briefing filed with respect to the defendants’

18   Motion for Protective Order (“Motion” or “Joint Stip.”), and concludes that oral argument is not

19   necessary to resolve this matter. See Fed. R. Civ. P. 78; Local Rule 7-15; Willis v. Pacific

20   Maritime Ass’n, 244 F.3d 675, 684 n. 2 (9th Cir. 2001).

21          Although the court is inclined to enter a protective order in this case, it is unable to adopt

22   the “[Alternative Form of Proposed] Protective Order Re: Confidentiality ” (“Protective Order”)

23   lodged by defendants on February 12, 2008. The court is unable to adopt the Protective Order

24   for the following reasons.

25          First, the Protective Order does not contain a statement of good cause. (See, generally,

26   Protective Order at 2). “For good cause to exist, the party seeking protection bears the burden

27   of showing specific prejudice or harm will result if no protective order is granted.” Phillips ex rel.

28   Byrd v. Gen. Motors Corp., 307 F.3d 1206, 1210-11 (9th Cir. 2002); see also Foltz v. State Farm
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1    Mut. Auto. Ins. Co., 331 F.3d 1122, 1130 (9th Cir. 2003) (“A party asserting good cause bears the

2    burden, for each particular document it seeks to protect, of showing that specific prejudice or harm

3    will result if no protective order is granted.”); Makar-Wellbon v. Sony Elecs., Inc., 187 F.R.D. 576,

4    577 (E.D. Wis. 1999) (even stipulated protective orders require good cause showing). The

5    proposed Protective Order must set forth the specific prejudice or harm that will result to

6    defendants if the Protective Order is not granted as to the categories of documents or information

7    the parties seek to protect. The statement of good cause should be preceded by a heading

8    entitled, “GOOD CAUSE STATEMENT.”

9           Second, it is unclear as to what type of information the parties want to keep confidential.

10   (See Protective Order at ¶¶ 1-5). A protective order must be narrowly tailored and cannot be

11   overbroad. The documents, information, items or materials that are subject to the protective order

12   shall be described in a meaningful fashion (e.g., “blueprints,” “customer lists,” or “market surveys”).

13   It is not sufficient to use conclusory terms such as “trade secrets.”1 Statements that any producing

14   party may, “in [its] good faith opinion” may designate as confidential any document or other form

15   of evidence that “contains any trade secret, proprietary information, or other private, confidential

16   or sensitive non-public information” are insufficient. (See id. at ¶ 1).

17          Third, once a case proceeds to trial, all of the information that was designated as

18   confidential and/or kept and maintained pursuant to the terms of a protective order becomes public

19   and will be presumptively available to all members of the public, including the press, unless good

20   cause is shown to the district judge in advance of the trial to proceed otherwise. The court will not

21   enter a protective order that extends beyond the commencement of trial. (See Protective Order

22   at ¶ 12).

23          Fourth, the Protective Order does not contain any language relating to Local Rule 79-5,

24   which governs the filing of documents under seal. (See Protective Order at ¶ 11). The court will

25   not allow any documents to be filed under seal unless the party seeking to file such documents

26
        1
27         In proposing or agreeing to the protection of “trade secrets,” the definition for that term in
     California Civil Code § 3426.1 should be incorporated into the protective order, either by reference
28   or by quotation.

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1    complies with Local Rule 79-5. If a party seeks to file a document under seal, the party should

2    seek leave to file under seal the specific documents the party believes is covered by the attorney-

3    client privilege, the work-product protection and/or the applicable protective order. To the extent

4    any party believes that portions of a proposed document should be sealed because the document

5    quotes extensively from protected documents, the party should either separate out the arguments

6    that quote extensively from those documents and seek to seal those portions as supplemental

7    memorandums or simply cite to the specific portion(s) of the documents in the document that the

8    party wants the court to review. Fifth, the court will not approve a protective order that requires

9    the court and its employees to sign a written agreement before viewing confidential documents

10   in this case. (See id. at ¶ 9)

11          Sixth, any disputes relating to the Protective Order such as the designation of confidential

12   documents or the inadvertent disclosure of work product or attorney-client material must be done

13   pursuant to Local Rule 37. (See, e.g., Protective Order at ¶ 10). In making or opposing any

14   motion relating to the designation of confidential information, the party seeking to maintain a

15   document as confidential shall bear the burden of showing that specific prejudice or harm will

16   result if no protective order is granted. See Phillips, 307 F.3d at 1210-11.

17          Finally, to the extent the court qualifies as a “party in the possession of Confidential

18   Information,” (Protective Order at ¶ 14), the court will not return or destroy any confidential

19   documents in its possession.

20          Based on the foregoing, IT IS ORDERED THAT:

21          1. Defendants’ Motion for Protective Order (Document No. 178) is granted and denied

22   to the extent set forth above.

23          2. The court will consider a proposed protective order that addresses the issues set forth

24   above as well as the issues set forth by the Federal Trade Commission in its portion of the Joint

25   Stipulation. (See Joint Stip. at 3-4, 5-6 & 13-19).

26          3. The parties shall attempt to resolve all their disputes relating to the scope and terms of

27   the Protective Order and lodge, if possible, a proposed stipulated protective order. If the parties

28   are unable to agree on the terms of the protective order, then each party shall lodge a hardcopy

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1    of its version of the proposed protective order as well as a compact disc (CD-R/RW) in

2    WordPerfect 7.0 or higher.

3    Dated this 3rd day of March, 2008.
                                                                  /s/
4                                                           Fernando M. Olguin
                                                       United States Magistrate Judge
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                        ATTACHMENT 10
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